Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 1 of 84




         EXHIBIT 2
Case 1:23-cv-01198-CJN
              The U.S. Document 7-3 Filed
                       Department      of 05/05/23
                                          State Page 2 of 84
              Bureau of Consular Affairs




Online Nonimmigrant Visa Application
             DS-160
           EXEMPLAR
          Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 3 of 84




Sign In




   Online Nonimm igrant Visa Application (DS-160)

                                                                                                                                FAQs
   Apply For a N onimm igrant Visa

     Tooltip Language: English        [\iew Tool Tip Help)
     Most of this application has been translated. To see the translation point your mouse over any sentence on the page.
   \Yelcome!                                                    Get Started

   On this website, y ou can apply for a U.S.                   Select a location wher e you will be applying for this visa
   nonimmigr ant visa . Filling out the application on
   our .s ite is the first ste p in the proce s.s . Afte r      (@) ! - SELECT ONE -                                                 •   I
   you subm it y our application, y ou can m ove on
   to the nex t steps, such as .signing up for an                    Enter the code as shown :
   inte rvie w.

   Important: Befol'e You Sta11

    l.   Lea rn about Types of Visas
    2,   List of Documents and Information you will
         ~
    3,   Browser Requirements                                       Select a location and mak e sure y ou have the documents and
    4,   How to complete the application                            information y ou will need .

   Other people can as.sist y ou with y our visa                                                              START AN APPLICATION           ►

   a pplication . Note tha t unde r U.S . la w (22 C.F.R.
                                                                    Select a location then select an application that y ou previously
   4 1.103) you m ust electr onically sign and subm it
                                                                    saved on y our computer .
   y our own application unles.s y ou qualify for an
   exem ption . Even if .som eone else helped y ou                                                           UPLOAD AN APPLICATION           ►
   com plete the application, you ( the applicant)
   m ust click the " Sign ApplicationN button, or y our             You will be ask ed for y our application I D and answer a
   application m ay not be accepted .                               security question .

   **Please be patient as y ou use this form .                                                            RETRIEVE AN APPUCATION             ►
   Download tim es m ay var y depending on y our
   internet connection speed .**                                Additional Info1mation

                                                                » Read m or e about U.S. visas at travel.state .gov.
                                                                » Visit the website of the U.S. Embassy or Consulate .




 G I
               This site is m anaged by the Bureau of Consu lar Affairs, U.S. De partme nt of State. Ext ernal links to other Jnte rnet sites should
               not be const rued as an e ndorsem e nt of the v ie VJs contained the rein,
               Copyright Jnform ation @ Disclaim e rs@ Papen..,ork Reduction Act@                                                                {~Tl
          Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 4 of 84




Sign In (Photo Required Post)
Displayed for posts that require photo upload.




     Online Nonimmigrant Visa Application (DS-160)

                                                                                                                                              FAQs
     Apply For a Nonimmigrant Visa

       Tooltip Language: English          (View Tool Tip Help}
       Most of this application has been translated. To see the translation point your mouse over any sentence on the page.
     \Velc.omel                                                        Get Started

     On t his we bsit e, you can a pply fo r a U.S.                    Select a loca tion whe re you will be applying fo r t his visa
     nonimmigra nt visa . Filling out th e applicat ion on
     our site is th e first st ep in the process. After you
                                                                       @) !AFGHANISTAN, KABUL                                                     lvl
     s u bmit your application, you can move on to the
     next ste ps, such as s igning up for a n int ervie w.                    Ente r th e code as shown:


     Important : Before You Start

     1.    Learn about Types of Visas




                                                                                                                                                         J
     2,    List of Documents and Information you will
           need
     3,    Browser Requirem ents
     4,    How to com pl ete the application
                                                                                       This visa application w ill ask y ou to upload a d igit al
     Other people can assist y ou w it h y our visa                                    photo of yourself,
     application. Note t hat u nder U.S. law (22 C.F.R,                                               Test Phot o Photo Standard Gu ide
     4 1.103) y ou must elect ronic.ally sign and subm it
     your own application unless y ou qualify for an
     exempt ion . Even if someone else helped y ou
     complet e th e application, y ou (t he applicant)
     m ust click t he " Sign ApplicationN button, or you r                  Select a location and m ake sure y ou have t he documents and
     application may not be accepted .                                      informat ion y ou will need .

     **Please be patient as you use this form .                                                                           START AN APP LICATION              ►
     Download t imes may vary depending on your
                                                                            Select a locati on then select an applicat ion t hat y ou previously
     internet connection speed , l< 3
                                                                            saved on y our com put er.



                                                                            You w ill be asked for y our applicati on JD and answer a secur ity
                                                                            quest i on .
                                                                                                                      RETRIEVE AN APP LICATION               ►

                                                                       Additional Information

                                                                       » Read m or e about U.S. visas at tr avel.state.gov.
                                                                       » Visit t h e websit e of t he U.S. Embassy or Consulate.




  G I
                  Th is site tS managed by the Burea u of Consu la r Affairs, U.S . De partm e nt of Sta te, Extern al links to o the r Inte r net s ites sho uld
                  not be construed as a n e nd orsem e nt o f the vieVls co ntain ed therein,
                  Copyrig ht I nfor mation @ Disclaime rs@ Paperwork Reduction Act @                                                                           ( 11s)
                  Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 5 of 84




Upload an Application




                                                Online N onimmigrant Visa Application (DS -160)


.,, Getting Started                       ►
                                                Upload a Previous Application

                                                    Click ' Browse' and select the previously saved application file you ,vish to upload. Next,
                                                    answer the security questions to validate that the correct file has been selected, then
                                                    click ' Upload Data '. Finally, click on the 'Next' button at the bottom of each page until
                                                    the last completed page has been reached and continue the application process.



                                                    Previously Saved Application File

                                                        File Path :
                                                                                                                                                      Brows e ..


~                    fl~
    !!1 ,;!~i,lf"..l!.JJJ~




 Help: Narigation Buttons

 Click on the buttons above
 to access previously
 entered data.




    G I
                             T h is :site is m a n a g e d b y the Bureau o f Con sula r A ffa irs, U .S . D e p a rtm e nt o f Sta te . Exte rn a l lin ks to o the r I nte rn e t
                             sites sh ould n o t b e con strue d a s a n e n d orse m e nt o f the vie ws conta in e d the re in .
                             Copy right Information@ Disclaimers@ Paperwork R eduction Act@
                  Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 6 of 84




Retrieve an Application
Shown with valid barcode to show all additional fields.




                                                Online N onimmigrant Visa Application (DS -160)


 .,, Getting Started                     ►
                                                Retrieve a DS-160 Application


                                                        Your Applica tion ID is :
                                                        1 00911JX9




 ~                          !ir.;11}
     ·fr:.1iJJiJJLJ

 ~                    ml                                Security Questions
     ~il,;!~!jf".J.!.JH'J
                                                         Firs t 5 letters of Surnam e                      Year of Birth



                                                         What is the giv en nam e of y our m other 's m other ?

 Help: Narigation Buttons

 Click on the buttons above                                              Retrieve Applicat ion                                                Cancel
 to access previously
 entered data.




     GI
                            T h is :sit e is m a n a g e d b y the Bu reau o f Co n s u la r A ffa irs, U .S . D e p a rtme nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                            sit es s h o u ld n o t b e co n s t rue d a s a n e n d o rse m e nt o f the vie ws co nta in e d the re in .
                            Copy rig ht Information@ Disclaimers@ Paperwork R eductio n A ct@
          Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 7 of 84




Application Information




     Online Nonimmigrant Visa Application (DS-160)


     Application Information

     Please record your Applicathn ID in a safe and secu re place.
                                                                                                                              Your Applicat ion ID is:
     I f th er e ar e technical issu es with the syst em , o r you want to com plet e
     your applicat ion some ot her time you ca n s ave your work a nd lat er,
                                              1
                                                                                                                               AA00911JX9
     st art where you left off. In o rder to access your applicat ion la te r,
     however, you will nee d : (1) vo;r Aoolica tion IO, a nd (2) the a nswer                                                  Dat e
     to the security questi on that yc,u will choose on this page,                                                             05- JUN - 2 0 19

     To choose a s ecurity quest ion, pick th e one you like t he best from the                                                Print Applicat ion ID
     dropdown list, type your a nswer to t hat quest ion in th e box be low,
     and click " Cont inue," Remem ber : In order to access your applicat ion later, y ou will need to k now the answer exactly as
     you wro t e it on this page.

     You ca n a lso use your Applica tion IO and s ecurity quest ion to ret rie ve your Confirma tion Pa ge afte r you have submitted
     your applicat ion, or t o use your previously provided a pplicat ion info rmat ion t o comple te a new a pplicat ion at a la te r da te.

     If you do not plan to complet e your a pplicat ion with in t he ne xt 30 da ys, downloa d your a pplica tion to your comput er by
     clicking the "Save" button a t U e bottom of the last comple te d pa ge. Follow the instruct ions. Whe n you are ready to
     complet e your a pplica tion, s elect "Uploa d a n Applicat ion". NOTE: Only downloa d your a pplica tion ta a compute r th at
     ca nnot be accessed by a nyone who does not have your pe rmission to s ee or record your persona l data . If you download
     your applicat ion a s hared or public comput er, s uch as a compute r in a cyber cafe or libra ry, your persona l information
     may be a ble to be a ccessed by oth er users .

     Note : Electronica lly submitting your DS- 160 online applicat ion is the FIRST STEP in the visa a pplication process. The next
     st e p is to review the inte rne t p:tge of t he e mbassy or consulat e whe re you plan to a pply for your visa . Most vis a
     a pplica nts will need t o schedule a visa inte rview, t hough some a pplica nts may q ua lify fo r visa rene wa l, The embassy or
     consula te informa tion may include spe cific loca l inst ructions about scheduling int e rviews, s ubmittin•J your visa a pplicat ion,
     a nd othe r freq uently aske d quest ions.


     Securi      uestion fi
     WHA T IS THE GIVEN NAME OF YOUR MOTHER'S MOTHER?                                                                                                          V



     Answe r




                                          Continue                                                                     Cancel


                Th is site tS ma naged by the Bu rea u o f Cons u la r Affairs, U.S . De partme nt of Sta te, Exte rn al links tc o the r Inte r net s ites sho uld
                not be construed as a n e nd orsem ent o f the vieVls contained the rein,
                Copyrig ht I nfor mation @ Disclaime rs@ Paperwork Reduction Act @                                                                               ( 11s)




Provided Security Question options:


                                     • •
WHAT IS THE GIVEN NAME OF YOUR FATHER'S FATHER?
                                                  •    •                •
WHAT IS YOUR MATERNAL GRANDMOTHER'S MAIDEN NAME?
WHAT NAME 0 10 YOUR FAMILY USED TO CALL YOU WHEN YOU WERE A CHILO?
IN WHAT CITY DID YOU MEET YOUR SPOUSE/SIGNIFICANT OTHER?
WHAT IS THE NAME OF YOUR FAVORITE CHILDHOOD FRIEND?
WHAT STREET DID YOU LIVE ON WHEN YOU WERE 8 YEARS OLD?
WHAT IS YOUR OLDEST SIBLING'S BIRTHDAY MONTH AND YEAR? (E.G., JANUARY 1900)
WHAT IS THE MIDDLE NAME OF YOUR YOUNGEST CHILD?
WHAT IS YOUR OLDEST SJBLING'S MIDDLE NAME?
WHAT SCHOOL DID YOU A TTIEND WHEN YOU WERE 11 YEARS OLD?
WHAT WAS YOUR HOME PHONE NUMBER WHEN YOU WERE A CHILD?
WHAT IS YOUR OLDEST COUSIN'S FIRST AND LAST NAME?
WHAT WAS THE NAME OF YOUR FAVORITE STUFFED ANIMAL OR TOY?
IN WHAT CITY OR TOWN 0 10 YOUR MOTHER ANO FATHER MEET?
WHAT WAS THE LAST NAME OF YOUR FAVORITE TEACHER?
IN WHAT CITY DOES YOUR NEAREST SIBLING LIVE?
WHAT IS YOUR YOUNGEST SIBLING'S BIRTHDAY MONTH AND YEAR? (E.G., JANUARY 1900)
IN WHAT CITY OR TOWN WAS YOUR FIRST JOB?
WHAT WAS THE NAME OF YOUR FIRST BOYFRIEND OR GIRLFRIEND?
                      Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 8 of 84




Personal Information 1
Displayed for all applicants. Answered ‘Yes’ to all questions on the page.




                                   Online Nonimmigrant Visa Application (DS- 160)
                                                                                                                Apphcauon ID AA000320OC

V Gettmg Started                                                                                                                            DS-160

V Personal                     ►
                                   Personal Infonnation 1                                                           EXPIRATION OATe: 11/;l0/2020
                                                                                                                  ESTIMATED BURDEN:

    • Personal 1

     Personal 2
                                       NOTE: Dat a on t h is pa oe must match th e inform a tio n as it is written in yo ur passport.
V Travel

V Travel Comp.anions

V Previous U S Travel                                                                                               Htlp: Sumamu
                                       Surnames
v Address and Phone                                                                                                 Enter all surnames as
                                       (e.g., FERNANDEZ GARCIA)
                                                                                                                    listed in your passport. If
v Passport                                                                                                          only one name is listed
                                                                                                                    in your passport, enter
VU S Contact
                                                                                                                    that Surname.
V    Family

11111111                               Given Na m es
                                      ~,.-.,-
                                           .,-JU_A_N_M_IG_U_El_)_ _ _ _ _ _ _ _ _ _                       ~
                                                                                                                    H t lp : Gh-t• N.amn

                                                                                                                    If your passport does not
                                                                                                                    indude a given name,
                                                                                                                    please enter 'FNU' in
-                                     rfu~ll~N~• m
                                                 ~ •~;o
                                                      ~N~ •~U~
                                                             • •~AJ
                                                                  ~p~h•~b~•I~ - - - - - - -~
                                                                                                                    Given Names.
v F Visa
                                                               D Does No t Apply/Technology Not Available
V    Student F xchang e Visa

V CrewV1w

V Tempo1ary Work Visa
                                       Q: Have you e ver used ot her names (i.e., m aide n, relioious ,             H t lp: Othtr N.amts
                                              professional, alias, etc. )?
                                                                                                                    other names used
                                                                                                                    indude your maiden
                                        A:.    @ Yes Q N o
                                                                                                                    name, religious name,
                                                                                                                    professional name, or
                                                                                                                    any other names which
                                                                                                                    you are known by or
Click on lhe buttons aboVe
                                                                                                                    have been known by in
to access previously
                                                                                                                    the past.
eotereddata

                                       Provide the following information:                                           H t lp: Otht r N.amts

                                         Other S urnames Us ed (m aiden, religious,                                 If you only have other
                                         profess ional, a lias es , etc.)                                           surnames to enter, enter
                                                                                                                    the same given names
                                                                                                                    as above. Conversely, if
                                         Other Given Na mes Used                                                    you only have other
                                                                                                                    given names to enter,
                                                                                                                    enter the same surname
                                                                                                                    as above.
                                                                      + Add Another      -   Remove


                                       Q: Do you have a telecode that represents your na me ?                       H t lp: Ttlttodt

                                                                                                                    Telecodes are 4 digit
                                        A:     @ Yes Q N o
                                                                                                                    code numbers that
                                                                                                                    represent characters in
                                       Provide the following information:                                           some non- Roman
                                                                                                                    alphabet names.
                                         Tele code Surn am es



                                         Tele code Given Name s




                                       Sex
                                        @ Male O Fem a le


                                       Marital Status 0
                                      IOTHER                                                            El
                                       Explain




                                       Date and Place of Birth

                                         Oate O                                                                     H t lp: Datt of Birth

                                         r-EJ!BCJ                                                                   If day or month is
                                         (Format: 00-MMM-YYYY)                                                      unknown, enter as
                                                                                                                    shown in passport.
                                         City



                                         Sta te/ Province


                                                                                  D Does Not Apply
                                         Country/ Region                                                            H tlp: Country/Rtgion
                                         I·SELECT ONE .                                              El             select the name that is
                                                                                                                    currently in use for the
                                                                                                                    place where you were
                                                                                                                    born.


                                       Public reportrng DUrdt n for this collection of information is estimatt d lo averagt 90 minut ts per
                                       rt sponse, indudmQ timt requi~d for searchinQ existinQ data sources, QatherinQthe necessary
                                       documentation, providing the information and/or documents required, and reviewing the final collection.
                                       You do not have to supply this information unless this collection displays a currently valid 0MB oontroj
                                       number. If you hav e comments on tht accuracy of this burden estimat e a nd/or recommendations for
                                       reducing it, please s end them to: PRA BurdenCo m mentsOst<1te.go v
                                       Co nfide ntiality Statement
                                       The mformat1on asked for on this form ts requested pursuant to Section 222 of the lmmiQration and
                                       Nationality Act. INA St ction 222(f) provides that the records of tht Department of State and of
                                       d1plomat1c and consular offices of the United States pertaininQ to the issuance and r efusal of visas or
                                       permits to enter the United States shall be considered confidential and shall be used only for tht
                                       formulatron, amendment, administration, or enforcement of the immiQration, nationality, and other laws
                                       of the United States . Certrfied co~es of such records may be m ade available to a court provided the
                                       COYrt certifies that the information contained in such records is nt eded in a case pending bt fore the
                                       COYrt.




                                         ◄ Back     Getting Started
                                                                                 WMiiMH                                 Next Personal 2 ►




                   This site is managed by the Bureau of Consular Affairs, U.S. Departmt nt of Statt . External lmks to other Internet sites should
                   not be construed as an endorsement of the views contained tht rt m.
                   Cppynght jnform;,t•on r? ~            61 P;,pt rwort Bt duct•on Act 19
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 9 of 84




Personal Information 2
Displayed for all applicants. Answered ‘Yes’ to all questions on the page.


                                                                                                                                                           ....
   ~      ;z                                                            I              '                                         English                                 v
                            I    'f ••            " I         •• •          •   I           "



                                                               ..l'.,lil?l!?.               I                     - _-__ I                                 IG

                                         Online N onimmigrant Visa Application (DS -160}
                                                                                                                                   Application ID AA009 11JX9

 1,1 Getting Started


   Personal                       ►
                                         Personal Information 2
   Personal 1
                                                                                                                                       Help: Other
  • Personal 2                                                                                                            V            Country/Region of Origin
                                                                                                                                       (Nationality)
                                             Q: Do you hold or have you held any nationality other than
                                                                                                                                       Enter all nationalities
                                                  the one indicated above on nationality?
                                                                                                                                       you currently hold and
                                                                                                                                       all nationalities you
                                             A:     @)yes 0 No                                                                         have previously held,
                                                                                                                                       regardless of whether
                                                  Provide the following information :                                                  you have formally
                                                                                                                                       and/or legally
                                                                                                                                       relinquished the
                                                                                                                                       nationality. If the
                                                                                                                      V
                                                                                                                                       country where you
                                                                                                                                       previously held
                                                                                                                                       nationality is no longer a
                                                        Q· Do you hold a passport for the other                                        political entity or
   'fht!~J E.d°!J~:.1.ti':JH/                              • country/ r egion of origin (nationality) indicated
                                                                                                                                       country, select the
   TfiliniHLJ                                                above?
                                                                                                                                       nationality that
                                                                                                                                       corresponds with the
                                                         A:    @)yes 0 No
                                                                                                                                       name of the country
                                                                                                                                       that is currently used for
                                                              Provide the following information :                                      that location.

                                                                Passport Number


 Help: Narigation Buttons

 Click on the buttons above
 to access previously                                                                   + Add Another       - Rem ove
 entered data.


                                             Q: Ar e you a permanent r esident of a country/ region other
                                                  than your country/ r egion of origin (nationali:y) indicated                         Help: Permanent Resident
                                                  above?
                                                                                                                                       Permanent resident
                                                                                                                                       means any individual
                                             A:     @ Yes 0 No                                                                         who has been legally
                                                                                                                                       granted by a
                                                  Provide the following information :                                                  country/region
                                                                                                                                       permission to live and
                                                        Ot her Perm anent Resident Country/ Region                                     work without time
                                                        I-SELECT ONE -                                               B                 limitation in that
                                                                                                                                       country/region.

                                                                                       + Add Another        - Rem ove



                                            National Identification Number                                                             Help: Identification
                                                                                                                                       Numbers
                                                                                                         0 Does Not Apply
                                                                                                                                       Your National ID
                                            U.S. Social Security Number                                                                Number is a unique
                                            D -0 -D                                 O o oes Not Apply                                  number that your
                                                                                                                                       government provides.
                                                                                                                                       The U.S. Government
                                            U.S. Taxpayer I D Number                                                                   provide.c unique
                                                                                                                                       numbers to those who
                                                                                                                                       seek employment
                                                                                                         0 Does Not Apply              (Social Security
                                                                                                                                       Number) or pay taxes
                                                                                                                                       (Taxpayer ID).




                                                ◄ Back: Personal 1                              El!IIIIIII                                       Next: Tr avel ►




  G I
                     This s i t e is m a n aged b y the Bureau o f C o n sula r A ffa irs, U .S . D e p a rtme nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                     s i t es s h o u ld no t b e co n s t rue d as a n e n d orsem e nt o f the v ie ws co ntain e d the re in .
                     Copyrig ht I nf:>rm a t io n @ D is cla im ers@ Pape rwork R eductio n Act@
            Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 10 of 84




Travel Information
Displayed all applicants. “Have you made specific travel plans?” set to “Yes” and “Person/Entity Paying
for Trip” set to “Other Person.”
  -                                                                                              Contact Us   I He lp I E~,t

 @ US         DEl'Alff~             NTu/$.J:A
                                            ~
        CONSUtiO.R E LECTRONI C iO.PPLIC iO.T ION CENTER
                                                                                           ~
                    Onlm N oninw:iig-rant Vis.a Appkation (DS -160)
                                                                                              Applicat:ton ID AA00911JX9


                     Travel Information

                       NOTE: Provide the followi"',I i nformation concem in,;i yo ur travel ~ a ris.




                       Provide the followiri,;i information:




-
                          Purpose of Trip t o t he U.S. 0
                         IPLEASE SELECT AVI SA Cl.ASS                               GZI

                                                         ♦ ~                   •   ~




                        Q: Have you made specific travel ~ans?

                        A: @ Yes O No

                       Provide a com~ete it inerary for your travel to the U.S. :                Hdp: Tru ·t !Plant

                                                                                                 If you are urisure of
                           Date of Arrival in U. S. 0
                                                                                                 your 0,it e of Amv,il m
                           rBIBCJ                                                                U.S. or D,ite of
                                                                                                 Departur e from U.S.,
                           (Format: DD-MMM- YYYY)
                                                                                                 ~ease provide an
                                                                                                 es:t,m,ite.
                           Arrival f1i9ht(ifkr.own)



                           Arrival City




                           F~t rea@rC'.~:fs. 0
                           (Format: DD-MMM- YYY'Y)

                           Departuref1i9ht (if k r.own)



                           Departure City




                         Provide t he IOC!ltions you plan to visit in the U.S.:




                        Address Whe~ You Will Stay in the U.S.

                         Street Address (Line 1)



                         Street Address (Line 2 ) • 0ptional




                         I-SELECT ONE -
                         ZIP Code (if kr.own)

                         (e.g. 12345 or 12345-1234)



                       Pe rson/EntityPayingforYour Trip lO
                       loTHERP£RSON


                       Provide t he follow,,-.,. mform,it ,on :

                         Surnames of Person Payir,.p for Trip

                         (e.,;i. FERNANDEZ GARCIA)


                         Given Names of Person Pay ir,.p for Trip

                         (e.,;i. JUAN MIGUEL)

                         Telephone Number




                         Rel,itionship t oYou Ol
                         I-SELECT ONE -
                          Q: I s the address of t he party payi"',I for your t ri p t he
                               same as your Home or Ma1h"',1 Address?

                          A: O Yes @No


                         Address of Person Pay i"',I

                           street Address (Line 1)



                           Street Address (Line 2) "'Optk>rtal




                           state/Pr ovince
                           ~ - - - - - ~ ODoes Not Apply


                           Postal Zone/ZIP Code
                           ~    - - - ~ ODoes Not Apply


                           Country/Repio n
                           I-SELECT ONE -



                        ll·IIPJ#ii,i\                             _ _ _ !4,illirn■A I ;, ' ; I

      !i~~•••~~~dmn•0~•:.,e~0~~::::::~ :'n~:U,:,-;n~~~l~ / ;1! •: : ~~~7n~t::. ~~~~- External links to oth+ r Inte rnet
      C2pyr1gh\jnfgrm1tfgn ,:!? ~             17 P121rw;,,k R1d11<1•2nA<tr?
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 11 of 84




Travel Information
Displayed all applicants. “Have you made specific travel plans?” set to “No” and “Person/Entity Paying
for Trip” set to “Other Company/Organization.”




                                            Online N onimmigrant Visa Application (DS -160)
                                                                                                                                       Application ID A.A00911JX9

 1,1 Getting Started


 1,1 Personal
                                             Travel Information
    Tr avel                           ►

                                                NOTE: Provide th e following information concerning y our tr avel plans .




                                                Provide the follo wing information:

                                                   Purpose of Tri p to the U.S. @
                                                   IPLEASE SELE CT A VISA CLASS                                           B
    'fht!'.1£~.!J":il!l!JUJ                                                             + A dd Another             -   Rem ove
    Jn!iuinLJ

~                JJ!.i
    ~] ,;!-.LJr~.umJ
                                                 Q: Hav e y ou m ade specific tr av el plans ?

                                                 A:     Q Yes @ No

 Help: Narigation Buttons                       Intended Date o f Arrival @                                                                Help: Arri»l Plans
 Click on the buttons above                     !BIB □                                                                                     If you are unsure of
 to access previously                           (Format: DD-MMM-YYYY)
                                                                                                                                           your travel plans,
 entered data.                                                                                                                             please provide an
                                                 Intended Len th of Sta in U.S. @                                                          estimate.
                                                D            -SELECT ONE- V




                                                Per son/ Enti
                                                 OTHER COMPAN Y/ORGANIZATION                                                  V



                                                Provide the follo wing information:

                                                   Na me of Compa ny/Organization Pa ying for Trip



                                                   Telephone Number




                                                   Relationship to You



                                                   Address of Company/Organization Paying

                                                      Str eet A ddr ess (Line I )



                                                      Str eet A ddr ess (Line 2) * Optiona l
                                                                                                                                           Help: Payer Address

                                                                                                                                           Provide the street
                                                      City                                                                                 address, apartment
                                                                                                                                           number (if applicable),
                                                                                                                                           city, state or province,
                                                                                                                                           country, and postal zone
                                                      State/ Provin ce                                                                     (if applicable) of the
                                                      .___________, 0 Does Not Apply                                                       person or organization
                                                                                                                                           that is paying for your
                                                                                                                                           travel.
                                                      Postal Zone/ Z IP Code
                                                      ._________, 0 Does Not Apply

                                                      Country/Reg ion
                                                      I-SELECT ONE-                                                     B



                                                    ◄ Back: Personal                                                                Next: Tr avel C ompanions ►




    GI
                         T h is s it e is m a n aged b y the Bureau o f Con sula r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                         s i t es s h o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in ,
                         Copyrig ht I n formatio n @ Disclaim ers@ Paperwork R eductio n Act@
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 12 of 84




Travel Information (Standard Visas)
Displayed for principal applicants who select the following visa types: B, C, D, F, G, H1B1, I, J, M, N,
NATO, Q, S, and PARCIS.




                                                Online N onimmigrant Visa Application (DS -160)
                                                                                                                                           Application ID AA00911JX9

 ~ Getting Started


 ~   Personal
                                                Travel Information
     Tr avel                             ►

                                                   NOTE: Provide the following information concerning y our tr av el plans .




                                                    Provide the following information:


                                                       TEMP. BUSINESS PLEASURE VISITOR (B)                                    V




 ~                          !ir.;11}
     ·fr:.1iJJiJJLJ

 ~                    ml
     ~il,;!~!jf".J.!.JH'J
                                                                                           + A dd A nother            -   Rem ove




 Help: Narigation Buttons                            Q: Hav e y ou m ade s pecific tr av el plans ?
 Click on the buttons above                          A: O ves @ No
 to access previously
 entered data.
                                                    I ntended Date of A rriv al @                                                              Help: Arrinl Plans
                                                   rBI               GD                                                                        If you are unsure of
                                                    (Format: DD-MMM-YYYY)
                                                                                                                                               your travel plans,
                                                                                                                                               please provide an
                                                    I ntended Length of Stay in U.S . @                                                        estimate.
                                                   D I-SELECT ONE-                            B

                                                    Pe rson/ Entity Paying for Your Trip ~
                                                   I -SELECT ONE-                                                                 B

                                                       ◄ Back: Per s onal                            IB!!IIIIII                         Next: Tr avel Com panions ►




     G I
                            T h is :sit e is m a n aged b y the Bureau o f Con sula r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r I nte rn e t
                            sit es s h o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                            Copyrig ht Information@ Disclaimers@ Paperwork R eductio n Act@
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 13 of 84




Travel Information (A Visas)
Displayed for principal applicants who select an A-Visa.



     ~                  lllllfllllllllllilll                                                                                   English

•             COMPLETE                                     ,PJ:!ll.JQ.                I                 .8§0EW _ _ _                I___
                                     Online Nonimmigrant Visa Application (DS -160)
                                                                                                                                  Application ID AA00911JX9

 ~ Getting Started


 ~   Personal
                                      Travel Information
     Travel                    ►

                                         NOTE: Provide the following information concerning y our tr av el plans .




                                          Provide the following information:

                                                          to the U.S . @
                                            Pur ose of Tr i
                                              FOREIGN GOVERNMENT OFFICIAL (A)                                         V




                                            S eci @
                                             AMBASSADOR OR PUBLIC MINISTER (A1)                                       V




                                                                                  + A dd Another             -   Rem ov e




 Help: Narigation Buttons                 Q: Hav e y ou m ade specific tr av el plans ?
 Click on the buttons above                A: 0 Yes @ No
 to access previously
 entered data.
                                          I nt ended Date of Arriv al @                                                               Help: Arrfral Plans
                                         rBrBD                                                                                        If you are unsure of
                                          (Format: DD-MMM- YYYY)
                                                                                                                                      your travel plans,
                                                                                                                                      please provide an
                                          I nt ended Len th of Sta          in U.S . @                                                estimate.
                                         D           -SELECT ONE- V




                                          Mission/ Organization Information                                                           Help: Sponsoring
                                                                                                                                      Mission/Organization
                                            S ponsor ing Mission/ Or ganization
                                                                                                                                      Enter "Embassy of your
                                                                                                                                      country" or the name of
                                                                                                                                      your International
                                            Contact Surnam es                                                                         Organization or U.S.
                                                                                                                                      military base.


                                            Contact Giv en Nam es



                                            U .S . A ddr ess (Line 1)



                                            U .S . A ddr ess (Line 2) * Optiona l



                                            C ity




                                            S tate
                                            I - SELECT ONE -


                                            Z ip Code

                                            (e.g., 12345 or 12345- 1234)


                                            Phone Number

                                            (e.g., 5555555555)


                                          Pe r son/ Entity Paying for Your Tr ip (ff)
                                         I -SELECT ONE-




                                             ◄ Back: Per s onal                                                                Next: Tr avel C om pani on s ►




     8 1
                  Th is s i t e is m a n a g e d b y the Bureau o f Con sula r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                  s i t es s h o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the v ie ws conta in e d the re in .
                  Copyrigh t Information lfiJ        Dis.claimers lfiJ    Paperv.ork Reduction Act lfiJ
             Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 14 of 84




Travel Information (E1/E2-EX Visas)
Displayed for principal applicants who select an E1-EX or E2-EX Visa. Principal applicant question
answered “Yes” to display additional fields.




                                    Online Nonimmigrant Visa Application (DS-160)
                                                                                                                     Application ID AA000320OC

 ., Getting Started

 \I Personal
                                    Travel Inf01n1ation
 ., Travel                    ►


 \I Travel Companions                   NOTE: Provide th e following information concerning y our trav el plans.
 \I Previous U.S. Travel

 \I Address and Phone

 \I Passport                            Provide t he following information :

 ., U.S. Contact                          Purpose. of Trip t o the U .s . @

 ., Family
                                          !TREATY TRADER OR INVESTOR (E)                                  G
 \I Work/ Education
    Trammg                                Specify @

 \I Security and
                                          !EXECUTIVE/MGR/ESSENTIAL EMP (E1)                               G
    Background

 \IE Visa
                                           Q: Has the principal Treaty Tr ader/ I nvest or already been
                                                issued a visa?
 \I StudenVExchange Visa
                                           A: @Yes O No
 ., Crewv,sa

 ., Temporary Wor1< v,sa
                                                  Surnames




                                                  Given Names
 Help: Nnigation Buttons

 Click on the buttons above
 to access previously                             Princi pal Applicant Date of Birth @
 entered data.
                                                  i-B'~CJ
                                                  (Format: DD-MMM-YYYY)




                                                                            + Add Another




                                        Q: Hav e you made specific trav el plans?

                                         A: O Yes @ No

                                        I nt ended Date of Arrival @                                                     Help: Arm•al Plans
                                        rEIEICJ                                                                          If you are unsure of your
                                        {Format: DD-MMM-YYYY)
                                                                                                                         travel plans, please
                                                                                                                         provide an estimate.
                                        I ntended Len th of Sta in U.S. @
                                       CJ -SELECT ONE- v

                                        Person/ Entity Paying for Your Trip @
                                       I -SELECT ONE-




                                           ◄ Back: Personal
                                                                                    IIIE'llmlllll                   Next Travel Companions ►




                   This sit e is m anaged by the Bu reau of Consular Affairs, U.S. Department of St at e. Ext ernal links to other Int ernet sit es should
                   not be construed as an endorsement of the views contained therein.
                   Copyright I nformation 6l Disclaimers 6l Paperwork Reduction Act 6l
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 15 of 84




Travel Information (Non-Principal Applicants)
Displayed for non-principal applicants (ex. Child Of, Spouse Of, etc.) who select the following visa types:
A, B, C, D, E, F, G, H1B1, I, J, M, N, NATO, Q, S, and PARCIS.




                                                Online Nonimmigrant Visa Application (DS -160)
                                                                                                                                             Application ID AA00911JX9

 ~ Getting Started


 ~   Personal
                                                Travel Information
     Tr avel                             ►

                                                    NOTE: Provide the following information concerning y our tr av el plans .




                                                    Provide the following information:


                                                        FOREIGN GOVERNMENT OFFICIAL (A)                                         V




 ~                          !ir.;11}                   Specify ~
     ·fr:.1iJJiJJLJ                                    l c HILD OF AN A1 (A1)                                                  B
 ~                    ml
     ~il,;!~!jf".J.!.JH'J                              Principal Applicant Information

                                                          Surnam es



 Help: Narigation Buttons                                 Giv en Nam es

 Click on the buttons above
 to access previously
 entered data.
                                                                                            + A dd A nother             -   Rem ov e




                                                     Q: Hav e y ou m ade s pecific tr av el plans ?

                                                     A: O ves @ No
                                                    I ntended Date of A rriv al @                                                                Help: Arrinl Plans
                                                    rBI               GD                                                                         If you are unsure of
                                                    (Format: DD-MMM-YYYY)
                                                                                                                                                 your travel plans,
                                                                                                                                                 please provide an
                                                                                                                                                 estimate.




                                                    Pe rson/ Entity Paying for Your Trip ~
                                                    I -SELECT ONE-                                                                  B

                                                        ◄ Back: Per s onal                             IB!!IIIIII                         Next: Tr avel Com panions ►




     G I
                            T h is :sit e is m a n a g e d b y the Bureau o f Con sula r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r I nte rn e t
                            sit es s h o u ld n o t b e con s t rue d as a n e n d o rse m e nt o f the vie ws conta in e d the re in .
                            Copy rig ht Information lfiJ Disclaimers lfiJ Paperwork R eductio n A ct@
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 16 of 84




Travel Information (USCIS)
Displayed for principal applicants who select the following visa types: CW/E2C, H1B, H1C, H2A, H2B,
H3, K1, K3, L, O, P, R, T, and U.




                                               Online Nonimmigrant Visa Application (DS-160)
                                                                                                                                         Application ID AA00911JX9

 ~ Getting Started


 ~   Personal
                                               Travel Information
     Tr avel                             ►

                                                   NOTE: Provide the following infor m ation concerning y our tr av el plans .




                                                   Provide the following information:                                                       Help: Application
                                                                                                                                            Receipt/Petition Number

                                                       CNMI WORKER OR INVESTOR (CW/E2C)                                      V              Your application
                                                                                                                                            receipt/petition number
                                                                                                                                            was given to you by the
                                                                                                                                            Department of
 ~                          !ir.;11}                  Specify ~
                                                                                                                                            Hom el and Security's
     ·fr:.1iJJiJJLJ                                   l cNMI TEMPORARY WORKER cc w 1)                                      B                United States
                                                                                                                                            Citizenship and
 ~                    ml                                                                                                                    Immigration Services
     ~il,;!~!jf".J.!.JH'J
                                                                                                                                            (USCIS) after you filed
                                                        A pplication Receipt/Petition Number                                                your p-etition application
                                                                                                                                            at a USCIS Service
                                                        (e.g., ABC1234567890)                                                               Center. The application
                                                                                                                                            receipt/petition number
                                                                                                                                            is 13 c haracters long
 Help: Narigation Buttons                                                                                                                   and the first three
                                                                                          + A dd A nother                                   characters are letters.
 Click on the buttons above                                                                                         -   Rem ove
 to access previously
 entered data.


                                                    Q: Hav e y ou m ade s pecific tr av el plans ?

                                                    A: O ves @ No
                                                   I ntended Oate of Arriv al @                                                             Help: Arrinl Plans
                                                   rBI               GD                                                                     If you are unsure of
                                                   (Format: 00-MMM-YYYY)
                                                                                                                                            your travel plans,
                                                                                                                                            please provide an
                                                                                                                                            estimate.




                                                   Person/ Entity Paying for Your T r ip ~
                                                   I -SELECT ONE-                                                                B

                                                      ◄ Back: Per s onal                            IB!!IIIIII                        Next: Tr avel Com panions ►




     G I
                            T h is :sit e is m a n aged b y the Bureau o f Con sula r A ffa irs, U .S . Dep a rtm e nt o f St a t e . Extern a l lin ks t o o the r I nte rn e t
                            sit es sh o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                            Copyrig ht Information@ Disclaimers@ Paperwork R eductio n Act@
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 17 of 84




Travel Information (USCIS Non-Principal Applicants)
Displayed for non-principal applicants (ex. Child Of, Spouse Of, etc.) who select the following visa types:
CW/E2C, H1B, H1C, H2A, H2B, H3, K1, K3, L, O, P, R, T, and U.




                                                  Online N onimmigrant Visa Application (DS -160)
                                                                                                                                             Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                                  Travel Information
     Tr avel                               ►

                                                     NOTE: Provide the following infor m ation concerning y our tr av el plans .




                                                      Provide the following information:                                                         Help: Application
                                                                                                                                                 Receipt/Petition Number

                                                         CNMI WORKER OR INVESTOR (CW/E2C)                                       V                Your application
                                                                                                                                                 receipt/petition number
                                                                                                                                                 was given to you by the
                                                                                                                                                 Department of
                                                        Specify @
                                                                                                                                                 Hom el and Security's
                                                        l cHILD OF c w 1 cc w 2)                                               B                 United States
                                                                                                                                                 Citizenship and
 ~                    fl~                                                                                                                        Immigration Services
     !!1 ,;!~i,lf"..l!.JJJ~                             Principal Applicant Information                                                          (USCIS) after you filed
                                                                                                                                                 your p-etition application
                                                           Surnam es                                                                             at a USCIS Service
                                                                                                                                                 Center. The application
                                                                                                                                                 receipt/petition number
                                                                                                                                                 is 13 c haracters long
 Help: Narigation Buttons                                  Giv en Nam es
                                                                                                                                                 and the first three
                                                                                                                                                 characters are letters.
 Click on the buttons above
 to access previously                                      Application Receipt/Petition Number
 entered data.

                                                           (e.g., ABC1234567890)




                                                                                             + A dd Another             -   Rem ove




                                                       Q; Hav e y ou m ade specific tr av el plans'

                                                       A: O ves @ No
                                                      I ntended Date of Arriv al iUl                                                             Help: Arrinl Plans
                                                     rBI               GD                                                                        If you are unsure of
                                                      (Format: DD-MMM- YYYY)
                                                                                                                                                 your travel plans,
                                                                                                                                                 please provide an
                                                                                                                                                 estimate.




                                                      Person/ Entity Paying for Your T r ip (ff)
                                                     I -SELECT ONE-                                                                 B

                                                         ◄ Back: Per s onal                            IB!!IIIIII                         Next: Tr avel Com panions ►




     GI
                              T h is :sit e is m a n aged b y the Bureau o f Con sula r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r I nte rn e t
                              sit es s h o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                              Copy rig ht Information lfiJ Disclaimers lfiJ Paperwork R eductio n A ct@
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 18 of 84




Travel Companions Information
Displayed for all applicants.




                                                Online N onimmigrant Visa Application (DS -160)
                                                                                                                                             Application ID AA00911JX9

 ~ Getting Started


 ~   Personal
                                                Travel Companions Information
 ~ Travel


     Tr avel Companions                  ►          NOTE: Provide the following tr a v el companion infor m ation .




                                                    Persons traveling with you                                                                   Help: Tmeling with
                                                                                                                                                 Others
                                                     Q: Ar e ther e other persons tr av eling with y ou?                                         You should answer Yes
                                                                                                                                                 to this question if you
                                                     A: @Yes 0 No                                                                                are traveling with
                                                                                                                                                 family, as part of an
 ~                          !ir.;11}
                                                                                                                                                 organi:zed tour, or as
     ·fr:.1iJJiJJLJ                                                                                                                              part of a performing
                                                                                                                                                 group or athletic team.
 ~                    ml                                                                                                                         You do not need to list
     ~il,;!~!jf".J.!.JH'J
                                                                                                                                                 individuals who are
                                                                                                                                                 traveling with you for
                                                                                                                                                 the purposes of
                                                                                                                                                 employment with the
                                                                                                                                                 same employer.



                                                     Q: Are you tra ve ling as part o f a group or orga nization?

                                                     A: 0 Yes @ No
                                                    Enter person( s) trav eling with y ou

 Help: Narigation Buttons                              Surnam es of Per son Tr av elin g With You

 Click on the buttons above
 to access previously
 entered data.                                         Giv en Nam es of Per son Tr av eling With You




                                                       Relationship with Per son (ff)
                                                       I-SELECT ONE -                                                          G
                                                                                            + A dd Another              -   Rem ov e




                                                        ◄ Back: Tr avel                                IB!!IIIIII                         Next: Previous U. S. Trave l ►




     G I
                            T h is :sit e is m a n a g e d b y the Bureau o f Con su la r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                            sit es sh o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                            Copyrig ht Information@ Disclaimers@ Paperwork R eductio n Act@
                      Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 19 of 84




Previous U.S. Travel Information
Displayed for all applicants. All questions are answered “Yes.”
      -                                                                                                                  Contact Us      I Help I Ex,!

 ®             U.5. DEl'Alff~                       NTo/..S.J:A.
                                                              ~
                     C O NSULA R ELECTR ONI C A PPLIC A TION C ENTE R
                                                                                                                  ~
                                  Online N onimmigrant Visa Application (DS- 160)
                                                                                                                     Application ID AA00911JX9

~   Gettmg Started

~ Personal
                                  Previous U.S. Travel Information


~ Travel Compamons                   NOTE: Prov ide t he following prev io us U.S. tr avel informat ion. Prov ide complet e and aocurate
                                     infor m ation t o all questions t hat require an e lCplanat ion.
    Previous US Travel       ►




                                      Q; Have you ever bee n in t he U.S. ?

                                      A : @Yes O No
                                            Provide information on all U.S. visits:


                                                Date Arrived 0                                                           H, lp; Pre-rious U.S. Visits
                                                r-BIBCJ                                                                  If you are unsure about
                                                (Format: DD- MMM -YYYY)                                                  when you v ,s,ted the
                                                                                                                         U.S., please provide a
                                                ~        of Stay O                                                       best estimate.

                                                L_J I-SELEC T ONE-

                                                                       ·~                       -~
                                              Q: Do you or d id you ever hold a U. S. Driver's
                                                    L,ceru.e'

                                              A:     @Yes O No

Hdp; '.\'1ri;1tion Bottoni
                                              Provide the following information:
Cicl<Ol'ltliebvll00$above
toaccessprevoousty                              Driver's License Number
enteredd!lta

                                                                                      00o Not Know
                                                State of Driver 's License
                                                I- SELECT ONE -                                        B
                                                                       ♦ ~                      -   ~




                                      Q; Have you eve r bee n issued a U.S. V isa?

                                      A: @Yes O No


                                            Previous U.S. Visas

                                              Date Last V isa Was Issued @

                                             r-BIBCJ
                                              (Format: DD- M"1M-YYYYl

                                             V isa Number                                                                H, lp; \'in:'liumffr
                                             ~ - - - - - ~ O DoNotKnow
                                                                                                                         Enter the 8-d ,g ,t number
                                                                                                                         that is displayed in red
                                                                                                                         on the lower right hand
                                                                                                                         side of your v isa , If
                                                                                                                         your prev,ous visa was
                                              Q: Has your U.S. V isa ever been lost or                                   a Border Crossing Card
                                                    stolen?                                                              enter the last 12-d;g,t
                                                                                                                         number of the first line
                                              A :    @Yes O No                                                           of the machin,e readable


                                                    Enter year v isa was lost or stolen:




                                                    Explain




                                              Q: Has your U. S. V isa ever been
                                                    cancelled or revoked?

                                              A :    @Yes O No


                                                    Explain




                                      Q: Ha"e you ever been refused a U.S. V isa, or been r efused
                                            admission to t he United States, o r withdrawn your
                                            application for admission at the port of entry?


                                      A :    @Yes O No




                                      Q: Ha$ anyone ev er filed 1m im m i9~ant pet it ion on your
                                            behalf w tth t he United States Cit,zenship and I mmigration
                                            Services'


                                      A :    @Yes O No




                                      Ci-¥4U\4b I: 1-f'li · tM¥45HbIi&                                               i4,U·1·14fiSYMI
                This s i t e Is m a n a g e d by the Bure a u of Consula r Affa irs, U .S. Depa rtment of St ate , Exte r nal links t o othe r I nter n et
                s ites should not be construed a s a n e ndorse ment of the v i e ws contained therein .
                Copyrig ht Jnfo, mt\iq n@ ~ ! ? Pf Q1""9tk R1du d i9n >,<t.£.l
                  Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 20 of 84




Address and Phone Information
Displayed for all non-AGNATO applicants. All questions are answered to reveal additional
fields, and Social Media Platform list included.
                                                                                                 (Of'l,i<;t\.l';   I    ~Mp      !<If



    ~ us,__I:!}:'."~;.:.' ·:';~+.~                                                    - ~
•      C:OIIPHH                         PUO IO                            ll! VII W

                        Online Nonimmigrant Visa Application{DS-160)
                                                                                              Appbc-        ID AAOOOJ200C


                        Address and Phone Infonnation

                           HomeAddren
                           StreetAddte$S{UM1)




                           ""
                                                                 0 0onNotN#'f

                           ~Zone/ZIPCoda
                                                           □ OoesN«Aw,


                           Country/Req!on
                           I-SELECT ONE .                                             a
                           Ma.dmgAddrn1
                            0: Is yow " ~ ~ t h e wm• H yow Home Addru!I?




                                                                                      J
                                 c::::
                                 ~Zon./ZIPCNt
                                 t=                     _j 0 0 - NotAW'f
                                 c...,try,,.,..,
                                 l•SElfCTONE·




                           -
                           P rima,ry"'ioneNurnbef



                           SK11f!dwyPhoneNumbar
                                                                                                ---
                                                                                                YOU11lU91:P,owldii.1

                                                                                                n.~Dhon•
                                                                                                ~---wtlktl
                                                                                                l'IUffiberlf>ould bl!N




                                                                                                ---
                                                                                                ~--·
                                                                    0 DoesNot~                  l"llU•e-Kcetvtobl
                                                                                                ~thltCOl.lldN.a


                                                                                                d - ~ w .. llddbaft.ll




                                                                                                --
                                                                    Ot>otsNot~                  IAnd . . . . .




                                                                                                -
                                                                                                ~ , . . . ......bet
                                                                                                pie.., . . tt1..1as-.--




                            Q;H.1.,. youlltH_,.yotMl"~IMll"lbvlll'IIMIMlfhot
                                ,on,




                                                       • ~                 - Mmm



                           Em;Jii Aodr•q
                                                                                                _ ... o6dt"'
                                                                                                        11e-..
                           f•o --~"-'~m,r,llcoml




                            Q:H.1V1youllttcl_,.-,-oo,e,_,l.odf.,_ll'llh41.1,cf11'1
                                                                                                -
                                                                                                ........
                                                                                                    Jdre,


                                                                                                c ,c.-,......Pr...w..n
                                                                                                ~ ....-1tutlt


                                                                                                h.a:"..:!:!t..~
                                                                                                                       nMde.,.




                                ,on,




                                                       • ~                 - &:aa«tt



                           DOY'OVh"*.lloct,lffloldlliprtMl'ICt1
                           S-..:t"'-ttltl,tbttowt-"_,,..,.....pl_,_youh,...
                           U5edw'"'°"IIIIIMlM_, Jntht~M-,tolN
                           . . . . , _ . , _, .,1«the--.•hionlllY"OVN._..Uled
                           onu..tiutklfm. ~ d o not""'""°*,--~· 11,ou
                           i..... USM_.. tt,an-llUd'Olffl or inoreO'IMI _ _.._.
                                                                                                    -~
                                                                                                 _...,_
                                                                                                lnt@<N.......00,,



                                                                                                ::=--vtlle~d
                                                                                                ,__....,
                                                                                                            ~




                           « b¥ICllt on .a $lf9I pbtform. did!'. the 'Add Anath«' button ta     ~ltwlyQIIUNII




                                                                                                --
                                                                                                d.aborillll........




                                                                                                 .. _
                           lllt-..dt-~al...... 1f _ ~... notl.-d¥1yvltt..i.itd
                                                                                                lnlona.t-,andlo- •Kt
                           -1,1,,...-,~i,,oi.i.fll'l'l'Qn. Mila 'Noni"
                                                                                                """attw..Llttltll


                             Sod.al Nech Pl'owid«(PIMfofm
                                                                                                 .a--.•""'-
                                                                                                ~ a a o d..tN
                                                                                                ., ...-IOdal..-1
                             I- SELECT ONE •
                                                                                                        ,,,...
                                                                                                            ·-~
                                                                                                pmfit9(YOUdonctr>eed

                                                                                                !      _by.,...~
                                                                                                ot1Mo-...,,...zat1an
                                                                                                                                        - SELECT ONE -
                                                           · ~-!leaaXf:

                            Q:Ooyouw!$htoprovldelnfarm.&,,atiouc,vowpr-.ar1                                                             DOUBAN
                              My~wtot11:es« 1~ v o o h1v111Sedwlt..,~
                              lul 11.,. ,urs to crwt, or Jh- content ( photos, wSeos,                                                   FACEBOOK
                                sututlupdll. .,9"-)1
                                                                                                                                        FLICKR
                            /1,:. @Yff Q No                                                                                             GOOGLE+
                                Plo!-.proy!d,,thllNITHl!d!halll,ldllffll ar,dthl
                                , -1t4~90Ci-',,......,..,{_ _ _
                                                                                                                                        INSTAGRAM
                                ~Jforudltodll"'4d11QdormvouWOlotldliklto
                                                                                                                                        LINKEDIN
                                llt.Thsdoanoliftdlocliaprlvlll~_,~                                                                      MYSPACE
                                t0>-~~~.5'1ChasWt>.ts.t.w                                                                               PINTEREST
                                                                                                                                        QZONE(QQ)
                                                                                                                                        REDDIT
                                                                                                                                        SINAWEIBO
                                                                                                                                        TENCENTWEIBO
                                                       · ~                 - .B.amixt                                                   TUMBLR
                                                                                                                                        TWITTER
                                                                                                                                        TWOO
                                                                                                                                        VINE
                                                                                                            ilid ❖ t■i
                                                                                                                                        VKONTAKTE (VK)
                                                                                                                                        YOUKU
          This""" '" "'•~.,.....,~..,...,,ofContu!•Alfaan, U.S. ~          ol Stot•- f><t..-ftol-.10.....-11!t-.,... .......w
          .._ "_...... ..... ~ o 1 1 : 1 , - - - ~ ~                                                                                    YOUTUBE
          Cw:rrnt:Sl.-!"l!"l'twO ~ ( } !'teru!tRd\/SS:mActO
                                                                                                                                        NONE
                         Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 21 of 84




Address and Phone Information (AGNATO)
Displayed for all applicants who select the following visa types: A1 visas, A2 visas, C3 visas, G1
visas, G2 visas, G3 visas, G4 visas, and NATO1-6 visas. All questions are answered ‘No.’
                                                                                                                                              Contact Us      I Help I Exit

 i~
 ~
                           U.S.DEPART~                                  T of~J:A~
                                   C O N SULAR E LEC T RONIC A P PLICATIO N C ENTER
                                                                                                                                       ~
..,                 COMPLETE                                           JlliQTQ                                    iID!lfil                                       IG

                                                   Online N onimmigrant Visa Application (DS- 160)
                                                                                                                                          Application ID AA00911JX9

1' Getting Started

1' Personal
                                                   Address and Phone Information
1' Travel
                                                      Home A ddress
 Iii Travel Companions
                                                       Str eet A ddr ess ( Line 1)
1' Previous U S. Travel

      Address and Phone                     ►
                                                       St r eet A ddr ess ( Line 2) *Optional




                                                       City


      'ihr:'.J fa.l!.J~i.l ll~HJ
      ffillJUJJ~                                       State/ Pr ov ince
                                                                                                       D Does Not A pply
      ::;::!.:!.Jfl!Jilll!..I
      !!~!:;~~f~!.JH!..I
                                                       Postal Zone/ ZI P Code
                                                                                               0 Does Not A pply

                                                       Count ry/ Re.gion
                                                      I-SELECT ONE -                                                           G
                                                      Mailing Address
                                                        Q: Is your Mailing A ddr ess t he s am e as your Hom e A ddr ess?

 Help: Narigation Buttons

 C~ck on the buttons above
 to access previously                                         Provide your mailing address:
 entered data.
                                                               Str eet A ddr ess ( Line 1)



                                                               Str eet A ddr ess (Line 2) *Optiona l



                                                               City



                                                               State/ Prov ince
                                                                                                         0 Does Not A pply
                                                               Postal Zone/ ZI P Code
                                                                                                  D Does Not A pply
                                                               Count ry/ Region
                                                               I-SELECT DNE -                                                G

                                                      Phone                                                                                  Help: Phone
                                                       Prim ary Phone Number                                                                 You must provide a
                                                                                                                                             primary phone number.
                                                                                                                                             The primary phone
                                                                                                                                             number should be the
                                                       Secondary Phone Number                                                                phone number at which
                                                                                                           0 Does Not Apply                  you are most likely to
                                                                                                                                             be reached; this could
                                                                                                                                             be a land line or a
                                                                                                                                             cellular/mobile number.
                                                       Work Phone Number                                                                     If you have an
                                                                                                           D Does Not A pply                 additional land line or a
                                                                                                                                             cellular/mobile number
                                                                                                                                             please list that as your
                                                                                                                                             secondary phone
                                                                                                                                             number.


                                                      Email A ddress                                                                         Help: Ema.ii Address

                                                       Em ail Addr ess                                                                       You must provide an
                                                                                                                                             email address. The
                                                       (e.g. 1 emailaddress.@example.com)                                                    email address you
                                                                                                                                             provide will be used for
                                                                                                                                             correspondence
                                                                                                                                             purposes. Provide an
                                                                                                                                             email addr ess that is
                                                                                                                                             secure and to which you
                                                                                                                                             have reasonable access.




                                                          ◄ Back· Previous U.S T ravel                                                              Next· Passport ►




  8 1
                                Thi s s i t e is m a n aged b y the Bu reau of C onsula r A ffa irs, U . S . D e partme nt of St a t e . Exte rna l lin ks t o oth e r Inte rnet
                                s i t es shou ld not b e const ru e d as a n e n d orsem e nt of t h e v iev,rs conta in e d t h e re in .
                                C o p y rig ht Inf orm a t io n @ D isclaim ers @ Pa p erwork R eductio n A ct @
                       Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 22 of 84




Passport Information
Displayed for all applicants. All questions are answered ‘Yes’.
                                                                                                                                   Contact Us      I Help I Ex it

 i~
 "\:
                         U. S. DEPART~                             T of--.5.IA~
                                C O NSULAR E LECTRONIC A P P LICATI ON C ENTE R
                                                                                                                            ~
...,               COMPL ET E
                                                                                 7                      .jl§!IEW                                   fil§!i.

                                             Online N onimmigrant Visa Application (DS- 160)
                                                                                                                               Application ID AA00911JX9

 Iii Gettmg Started

 1,1 Personal
                                             Passport Information
 1,1 Travel

                                                Passport/Tra vel Docume nt Type ifil                                               Help: Pusport/Irant
\I Travel Companions
                                                l oTHER                                                               B            Document Number
 ti Previous U.S Travel
                                                                                                                                   Enter the information on
                                                Explain                                                                            the travel document you
V Address and Phone
                                                                                                                                   will be using when
       Passport                        ►                                                                                           traveling to the U.S.
                                                                                                                                   Your travel document
                                                                                                                                   should be a valid,
                                                                                                                                   unexpired passport or
                                                                                                                                   other valid, unexpired
                                                                                                                                   documentation that is
                                                                                                                                   sufficient to establish
                                                                                                                                   your identity and
                                                Pa ssport/Tra v e l D o cume nt Numbe r                                            nationality.




-      j ! !.J!J-::JJ!iE.!!.JEln~:::
       l/i~:J
                                                Passport Book Number




                                                Count      / A ut hor i
                                                 AFGHANISTAN
                                                                                              0 Ooes Not A pply

                                                                          t hat I ssued Pass ort/ Travel D ocument
                                                                                                                       v
                                                                                                                                   Help: Pmport Book
                                                                                                                                   Number

                                                                                                                                   The Passport Book
                                                                                                                                   Number is commonly
                                                                                                                                   called the inventory
                                                                                                                                   control number. You
                                                                                                                                   may or may not have a
                                                Where w as the Passport/Travel Document Issued?                                    Passport Book Number
                                                                                                                                   on your passport. The
                                                   City                                                                            location of the Passport
                                                                                                                                   Book Number on your
                                                                                                                                   passport may vary
 Help: Nu-igation Buttons                                                                                                          depending on the
                                                   State/ Province *If s hown on passport                                          country that issued your
 Click on the buttons above                                                                                                        passport. Please contact
 to access previousty                                                                                                              your passport issuing
 entered data                                                                                                                      authority if you are
                                                   Count ry/ Region                                                                unable to determine
                                                  IAFGHANISTAN                                                  B                  whether or not your
                                                                                                                                   passport contains a
                                                                                                                                   Passport Book Number.


                                                Issuance Dat e fil

                                                !BIB □
                                                (Format: OO-MMM-YYYY)


                                                                                                                                   Help: Expiration Date
                                                                                 D No Expir at ion
                                                                                                                                   In most cases your
                                                                                                                                   passport/Travel
                                                                                                                                   Document must have at
                                                                                                                                   least six months of
                                                                                                                                   validity beyond the date
                                                                                                                                   of your visa application
                                                                                                                                   and/ or your arrival in
                                                                                                                                   the United States.



                                                 Q: Have you ever lost a passport or had one stolen?

                                                 A:    @) Yes Q No


                                                      Provide the following information:

                                                          Passport/Trav el Document Number
                                                          ~ - - - - - - - - ~ D Do Not Know
                                                          Country/ A ut hority t hat Issued Passport/Tr avel
                                                          Document
                                                          !AFGHANISTAN                                             B
                                                          Explain




                                                                                   + A dd A nother        -   Rem ove




                                                   ◄ Back : J\ddr e e e a nd Ph one                                                   Next: U S Contact ►




   9 1
                           T h is s ite is m a n aged b y the Bure au of C o n sular Affairs, U . S. D e partm e nt of State . External lin ks t o oth e r I nternet
                           s it es s h ould n ot be cons t rued as a n e n dorse m e nt of t h e v i ev-6 conta in ed t h e re in .
                           Copyri g h t I n form ati o n @ D is claim ers@ Paperwork R edu cti on Act@
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 23 of 84




U.S. Point of Contact Information
Displayed for all applicants. Additional fields are the same with Person and Organization.




                                               O nline N onimmigrant Visa Application (DS -160)
                                                                                                                                           Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                                U.S. Point of Contact Information
 1,1 Travel


 1,1 Travel Companions                              Con tact Person or Or ganization in the United States
                                                                                                                                               Help: Contact
 1,1 Previous U.S. Travel
                                                      Con tact Per son                                                                         Your U.S. Point of
 1,1 Address and Phone
                                                                                                                                               Contact can be any
                                                         Surnam es                                                                             indiv idual in the U.S.
 1,1 Passport
                                                                                                                                               who knows you and can
                                                                                                                                               verify, if necessary,
     U.S. Contact                        ►
                                                                                                                                               your identity. If you do
                                                         Giv en Nam es                                                                         not personally know
                                                                                                                                               anyone in the U.S., you
                                                                                                                                               may enter the name of
 ~                          !ir.;11}
                                                                                                                                               the store, company, or
     ·fr:.1iJJiJJLJ                                                                                           O o o Not Know                   organization you plan to
                                                                                                                                               visit during your trip.
 ~                    ml                              Or ganization Nam e
     ~il,;!~!jf".J.!.JH'J

                                                                                                              ~ Do Not Know


                                                    Relations hip to You (ff)
                                                   iFRIEND                                                                      B
                                                   A ddress and Phone Number of Point of Contact

                                                      U.S . Str eet A ddr ess ( Line 1)



 Help: Narigation Buttons
                                                      U.S . Str eet A ddr ess ( Line 2) * Optiona l
 Click on the buttons above
 to access previously
 entered data.
                                                      City



                                                      State
                                                      I-SELECT ONE -                                                         B
                                                      ZIP Code (if k nown)


                                                      (e.g., 55555 or 55555-5555)

                                                      Phone Number

                                                      (e.g., 5555555555)

                                                      Em ail A ddr ess

                                                      (e.g., emailaddress@example.com)
                                                                                                      0 Does Not A pply




                                                       ◄ Back: Passport

                                                                                                     ---                                                 Next: Family ►




     GI
                            T h is s it e is m a n a g e d b y the Bureau o f Con sula r A ffa irs, U .S . Dep a rtme nt o f St a t e . Exte rn a l lin ks t o o the r I nte rn e t
                            sit es sh o u ld n o t b e con s t rue d as a n e n d orsem e nt o f t h e vie ws conta in e d the re in ~
                            Copyrig ht Informatio n @ Disclaim ers@ Paperwork R eductio n Act@
                   Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 24 of 84




Family Information: Relatives
Displayed for all applicants. Both parents have same additional questions, displayed with both paths to
show all questions. Answered “Yes” to Immediate Relatives.
    --                                                                                                             Contact Us     I Help I Ex it

  ~ U.S. DEPARTMENT of-.S.IA. , , _ . ~
                      CONSULAR ELECTRONIC APPLICATION CENTE R


            UIJiij!if                                                                        = fW
                                   Online Nonimmigrant Visa Application (DS- 160)
                                                                                                                Application ID A..400911JX9

 V Getting Started

 V Personal
                                   Family Information: Relatives
 V Travel
                                      NOTE : Please provide t he following inform at ion concernim;7 your biological par ents. If you
 V Travel Companions                  are adopted, please provide the following infor m ation on your adopt ive parents.

 V Prev10us US Travel

 V Address and Phone

 V Passport                           Father's Full Name and Date of Birth

 'fl U S Contact
                                         Surnam es

   Family                     ►
                                         (e.g., Hernandez Garcia)                          ODo Not Know
  • Relatives
                                         G iven Names
   f~ncC!fllmcCe

   Deceased
                                         (e.g., Juan Miguel)                               D Do Not Know
   Spouse

   Chiktren                              rn~~
                                         Date of Birth @
                                                                                  □ DoNot Know
                                         (format: DD-MMM-YYYY)


                                          Q: I s y our f at her still liv ing:>
                                          A: @Yes O No

                                         St r eet Addr ess ( Line 1)




                                         Street A ddr ess {Line 2) *Optional




                                         City



 Hdp: 1'"1ri11tion Buttons               State/Prov ince

 Clck on the buttons above               ~ - - - - - - - ~ D Does Not Apply
 to access previOusly
 entered data                            Post al Zone/ ZIP Code
                                         ~   - - - - - - ~ O Does Not Apply


                                         Count ry/ Region
                                         I-SELECT ONE ..                                                G
                                          Q: I s y our f at her in t he U.S.:>

                                          A: @Yes O No

                                         Fathe r 's Status fil
                                         I-SELECTONE -                                                 G

                                      M other's Full Name and Date of Birth

                                         Surnam es


                                         (e.g., Hernandez Garcia)                          O Do Not Know

                                         Giv en Nam es


                                         (e.g., Juanita Miguel)                            D Do Not Know
                                         Date of Birth @
                                         IE~~                                     O Do Not Know
                                         (Format: DD-MMM-YYYY)


                                          Q: I s your m ot her still liv ing:>
                                          A: O Yes @No
                                         Year of Death
                                         CJ


                                       Q: Do you hav e any immediate r elativ es, not includim~                    Help: lmmediur Relatins
                                             par ents, in t he United States:>
                                                                                                                   Means fiance/tiancee,
                                                                                                                   spouse (husband/wife),
                                       A: @t{.~~ O No                                                              child (son/daughter), or
                                       Provide the following information :                                         sibling (brother/sister).

                                         Surnam es




                                         Giv en Nam es




                                         Relationship to You 0
                                         1- s ELECT ONE -                                               G
                                         Relat iv e's Status
                                         I-SELECTONE-                                                   G
                                                                            + Add A nother        -   Rem ove




                                         ◄ Sack    U S Contact                       5 we11M1                      tlext F1ancelf1ancee ►




   8 1
                   T h is site is m anag e d by the Bure au of Con su la r Affairs, U. S. Department of State. External lin ks t o othe r Internet
                   s ites s hould not b e c ons t ru e d a s a n endorse m e nt of the vie ws c ontained the re in .
                   Co pyright I nform a t ion rfiJ Discla imers r!i) Papel'V,Qrk Re d uction Act rfiJ
                  Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 25 of 84




Family Information: Relatives
Both parents information marked “Do Not Know.” Answered “No” to all other questions.




                                                 Online N onimmigrant Visa Application (DS -160)
                                                                                                                                           Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                                 Family Information: Relatives
 1,1 Travel
                                                     NOTE: Please provide the following informa tion conce rning your biologica l pa re nts . If you
 1,1 Travel Companions                               a re a dopte d, please provide th e following informa tion on your a doptive pa re nts.

 1,1 Previous U.S. Travel


 1,1 Address and Phone


 1,1 Passport                                        Father's Full Name and Date of Birth

 1,1 U.S. Contact
                                                        Surnam es

      Family                               ►
                                                        (e.g., Hernandez Garcia)                              Ga Do Not Know
     • Relativ es
                                                        Giv en Nam es
      Fiance/Fiancee
                                                        (e.g., Juan Miguel)
      Deceased                                                                                                Ga Do Not Know
       Spouse

      Children



                                                     Mother's Full Name and Date of Birth
 ~                     fl~
      ~ il,;!~!jf".J.!.JH'J                             Surnam es

                                                        (e.g., Hernandez Garcia)                              Ga Do Not Know
                                                        Giv en Nam es

                                                        (e.g., Juanita Miguel)
                                                                                                              Ga Do Not Know




 Help: Narigation Buttons                             Q: Do y ou hav e any immedia te r elativ es, not including                              Help: lmmediate Relati,es
                                                           par ents, in the United Stat es?
 Click on the buttons above                                                                                                                   Means fiance/fiancee,
 to access previously                                                                                                                         spouse (husband/wife),
 entered data.
                                                      A: O ves @ No                                                                           child (son/daughter), or
                                                                                                                                              sibling (brother/sister).
                                                      Q: Do y ou hav e any other r e lativ es in the United States?

                                                      A: O ves @ No




                                                        ◄ Back: U. S. Contact
                                                                                                     IB!!IIIIII                               Next: Fiance tF1ancee ►




      G I
                              This :sit e is m a n a g e d b y the Bureau o f Con sula r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Internet
                              sit es sh o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                              Copyrig ht Information@ Disclaimers@ Paperwork R eductio n Act@
                   Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 26 of 84




Family Information: Spouse
Displayed for all K3 applicants, or who selected ‘Married’/’Common Law Marriage’ on the ‘Personal
Information 1’ page. Spouse’s Address selected as ‘OTHER’ to show additional fields.
                                                                                                                                      Contact Us        I Help I Ex it
 1




 ~
     ~ U.S. DEPARTMENT of-.S.IA~
                       C O NSULAR ELECTRONIC APPLICATION CENTER
                                                                                                                               ~
                                                                                               -    -         - ---
..,              COMPLETE                                   PJJQLQ                                       ~                                                IG

                                        Online Nonimmigrant Visa Application (DS-160)
                                                                                                                                   Application ID AA00911JX9

'1/ Gettmg Started

'11 Personal
                                        Family Information: Spouse
1,/ Travel


'1/ Travel Compamons                       NOTE: Enter curr ent s pouse infor m at ion.

1,/ Previous U S Travel


'11 Address and Phone
                                            Spouse's Full Name (include M aiden Name)
'1/ Passport
                                            Spouse's Surnam es
'11 U. S Contact

      Family                     ►

                                            Spouse's Given Nam es
      Relatives

     • Spou se

      FiancetFiancee                       spo[~JI Date[~t[=j
                                           1
      Children                              (Format: DD- MMM-YYYY)




                                            Spouse's Place of Birth

                                               City


                                                                                                    ODo Not K now


                                               Country/ Region
                                               I-SELECT ONE -                                                         B

                                            Spouse's A ddr ess 61
 Help: Narigation Buttons
                                           I OTHER (SPECIFY ADDRESS)                                                       B
 C~ck on the buttons above
 to access previously
 entered data.                                 Str eet Address (Line 1)


                                               (postal box numbers are not allowed)


                                               Street A ddr ess ( Line 2)




                                               City



                                               Stat e/ Prov ince
                                                                                            0 Does Not A pply

                                               Postal Zone/ ZI P Code
                                                                                    0 Does Not Apply

                                               Country/ Region
                                               I- SELECT ONE -                                                        B

                                            Date and Place of Marriage

                                               Date

                                               r-BIBD
                                               (Format: DD-MMM-YYYY)

                                               City




                                               Stat e/ Pr ov ince
                                                                                                   0 Does Not Apply

                                               Country/ Region
                                               I- SELECT ONE -                                                        B


                                               ◄ Back.Re latives                                                                      Next. F1ance/F1ancee ►




      8 1
                    T h is sit e is m a n a ged b y the Bu re a u of Co n su la r Affairs, U .S. D e p artm e n t o f St a t e , Extern a l links t o othe r I n t e rn et
                    s it es shou ld not b e con s t ru e d as a n endorsement of t h e vie ws cont a ined the re in ,
                    Co p yrig ht I nformat io n @ Dis claimers@ Paperwo rk R eduction Act@
                     Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 27 of 84




Family Information: Partner
Displayed for all applicants who selected ‘Civil Union/Domestic Partnership’ on the ‘Personal
Information 1’ page. Partner’s Address selected as ‘OTHER’ to show additional fields.
                                                                                                                                         Contact Us    I Help I Exit

 '> ~
  ~
                       U.S. DEPART~T of~SXA~
                            CONSULAR ELECTRONIC APPLICATION CENTER
                                                                                                                               ~
..,.             COMPLETE                                         El1l2IQ.               i                      E.W
                                                                                                                                     i                    IG

                                           Online Nonimmigrant Visa Application (DS -160)
                                                                                                                                   Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                           Family Information: Partner
 1,1 Travel


 1,1 Travel Companions                        Not e : You hav e indicat ed that y ou ar e in a civil union or dom est ic partnership. Ent er t he
                                              following informat ion concerning y our partner.
 1,1 Previous U S Travel


 1,1 Address and Phone


 1,1 Passport                                 Partner's Full Name

 1,1 U.S Contact
                                               Partner 's Surnam es
       Family                       ►


       Relatives
                                               Partner 's Given Nam es

  • Partner

       FiancerFiancee                          Partner 's Date of Birth (ii)

       Children                               !BIBO
                                               (Format: DD-MMM-YYYY)
       ~1.2..0,/ E:1!.J~il!l-~U/
       ·11~u~                                  Partner 's Count / Re ion of Or i in Nat ionali
                                                - SELECT ONE -


                                               Partner 's Pla:e of Birth

                                                  C ity


                                                                                                    O Do Not Know


                                                  Count ry/ Region
                                                 I-SELECT ) NE -                                                       B

 Help: Nu-~ation Buttons                       Pa rtn e r ' s: A ddr es:s:- (iii

 Click on the buttons above
                                              IOTHER (SPECIFYADDRESS)                                                      B
 to access previously
 entered data.
                                                  St r eet A dd·ess (Line 1)

                                                  (postal box numbers are not allowed)


                                                  St r eet A dd·ess (Line 2)



                                                  C ity




                                                  St at e/ Prov nee
                                                                                              D Does Not Apply

                                                  Postal Zone/ ZI P Code
                                                                                      D Doe.s Not Apply

                                                  Count ry/ Region
                                                 I-SELECT ) NE -                                                       B

                                               Dat e and Place of Civil Union/ Dom e.stic Partnership

                                                  Dat e

                                                 !BIB □
                                                  (Format: DD-MMM-YYYY)

                                                  C ity




                                                  St at e/ Prov nee
                                                                                                   0 Does Not Apply


                                                  Count ry/ Reg ion
                                                 I-SELECT ) NE -                                                       B


                                                  ◄ Back . Relat iv es                                                                Next. F1ance/F1anci:e ►




       8 1
                        T h is s ite is m a n a g e d b y t h e Bureau o f C o n sula r A ffa irs, U. S. D e p artm e nt o f State. Exte rna l lin ks to othe r I nte rnet
                        s ites s h ould n ot b e cons t rue d as a n e n d orsem e n t o f t h e v ie v..s conta in e d t h e re in .
                        Copy rig ht Inform atio n [!il Disclaimers [!il Paperwork R eductio n A ct [!il
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 28 of 84




Family Information: Fiancé / Fiancée
Displayed for all K1 applicants.




                                                 Online N onimmigrant Visa Application (DS -160)
                                                                                                                                             Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                                 Family Information: Fiance / Fiancee
 1,1 Travel


 ~ Travel Companions                                 Fiance!Fiancee's Full Name (include Maiden Name)
 1,1 Previous U.S. Travel
                                                     Fiance/ Fiancee•s Surnam es
 1,1 Address and Phone


 1,1 Passport
                                                     Fiance/ Fiancee·s Giv en Nam es
 1,1 U.S. Contact


      Family                              ►
                                                     Fiance/ Fiancee·s Date of Birth ~
      Relativ es
                                                    i--81        BO
                                                    (Format: DD-MMM-YYYY)
     ■ Fiance/Fiancee

      For mer Spouse
                                                     Fiance/Fiancee's A ddr ess
      Children
                                                       Str eet A ddr ess (Line 1)
 ~                           !ir.;11}
      ·fr:.1iJJiJJLJ
                                                       (postal box numbers are not allowed)
 ~                     ml
      ~il,;!~!jf".J.!.JH'J                             Str eet A ddr ess (Line 2) * Optiona l



                                                       City




                                                       State/ Province
                                                                                                      D Does Not Apply

                                                       Pos tal Zone/ ZIP Code
                                                                                              D Does Not Apply
 Help: Narigation Buttons

 Click on the buttons above
 to access previously                                Fiance/ Fiancee·s Occupation
 entered data.                                       I -SELECT ONE-                                                          B

                                                        ◄ Back: Relativ es                             IB!!IIIIII                              Next: Former Spouse ►




     GI
                             T h is :sit e is m a n aged b y the Bureau o f Co n sula r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r I nte rn e t
                             sit es s h o u ld n o t b e co n s t rue d a s a n e n d o rse m e nt o f the vie ws co nta in e d the re in .
                             Copy rig ht Information lfiJ Disclaimers lfiJ Paperwork R eductio n A ct@
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 29 of 84




Family Information: Former Spouse
Displayed for all K1 applicants, and applicants who selected ‘Divorced’ or ‘Legally Separated’ on the
‘Personal 1’ page. Selecting ‘No’ shows no additional fields.




                                                 Online Nonimmigrant Visa Application (DS -160)
                                                                                                                                              Application ID AA00911JX9

 ~ Getting Started


 ~    Personal
                                                 Family Information: Former Spouse
 ~ Travel


 ~ Travel Companions
                                                      Q: Do y ou hav e any for m er s pouses?
 ~    Previous U.S. Travel
                                                      A:    @Yes 0 No
 ~ Address and Phone


 ~    Passport                                       Number of For m er Sp ou ses:           D
 ~ U.S. Contact
                                                     Former S~ouse Information
      Family                              ►
                                                        Surnam es
      Relativ es

      Fiance/Fiancee                                    Given Nam es

     • Former Spouse

      Children                                          Date of Birth It})

 ~                           !ir.;11}
                                                       rBI                GD
      ·fr:.1iJJiJJLJ                                    (Format: DD-MMM-YYYY)

 ~                     ml
                                                        Date of r arriB         (Ii)
      ~il,;!~!jf".J.!.JH'J
                                                       rn                  v □
                                                        (Format: DD-MMM-YYYY)


                                                        Date Mr riag Bded (Ii)
                                                       rn                  v □
                                                        (Format: DD-MMM-YYYY)

                                                        How the Marriage Ended




 Help: Narigation Buttons

 Click on the buttons above
 to access previously
 entered data.
                                                                                         e was Terminated
                                                                                                                                   V



                                                                                              + Add Another               -   Remove




                                                        ◄ Back: F1ance 1F1ancee                                                                          Next: Childr en ►




     G I
                             T h is :site is m a n a g e d b y the Bu reau o f Con sula r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                             sites sh o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                             Copyrig ht Information@ Disclaimers@ Paperwork R eductio n Act@
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 30 of 84




Family Information: Deceased Spouse
Displayed for applicants who selected ‘Widowed’ on the ‘Personal 1’ page.




                                                 Online N onimmigrant Visa Application (DS -160)
                                                                                                                                              Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                                 Family Information: Deceased Spouse
 1,1 Travel


 1,1 Travel Companions                               Surnam e

 1,1 Previous U.S. Travel


 1,1 Address and Phone                               Giv en Nam e

 1,1 Passport


 1,1 U.S. Contact                                    Date of Birth

      Family                              ►
                                                     rBI               GD
                                                     (Format: DD-MMM- YYYY)
      Relatives

      Fiance/Fiancee

      Former Spouse

     • Deceased
      Spouse

      Children
                                                         ◄ Back: Former Spouse                         ....                                               Next: Childr en ►




 ~                           !ir.;11}
      ·fr:.1iJJiJJLJ

 ~                     ml
      ~il,;!~!jf".J.!.JH'J




 Help: Narigation Buttons

 Click on the buttons above
 to access previously
 entered data.




     GI
                             This :sit e is m a n a g e d b y the Bu reau o f Co n s u la r A ffa irs, U .S . D e p a rtme nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                             sit es s h o u ld n o t b e co n s t rue d a s a n e n d o rse m e nt o f the vie ws co nta in e d the re in .
                             Copy rig ht Information@ Disclaimers@ Paperwork R eductio n A ct@
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 31 of 84




Family Information: Children
Displayed for all K1/K3 applicants. Selecting ‘No’ shows no additional fields.




                                                Online N onimmigrant Visa Application (DS -160)
                                                                                                                                             Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                                Family Information: Children
 1,1 Travel


 1,1 Travel Companions
                                                     Q: Do y ou hav e any childr en?
 1,1 Previous U.S. Travel
                                                     A:    @ Yes 0 No
 1,1 Address and Phone


 1,1 Passport                                       Number of childr en :       D
 1,1 U.S. Contact

                                                       Surnam es
     Family                              ►

     Relativ es

                                                       Giv en Nam es
     Fiance/Fiancee

     For mer Spouse
                                                       Date and Place of Birth
  • Childr en
                                                          Date of Birth ~
                                                          181 BO
                                                          (Format: DD-MMM- YYYY)
 ~                   ml
     ~il,;!~!jf".J.!.JH'J
                                                          City


                                                          0 Do Not Know


                                                          State/ Province

                                                          '------------' 0 Does Not Apply
                                                          Country/ Region
                                                          I-SELECT ONE -                                                    B
 Help: Narigation Buttons
                                                        Q: l s this child tr av eling to the United States with y ou?
 Click on the buttons above
 to access previously
 entered data.                                          A:    O v es @ No



                                                        Q: l s_this child tr av eling to the U.S . at a later date to
                                                             Join y ou?

                                                        A:    O v es @ No




                                                                                         + A dd Another              -   Remov e




                                                       ◄ Back: Former Spouse                                                       Next: Work/Educat1on/Tra1n1n g ►




     8 1
                            T h is s it e is m a n a g e d b y the Bureau o f Con su la r A ffa irs, U .S . Dep a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r I nte rn e t
                            sit es sh o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in ,
                            Copyrig ht I n formatio n @ Disclaim e rs@ Pape rwork R e ductio n A ct@
                     Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 32 of 84




Present Work/Education/Training Information
Displayed for all applicants.


                                          I                                   ,                                                              English                                 V



 ,.,                COMPLETE                                            £/jQJ                                              EW                                          IG

                                                   Online )lonimmigrant Visa Application (DS -160)
                                                                                                                                                Application ID AA0O911JX9

 ~ Getting Started


 ~     Personal
                                                   Present Work/Education/Training Information
 ~ Travel


 ~ Travel Companions                                   NOTE: Provide the following informa tion conce rning your curre nt e mployme nt or e dJca tion .

 ~     Previous U.S Travel

 ~ Address and Phone


 ~     Passport                                       lorHER                                                                         B
 ~ U.S Contact

                                                       Provide the following information:
 ~ Family

                                                         Specify Ot her
       Work / Education /                   ►
       Trammg

  • Present

       Previous

       Additional

       :;:='..Ufl!JllmJ
       £:~-.;!~iJf!.i!.JJJ!J
                                                         Present Employ er or School Nam e



                                                         Present employ er or school address:

                                                            Str eet A ddr ess (Line I )



                                                            Str eet A ddr ess (Line 2) * Optiona l



 Help: Narigation Buttons                                   City

 Click on the buttons above
 to access previously
 entered data.                                              Sta te/ Province
                                                                                                        0 Ooes Not Apply

                                                            Postal Zone/ Z IP Code
                                                                                             0 Ooes Not Apply

                                                            Fhone Number




                                                            Country/ Region
                                                            I·SELECT ONE -                                                  B
                                                         s t, rt Oate @

                                                         rn~ □
                                                         (Format: 00-MMM-YYYY)



                                                         Mo 1thly I ncom e in Local Currency ( if employ ed)
                                                                                            0 Ooes Not Apply

                                                         Br iefly descr ibe y our duties:




                                                          ◄ Eack : Family                                                           Next: Work/Education: Previous ►




       GI
                               Th is s it e is m a n a g e d by the Bureau o f Con s u la r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o ther I nte rn e t
                               s i t es s h o u ld n o t b e cor s t rue d as a n e n d o rse m e nt o f the vie ws conta in e d the re in ,
                               Copyrig ht I n formatio n @ D isclaim e rs@ Paperwork R eductio n Act@
                    Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 33 of 84




Previous Work/Education/Training Information
Displayed for all applicants. Selecting ‘No’ shows no additional fields.
         ~                                                                                                               Cont act Us     I Help I Exit

    ®            U. S. D EPART M EN T o/.$,lA~
                    CONSULA R ELECTRONI C APPLIC AT ION CENTER
                                                                                                                  ~
              ■·l'@■il
                                   Online Nocimmigrant Visa Application (DS - 160)
                                                                                                                      Application ID A.A00911JX9

~ Getting Started


~   Pers onal
                                   Previous Work/Education/Training Information
~ Travel


~ Travel Companions                   NOTE: Provide your employm ent information for the lost fiv e y eo rs thot you wer e employed,
                                      if opplicable.
~   Pre"ous US r,a,el

~   Add,ess .md Phone


                                       Q; Wer e y ou prev io usly employed?
~ U S Cont ~ct
                                       A:    @Yes O No
~fam1ty
                                            Employer/ Employment I nformation:


IR!tl'filh#I
    Present
                                              Employer Nome



 • Previous
                                                  Employe r Street Address ( Line 1)
    Add1honal


                                                  Employer Str eet Address ( Line 2) *Optional
                                                  I
                                                  City



                                                  St ate/Province


                                                                                      0 Does Not Apply
                                                  Postal Zone/ZI P Code


Hdp: N'a'l"ig:ation Button!                                                           0 Does Not Apply
                                                  Country/ Region
Click on the buttons above
to access prevously
                                                  I-SELECT ONE -                                       B
entered data
                                                  Telephone Number




                                              Job Tit le



                                              Supe rvisor's Sur name


                                                                                             O Do Not Know
                                              Supe rvisor 's Giv en Nam es


                                                                                             O Do Not Know

                                              ~ m e n t Dote From 0
                                              , ~ IB □
                                              (Formot: DD-MMM-YYYY)


                                              ~          m e nt Dot e To 0
                                              , ~ IB □
                                              (Formot; DD-MMM-YYYY)




                                                                           .   ~                     -~

                                       Q; Hove you ottended ony educat ionol institut ions ot o                          Hdp: Lf"l"d of[duution
                                            s econdary level or obov e?
                                                                                                                         You must answer Yes to
                                       A: @Yes Q No                                                                      this question 1f you have
                                                                                                                         ever attended, for any
                                                                                                                         length of time, a high
                                            Provide the followmg information on the educational                          school/secondory school
                                            institutio n(s) y ou have attended.                                          (or its equivalent in your
                                                                                                                         country) or college,
                                              Na me of I nstit ution                                                     university, groduote
                                                                                                                         school, a doctoral
                                                                                                                         program, or a
                                                                                                                         vocational program.
                                              Street Addr ess ( Linc 1)



                                              St r eet Addr ess ( Line 2) • OptionlJI




                                              State/Pr ovince
                                              ~ - - - - - - ~ 0 Does Not Apply

                                              Postal Zone/ZIP Code
                                              ~ - - - - ~ ODoes Not Apply

                                              Country/ Region
                                              I-SELECT ONE -                                           B
                                              Course of Study

                                                                                                                         Hdp: Course of Study
                                              Dote of A ttc ndonc e f r om @
                                                                                                                         For m iddle school/junior
                                              f"BIB D                                                                    high or high school
                                                                                                                         course of study please
                                              (Format. DD-MMM-YYYY)
                                                                                                                         indicate •Academic· or
                                                                                                                         ~vocational.· for all
                                              Dote of A ttendanc e To 0
                                                                                                                         other educationa l levels
                                              f"BIB D                                                                    pleose ind icate your
                                                                                                                         major or concentrot1on.
                                              (format: DD-MMM-YYYY)


                                                                        ·~                       -   R,:::move




                                       il:ffliiYM$£ji@\ii-i,d44M,i■MR4 l#Mii¥4YM$¥11@.0l•i:l-tMNII



    e            T h is s it• is man■ g ■d by t h• Bu r• a u o f Cons u la r Affairs, U .S . D•partm•nt of Stat•. Ext•rnal l in ks to oth • r l nt • rn• t
                 sit■s s hou ld not b • c ons tru• d ■ s ■ n • ndors• m • n t of th• v i• - conh, ined th■r• in.
                 Cpp yright Inform ■ ti qn@ .12i.li!..Ai.!n@ P1etMD•k Red udiqn Ad@
                         Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 34 of 84




Additional Work/Education/Training Information
Displayed for all applicants. Answering ‘Yes’ to all questions to show all additional fields.
                                                                                                            Conta ct Us    I He lp I Ext

 @ U S D El'ARTMENT n/'5.lA. . . . . , , . . . . . ~
                    CONSULA R EL EC T flONI C A PPLICATION C EN T Efl


               ·l\9'ii
                                Online Nonimmigrant VisaApplicatioo {DS- 160)
                                                                                                         Appbcation ID AA00911JX9


                                Additional Work/Education/Training Information

                                  NOTE: Provide t he following work, e ducation, or t rainin,;,i re lat e d information. Provide
                                  complete a nd accurate informat ion to a ll questio n.s that requ ire an e xpla nat ion.




                                   Q: Oo you belon,;,i t o a dan or tribe?

                                    A: @ Yes Q No

                                       Provide the fo llowing information:

                                         Clen or Tribe Name




                                   Provide a List of Lan,;,iua ges You Spea k




                                                           ·~                     -~
                                   Q: Have you traveled t o any countries/regions within the last
                                       five years?




                                       Provide a List of Countries/Regions Visited
Help: :"ll~~ltiODBIIIIOIIS
                                          Country/Re g ion
Ck:tOf\lllebul!Of\Sabove                  I- SELECT ONE -
toauessprevoous./y
entered<lale
                                                                   •~                     -~

                                   Q: Ha ve you resided in any country/ ...,,gion for six mont hs or
                                       longe r since you atta ined 16 yea ~ of a ge?

                                    A: @Yes Q No

                                       Provide the List of Countries/Regions

                                         Country/ Region
                                          I- SELECT ONE -                                       B
                                                                    ♦ ~                   -    ~




                                   Q: Have you belon,;,ie d t o, contribut ed t o, or worked for a ny
                                       professional, 50cia l, or CMrit a ble orga niuit ion'

                                    A: @Yes O No

                                       ProvideaListof0rga nizations

                                         t•geni;zation Name



                                                               ·~                   -~
                                   Q: Have you ever bee n a member of the Taliba n?

                                    A: @Yes Q No

                                       Expla in




                                   Q: Oo you have a ny speQa lized skills or t rainin,;,i, such a s
                                       fi rearms, e xplosives, nudear, biological, or chem,cal
                                       e xperie nce?

                                   A : @Yes Q No

                                       Expla in




                                   Q: Ha ve you e ve r serve d in the military?

                                   A: @Yes O No

                                       Provide the followin,;,i information:

                                          Na me of Country/Re gion                                          Help: i:'i"ameof
                                         I- SELECT ONE -                                                    Co11no y1R.Ppo11

                                                                                                            Pleas.:s.:lect.thecurrent
                                                                                                            l\1'meofthe
                                                                                                            country/re91on where
                                                                                                            you performed milttary
                                          Rank/Position


                                          Military Specialty


                                         0ate of Service From 0
                                         f--a!BD
                                         (Format: 00-MMM-YYYY)

                                          Date of Se rvice To 0
                                         rBIB D
                                         (Format: 00-MMM-YYYY)




                                   Q: Have you e ve r se rve d .i.n, bee n_a me.m ber of,_or been
                                       mvolve d with a para m,l,t a ry u nit, v,g,la nte uml, re bel
                                       group, g ue rrilla group, or insurgent orga n iza tion?

                                    A: @Yes Q No

                                       Expla in




                                   11!&4\iiii.f.ll/Jii·il· 4 tl~Nl&:if#Mi iiH!Mfifjij/.I1
                                                                      1




                 !i~~&ss~~:~~tn:~•=~o~!~:J~;:~ :'n~:u!•;n~~~i~,.U~i!•.,.°:~~~':'n:":: ~-~!7~~-Extarn•Ilinks to oth•, ln t•m• t
                 egpy[iqh\ inf?Cm■font.il .12i.K!Ai..a:w:O P121'l"Pfk esdurt"so Art @
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 35 of 84




Security and Background: Part 1
Displayed for all applicants. All questions answered to show additional fields.


                                 I                                    ,                                                              English                                   V




 •              COMPLETE                                                                                                                                         IGf

                                         Online N onimmigrant Visa Application (DS -160)
                                                                                                                                        Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                         Security and Background: Part 1
 1,1 Travel
                                             NOTE: Provide the following secur ity and back gr ound infor m ation . Provide complete and
 1,1 Travel Companions                       accur ate infor m ation to all questions that r equir e an explanation . A visa m ay not be issued
                                             to persons who are within specific categories defined by law as inadmissible to the United
 1,1 Previous U.S. Travel                    States ( ex cept when a waiv er is obtained in adv ance) . Ar e any of t he following applicable to
                                             y ou? While a YES ans wer does not autom atically signify ineligibility for a visa, if y ou ans wer
 1,1 Address and Phone
                                             YES y ou m ay be r equir ed to per sonally appear befor e a cons ular o fficer .

 1,1 Passport


 1,1 U.S. Contact
                                               Q: Do y ou hav e a communicable disease of public health
 1,1 Family                                         s ignificance? ( Communicable diseases of public
                                                    s ignificance include chancr oid, gonorrhea, gr anulom a
 1,1 Work/ Education /                              inguinale, infectious lepr osy, lymphogr anulom a
      Trammg                                        v ener eum, infectious s tage s yphilis, activ e tuber culosis,
                                                    and other diseases as deter m ined by the Departm ent of
      Security and                ►                 Health and Human Services.)
      Background
                                               A:    @ Yes 0 No
     ■ Part 1
                                                    Ex plain
      Part 2

      Part 3

      Part4

      Part 5



                                               Q: Do y ou hav e a m ental or phy sical disor der that poses or
                                                    is lik ely to pose a thr eat to the safety or welfar e of
                                                    y our self or other s?

                                               A:    @ Yes 0 No

                                                    Ex plain




 Help: Narigation Buttons

 Click on the buttons above
 to access previously
 entered data.


                                               Q: Ar e y ou or hav e y ou ev er been a dr ug abuser or addict?


                                               A:    @ Yes 0 No

                                                    Ex plain




                                               Q: Do y ou hav e documentation to establish that y ou hav e
                                                    r eceiv ed v accinations in accor dance with U.S . law?

                                               A:    Q Yes @ No

                                                    Ex plain




                                                 ◄ Back: Work/Educat1on!Tra1n1ng                                           Next: Security/Background Part 2 ►




      G I
                     T h is sit e is m a n aged b y t h e Bureau o f Con sula r A ffa irs, U .S . D e p a rtm e n t o f St a t e . Exte rn a l lin ks t o o t h e r I n t e rn e t
                     sit es sh o u ld n o t b e con s t rue d as a n e n d orsem e n t o f t h e vie ws con t a in e d t h e re in .
                     Copyrig ht I n formatio n @ Disclaim ers@ Pape rwork Reductio n Act@
                       Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 36 of 84




Security and Background: Part 2
Displayed for all applicants. All questions answered to show additional fields.
                                                                                                                                     I Keio I E><t

 ®
        "                                                                                                            Contact Us


             US DEl'ARTMENTo/...SJ;A~
                 CON SUlAR HEC TRON C APPUC AT ON Cf N HR
                                                                                                               ~
             %hi
                                Onlioc Noomuigrant Visa Application (DS- 160)
                                                                                                                  Appbcl.tton!D AA009IIJX9


                                Security and Background: Part 2

                                   NOTE: Pmvide the following security arw:I b>tckgmurw:I informel ion. Pmvide complete arw:I
                                   a ccurate a nswe rs to a ll questions that require an cx pla mit ion. A visa may not bl! issued t o
                                   persons who a re within specific ca,tegories defi ned by law as im,dmissible to t he United
                                   Stat es (e><ce ptwhcn a wa iveris obta incd in a dva ncc). Areany of thc following applica,bleto
                                   y0<.1? While a Yl:S a nswe r does not auto matica,lly signify ineligibility for a visa, if y0<.1 a nswe r
                                   Yl:S you may bl! required t o persomilly a ppear Defore a consular officer.




                                     Q; Have. you everbl!enarrestedorconvid:cdforanyoffe nsc
                                        or cnme, e ve n t hough subJcd of a pardon, a mnesty, or


                                     A: @ Yes Q No




• Pan 2




                                     Q: Have youevcr vi~ated,or cngagcd inacons~ racyto
                                        viola te, a ny la wrc lat ingtocontmlled substa nccs?

                                     A: @ Yes Q No

                                            Expko,n




Cic:konlhebutlo.uabo,e
                                     Q : Arc you coming to the United State~ to e ngage in
to access ?O"..,,oously                  prostrtut,on o r unla wful comme raa hzed vice or hav e you
-&•                                      bl!en e ngagedinpmstil utionorp,ocuringprostitutes
                                         within t hc past10ycars?

                                     A: @Yes Q No




                                     Q ; Ha ve youeve r bl!e n inv~ved in,ordoyoU$Ce kto
                                         e ngagein, m- y laundering?




                                     Q : He ve you e ve r_ committe d 0< cons~rc d to comm~ a
                                         humantraffickingoffc nsc in thcUnrtc dSta tcs oroutsidc


                                     A: @Yes Q No




                                     Q ; Have youeve rknowinglyaided, abctted , assisted or
                                         collude dwrth a n 1rw:l1v1dualwhohas committe d, or
                                         cons~re d tocommll: a :ocvcrehuman t rafficlong<>ffe nse in
                                         the Un~ed Sta tes or outside the United St a tes'

                                     A: @Yes Q No

                                            Expla,n




                                     Q :Are youthe sp0use, son, ordauo htc r_<>f a n individualwho
                                            ~:~:i~~~dU~I~~~~ ~~                ~:;;: ;}!"u~~~Jr~~~~ng
                                            arw:I have you within t he last five years, know;ngty
                                            benefited from the trafficking activit ie s?

                                     A: @Yes Q No

                                            Ex pla,n




                                     Q ; Areyouthe soouse, sonor da ughterof a nindivid ua l who
                                         has bee n 1de ntif1ed by t he Preside nt of t he United Stat es
                                         u person who plays a significant m le ,n a severe form of
                                         trafficking in persons a nd have you, within the last five
                                         yea rs, knowingly benefited from the trafficking a ctivitie s?


                                     A: @Yes Q No




                                     Q : Areyouthe sp0usc, sonor dai;ghtcrof a nindiv1dua l who
                                         Nls v,olated a ny contm lledsubste ncctraffidcinglaw, a nd
                                         have knowingly benefited fmm the trafficking activ~ie s in
                                         thcpas:tfivcye a rs?

                                     A: @ Yes Q No




                                    ii-MIMOW&ffif.i#iiEl!la-■1¥¥MOW!#Mf..PtAI


              :i:•.                     ~:::.:a~';:~
                    •~~:.:.~dmn:~•:..• ~0                :~;°
               Cppyright Jn fq,m1 tjpn '9 Qill!f.!!!ll.!1;19
                                                            . ,.:: u;;"~ffc,fi; .;.U~i:_o.i!~::'n~I
                                                               Pfpt'l'!9f!s Rt d w,t19n A,t rf.l
                                                                                                      :'t;.: 7~~-Ext..-na l links l o oth..- Jnt..-n..
                        Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 37 of 84




Security and Background: Part 3
Displayed for all applicants. All questions answered to show additional fields.



                                Online Nonimmigrant Visa Application (DS- 160)
                                                                                                           App!Ja.uoo ID AA000320OC



                                Security and Background: Pa11 3

                                  NOTE: Provide the following s ecurity and ba ckground information. Provide complete and
                                  accurate information to all questions that require a n explanation. A visa may not be issued to
                                  persons who a re wit hin s pecific cat egories defined by law a s inadmissible to the United States
                                  (except when a waiver is obtained in adva nce). Are any of the following applica ble to you?
                                  While a YES answer does not automatia.lly s ignify ineligibility for a visa, if you answer YES you
                                  may be required to persona lly appea r before a consular officer.




--
111111111
 • paJ1 3
                                  Q: Do you seek to engage in espiona ge , sabotage , export
                                      control violations , or a ny other illegal activit y while in t he
                                      United States?

                                   A: @ Yes Q No

                                      Explain




                                  Q: Do you seek to e ngage in te rrorist activities while in the
                                      United States or ha ve you ever engaged in terrorist
                                      ~ctivitifl:7

                                   A: @Yes Q No

                                      Explain



H, lp : Xa•ic• lio11 B■tto11s




M--
Cllckonlhebutlons aboYe
toac:cessp,eviousty



                                  Q: Have you ever or do you int end to provide financial
                                      assist ance or other support to t errorists or t errorist
                                      organizations?

                                   A: @ Yes Q No

                                      Explain




                                  Q: Are you a me mber or representative of a t errorist
                                      organization?

                                   A: @ Yes Q No

                                      Explain




                                  Q: Are you t he spouse, son, or da ught er of an individual who
                                      has engaged in terrorist activity, indud1ng providing
                                      financial assistance or other support to terrorists or terrorist
                                      orga nizations, In ttle last nve years?

                                   A: @ Yes Q No

                                      Explain




                                  Q: Have you ever ordered, incited, committed, assisted, or
                                      otherwise participated in genocide ?

                                   A: @Yes Q No

                                      Explain




                                        L
                                  Q: Have you ever committed, ordered, incited, assisted, or
                                      otherwise participated in torture?

                                   A: @ Yes Q No

                                      Explain




                                  Q: Have y~u committed, ordered, incit,e d, as sis ted, or
                                      otherw,se participated in extrajudiaat killings, political
                                      killings, or othe r acts of violence ?

                                   A: @ Yes Q No

                                      Explain




                                        L                                                   J
                                  Q: Have you ever engaged in t he recruitment or the use of
                                      child soldiers?

                                   A: @Yes Q No

                                      Explain




                                                                 + ~                    -   ~
    Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 38 of 84



                       Q: Have you, while serving as a government official, been
                            respon sible for or directly carried out, at any time,
                            particularly severe violations of religious freedom'

                       A: @Yes Q No

                            Explain




                       Q: Are you a member of or affiliated with the Communist or
                            other t otalit arian party?     (Note: This question applies to K visa applicants only)
                       A: @Yes 0 No

                            Explain




                       Q: Have you ever dir~ctly or indirectly assisted or supported
                            any of the Qroups m Colombia k nown as the Revolutiooary
                            Armed Forces of Colombia ( FARC), National Liberation Army
                            (ELN), or United Self - Defense Fo rces of Colombia (AUC)?



                       A:     @Yes Q No

                            Explain




                       Q: Have you ever thr ouQh abuse of oovernmental or political
                            position converted for personal {Jain, confiscat ed or
                            expropriat ed property in a foreiQn nation to which a United
                            St ates national had claim of ownership?

                       A: @Yes Q No

                            Explain




                       Q: Are you the spouse, minor child, or agent of an individual
                            who has through abuse of government al or political posit ion
                            conv erted for personal gain, confiscated, or expropriated
                            property in a foreign n atioo t o w hich a United States
                            national had claim of ownership,

                       A: @Yes Q No

                            Explain




                       Q: Have you ever disclosed or trafficked in confidential U.S.
                            business information obtained in connection with U.S.
                            participation in the Chemical Weapons Convention,

                       A:     @Yes Q No

                            Explain




                       Q: Are you the spouse, minor child, or aoent of an individual
                            who has disclosed or trafficked in confidential U. S. business
                            infor mation obtained in coonect ion with U.S. participation in
                            the Chemical Weapons Convent ion?

                       A: @Yes Q No

                            Explain




                              L                                                                  :]
                       Q: Have you ever been directly involv ed in the establishment
                          or enforcement of population controls forcing a wom an to
                            undergo an abortion against her free choice or a man or a
                            woman to undergo sterilization against his or her free will?



                       A:     @Yes Q No

                            Explain




                       Q: Have you ever been directly involved in the coercive
                            tr ansplantation of human organs or bodily tissue?

                       A: @Yes Q No

                            Explain




                       ll:f2fi31'W:P:#0Mfl'Ml@tlWdP\iiffl Mlfi1i'li::P:#0MM'Ml¥!:111

Thi$ $it'" i$ man ao'"d by tht Bur.. au of Consula r Affairs, U.S. D'"pa rtm ..nt of Stat ... Ext ..rnal ~nks to oth '"r lnt.. m..t s.it'"s should
not b'" const ru'"d as a n '"ndon.'"m'"nt of th'" vi ..ws contain'"d th'"r'"1n.
Coovnahl !nformat•on t:'.il ~ 6 ' PaP1:rworj,: Reduct•on Act r?
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 39 of 84




Security and Background: Part 4
Displayed for all applicants. All questions answered to show additional fields.




                                  Online Noni.nuuigra.nt V isa Application (DS- 160)
                                                                                                       Application ID AA000320OC

 .; Getting Started

 .; Personal
                                  Security and Background: Pait 4
 .; Travel
                                    NOTE: Provide the following security and background information. Provide complete and
 11' Travel Companions              accurate information t o all Questions that require an explanation. A visa may not be issued to
                                    persons who are within specific categories defined by law as inadmissible to the United States
 11' Previous U S Travel            ( except when a waiver is obtained in advance) . Are any of the following applicable to you?
                                    While a YES answer does not aut omatically signify ineligibility for a visa, if y ou answer YES you
 ~ Address and Phone                may be reQuired t o personally appear before a consular officer.
 .; Passport

 .; U S Contact

 .; Farrnly                          Q: Have you ever been the subj ect of a removal or deportation
                                        hearing?
 .; Work f-ducat1on
    Tra111111g
                                     A: @Yes O No
 ~ Se-cunty and               ►
   Background                           Explain
    Part 1

    Part 2

    Part 3

  ■ Part 4

    Part 5
                                     Q: Have you ever sought t o obtain or assist others to obtain a
                                        visa, entry into the United States, or any other United
                                        States immigration benefit by fraud or willful
 ~ Student/Exchange Visa
                                        misrepresentation or other unlawful means?
 11' Crew Visa
                                     A: @Yes Q No
 .; Temporary Work Visa
                                        Explain




 H elp: N nigation Buttons

 CIICk on the buttons above
 to access previously
 entered data


                                     Q: Have you failed to attend a hearing on removabilit y or
                                        inadmissibility within the last five years?

                                     A: @Yes O No

                                        Explain




                                     Q: Have you ev er been unlawfully present , overstay ed the
                                        amount of time granted hf an immigration official or
                                        otherwise violated the terms of a U.S. visa?

                                     A: @Yes O No

                                        Explain




                                     Q: Are y ou subject to a civil penalty under I NA 274C?

                                     A: @Yes 0 No

                                        Explain




                                     Q: Have you been ordered removed from the U.S. during the
                                        last five years?

                                     A: @Yes O No

                                        Explain
  Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 40 of 84




                           Q: Have you been ordered r emoved from t he U.S. for a second
                                t im e within the last 20 years>

                           A: @Yes C No

                                Explain




                           Q: Have y ou ever been unlawfully present and ordered
                                rem oved from the U.S. during the last t en years?

                           A:    @Yes C No

                                Explain




                                  ,__________                                                :]
                           Q: Have y ou ever been conv ict ed of an aggrav at ed f elony and
                                been ordered removed from the U.S.?

                           A: @Yes C No
                                Explain




                           Q: Have y ou ever been unlawfully present in the U.S. for mor e
                                t han 180 day s ( but no more than one year) and have
                                v olunt arily departe.d t he U.S. w ithin t he last three y ears>



                           A:    @Yes C No

                                Explain




                           Q: Have y ou ever been unlawfully present in the U.S. for more
                                t han one year in the aggregate at any time during the past
                                ten years?


                           A:    @Yes C No

                                Explain




                           Q: Have you ever been removed or deported from any
                                count ry?

                           A: @Yes Q No

                                Explain




                             ◄ Back: Security/Background Part 3
                                                                     ■r-'ffil              Next: Security/Background Part 5 ►




G I
      This sit e is managed by the Bureau of Consular Affairs, U.S. Department of State. External links t o other Internet sites should
      not be construed as an endorsement of the views contained therein .
      Copyright I nformation ~   Disclaimers 6l Paperwork Reduction Act ~
                                                                                                                                          ( E,9)
           Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 41 of 84




Security and Background: Part 5
Displayed for all applicants. All questions answered to show additional fields.



                                                                             Appl,e-.ll) AA0091 1SX,


              Security and Background: Part 5

               IIO"I!:   -•IM~--..-~~
               .ccur.e ..t- to.a~-•-•.,e,q,1..-, ,.-             . , _ ~IIOl lloe -
                                                                                    oo,,,olel•-
               to-•t.o-wictw,""°""c:.t--o,,f....ati,,
               -..c---..                              .................  lo tt. 1/1',Qd
                         ...,•-••-.,..i...-).,.,..,.,o1:me1o11oo,,ng-"<;IOle1o
               1'0V>Wl'4etl'ts _ _ _ _ _ _ , _ . . , , . ~ f o , e . , _ , t l'OV--
               l'Ul""' ""'T N,_,.jtope,_..11y_bofor.•~cifficw




                0:~---.. .                            o1.u.s........... -
                     -1M11no1Nsu.r:u"-•--;r••""'-""'i.o-
                     ~ t , , • tl.S.co,,rO

                A;    . .....    Ho




                     ~-·
                0 : .,._..vo,,"'11114"'tt>IUNl:MIStf~H"'~ol: ...... --•




                      L
                Q: _ _          .,..,_.,,_st_~fo,tht,
                     -"'~"-·


                o:- -•-.•~v!McwtJ)"""'--v-i.
                 hMill,odlhi, _ _ _ , , , , _ _ _ , _ _ _,




                      L
                O,~.::.,~~i.:::.t=:
                     ~~t,yit.~ol:~

                A: (!)v..        11o




                     ____ ...           __
                0= --•9'".,......,,.,.,..,._~octmol"'fflo,,gto
                     pe,f1N"ffl..-.i • - . , b i . - H S . - - b u t -
                     ""'l"'l _ _ t h e _ a . . . n l o l - . J ~



                /4.:. @ TH       HO




                Q-,¥•-·---~to.,,.,,__
                  ~



                     ~~--·
                      t11 1heUl'lffdstatH"'-CNWMt,--
                     c e , i f - " - tt,t,~c,11Gl'NullMlol,orwon
                     ~ S d , o o l s c , t ' ~ ... ~~




                      L
                0:   _,,.,...,.,..,_,,..,.......,...,.,,.._,.S.at1•....,_?
                A: @TH Q ,to




                Q , ..._..,.,..,.,_.,. CNl'Wledlhe"-""""'51- .. ..-d..-lO
                     ..,e09......,.,,HNIOINlr'9•1-<JI-•
                A; • TH '"':IIO




                      L
                0 , ,.,.._......_1o11,eu.s.1op,.a.c,,~
                A: @va           Ho




                      L
                Q · 5tMa...,..-___,..;                 kt>ooMgly_,
                    KHIN5-'lltlryolH<lfflliltndSecunr,oltM-
                                       __

                     ~~-~·




                M                 iii-Pii-B!:111111

 e   !:::W"'.:..-.:4...:::..-:::::'J::::::,,.Alf.;";;.u.!..~= - •l_ ,._ I__
     ~ 1 9 ~ 1 9 b--♦ leddlnctrtn
                            Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 42 of 84




E-Visa: Business Profile
Displayed for E1-TR, E2-TR, and E1/E2-EX acting as their respective TRs. ‘Other’ selected where
available to show all additional fields.
                                                                                                                                   Contact Us      I Help I Ex it

 ',~
   "-
                          U.S. DEPART~                        NT o/...,SJ;A
                                 CONSULAR ELECTRONIC A PPLICAT ION C ENTER
                                                                          ~                                                  ~
...-                COMPLETE                                                                             'IE EW

                                             Online Nonimmigrant Visa Application (DS-160)
                                                                                                                                Application ID AA00911JX9

Iii Gettmg Started

Iii Personal
                                             E-Visa: Business Profile Information
Iii Travel
                                                 Name of U.S. Enterpr ise, Business, or Com pany
Iii Travel Compamons

Iii Previous U S Travel
                                                 T ype of Business Enter prise 0
Iii Address and Phone
                                                 IOTHER (SPECIFY)
Iii Passport

Iii US Contact                                     Other ( Specify)

Iii Famlly

Iii Work I Education /
    Trammg

Iii Secunty and                                  D ate and Place Business was Established o r Incorporated in
    Background                                   the United States

       E V is a                          ►
                                                   D ate I ncrporB lij)
  • Bus iness Profile                              rB                  v CJ
                                                   (Format: DD- MMM-YYYY)
       Foreign Parent
       Business                                    City

       finance and
       Trade
                                                   State
       Investment                                  I-SELECT ONE -
       U.S. Personnel 1

       U.S. Personnel 2

       Applicant Present                         Address of Headquarters, Subsid iaries, and Branc h Offices of
       Position                                  U.S. Enterprise ( Specify T y pe of Office)

       Applicant                                   T ype of Office 0
       Position in U.S.
                                                   loTHER (SPECIFY)

       Application
       Contact                                      Other ( Specify)

       '.;!!J!J;;:11.!i~!!:Jl:JJliJ:::
       'Ji.,:.;)
                                                    Name




                                                    Str eet A ddr ess ( Line 1)




                                                    Str eet Address (Line 2) "'Optional
 Help: Nuigatioo Buttons

 Cltck on the buttons above
 to access previously                               City
 entered data



                                                    State/ Prov ince
                                                    ~ - - - - - - - - ~ D Does Not Apply

                                                    Postal Z one/ ZI P Code
                                                    ~ - - - - - - ~ D D oes Not A pply
                                                    Country/ Region
                                                    I-SELECT ONE -
                                                    T elephone Number                  Fax Number




                                                                                     + A dd A nother          •   Rem ov e


                                                 Nat ure of the Business
                                                  D Gener al Trade
                                                  D Exports from U.S.
                                                  D Retail Sales
                                                  D Imports t o U.S.
                                                  D Manufactur ing
                                                  D Services/Technology
                                                  ~ Other (Specify)


                                                    Other ( Specify)




                                                 D escr ibe fully the services, pr oduction, or other activ ity of t he
                                                 business:




                                                                                                                          "

                                                    ◄ Back   Secunty                                                   Next Fo reign Pare nt Business ►




       8 1                  T h is sit e is manag e d by t he Bureau of Cons u la r Affa irs, U. S. D e p a rtment of Stat e . Externa l links t o ot her I nt ernet
                            s it es s h ould not be cons t ru e d as an e ndo rse m ent of the views contain e d the re in ,
                            Co pyright Inform a t io n @ Discla im e rs @ Pa p e rwork Red uctio n Act @
                     Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 43 of 84




E-Visa: Foreign Parent Business
Displayed for E1-TR, E2-TR, and E1/E2-EX acting as their respective TRs. Answers selected where
available to show all additional fields.
                                                                                                                                    Cont act Us     I Help I Ex it

'~
 ~
                    U.S. DEPARTMENT of"SJ;A~
                         CONSULAR ELECTRONIC APPLI C ATI ON CENTER
                                                                                                                            ~
..,               COMPLETE                                                                                      EW                                   SI

                                       Online Nonimmigrant Visa Application (DS-160)
                                                                                                                                Application ID AA00911JX9

ti Getting Started

,,I Personal
                                        E-Visa: Foreign Parent Business Information
,,I Travel

,,I Travel Companions                       Q: I s t her-e a for eign par ent business?

,,1 Previous U.S. Travel                    A: @Yes O No
,,I Address and Phone                      Provide the following information:

,,1 Passport                                  Name of For eign Par ent Business

,,I U.S. Contact


,,1 Family                                    Address of Foreign Parent Business:

,,1 Work / Education /                           St r eet A ddr ess ( Line 1)
      Trarnrng

,,I Secunty and
      Background                                 St r eet A ddr ess ( Line 2) *Optional

      E-V 1sa                    ►


      Bus iness Profile                          City

 • Foreign Parent
   Bus iness
                                                 St ate/ Pr ovince
      Finance and                                                                         D D oes Not A pply
      Trade

      Investment                                 Postal Z one/ ZI P Code
                                                                                          0 D oes Not Apply
      U.S. Personnel 1

                                                 Count ry/ Region
      U.S. Personnel 2
                                                 I· SELECT ONE .                                                 B
      Applicant Present
      Position
                                                 Teleph one Number

      Applicant
      Position in U.S.
                                                 Fax Nu m ber
      Application



-     Contact

      j!~1::ml£.!'-Hilll~::
      'JL,.:..1

AMP
Ciii@@hMM                                   Q: Are t h er e any For eign Ent it ies ( Corpor ation, Partners hip,
                                                 etc .) a ssociat ed wit h t he U.S. business?


                                            A:    @Yes O No
                                           List the Na mes o f the Foreign Entit ies :
Help: Narigation Bottoni
                                              Name of For eign Ent ity
Clic k on the buttons above
to access previOusty
entered data
                                              Count     / Re ion of Ori in Nat ionali
                                               -SELECT ONE ·


                                              Per cent of Owners hip
                                              c==] ¾


                                             Q: Are t h er e any For eign I ndiv idual Owner s of t he U.S.
                                                 business?


                                             A: @Yes O No
                                            List the Na mes of the Foreign Indiv idual Owners:

                                              Surnames of For eign I ndiv idual Owne r




                                              Giv en Na mes of For eign Indiv idual Owner




                                              Imm igr at ion Status




                                              Country/ Region of Residence
                                              I· SELECT ONE .                                                        B


                                              Per cent of Owners hip
                                              c==] ¾
                                                                                  + A dd A nother           -    Rem ov e




                                               ◄ Back Busrness Profile                      ■~c;;;w                            llext Finance and Trade ►




      9 1
                     T h is s it e ts m a n aged by t h e Bu re au o f Con sula r Affa irs, U . S. D e p artm e nt of St ate. Exte rna l links t o oth e r I n t e rnet
                     s it es s h oul d n ot b e c o n strue d as a n e n dorse m e nt of the v iev.s c o nt a in ed t h e rein .
                     C opyrig ht I n formati o n @ D i,sc!a im e rsc§l Pa p e rwork R e ducti o n Actc§l
                            Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 44 of 84




E-Visa: Finance and Trade
Displayed for E1-TR and E1-EX acting as their E1-TR.
                                                                                                                                       Contact Us       I Help I Exit

  ,@U.S.DEI'ART~
   "
                                                               NTo/~J;A
                              CONSULAR ELECTRONIC APPLICATION CENTER
                                                                      ~                                                         ~
,,..               COMPLETE                                      f,                                         DF   EW,

                                             Online Nonimmigrant Visa Application (DS- 160)
                                                                                                                                    Application ID AA00911JX9

GM:M·iiM@                                    E-Visa: Finance and Trade Information
II Personal

II Travel
                                                 NOTE : All amounts must be e nter ed in U.S. dolla rs (USD).

1¥1- l::Hi:li I:
II Previous U S Travel


PMll&i:Hi:11:1-                                  Financial Statement for Most Recent Year
II Passoort
                                                                                           Select the y ear type you ar e




--
II U S Contact                                                                             account ing for:

II Family
                                                                                            0 Fiscal O Calendar

                 .                                 Tot al Assets Ty pe                   Total A ssets of U.S.
                                                                                         Business
                                                     0 Current Cash
       E-V1sa                            ►
                                                     0 Historica l Cost

       Business Profile

       Foreign Parent                            Total Liabilit ies
       Business

  • finance and
                                                 Owner 's Eciuity (pa id-in capit 2I plus r etained earnings;
    T rade                                       partner 's capit al accounts in c partner ship; and owner 's capit al
                                                 account in a sole pr oprietorship.)
       Investment

       U.S. Personnel 1
                                                 Total Annual Oper ating I ncorre Before Tax es
       U.S. Personnel 2

       Applicant Present
       Position                                  Total Annual Oper at ing I ncorre A fter Taxes

       Applicant
       Position in U.S.

       Application                                Gross International Trade of the U .S. Enterprise for Most
       Contact                                    Recent Year
                                                                                                       D Does Not A pply
                                                                                         Select t he y ear type y ou                   Hdp: loternational Trade
                                                    For Year :
       !:1:::,1 'Ji...;J
                                                   D                                     a re accounting for :
                                                                                           0 Fiscal O calenda r
                                                                                                                                       This data is being
       (:::W:,!JliJIJ'il!Jf,~ 'li.t:.I                                                                                                 collected to measure the
                                                                                                                                       amount of international
                                                                                                                                       trade with the United
                                                    I mports from Tr eaty Country t o U.S. Business                                    States. for trade in
                                                                                                                                       merchandise, exports
                                                       U.S. Dolla r V al ue      Num:ier of                Percent age                 and imports, refer to
Help: N H igation Buttons                                                        Tr an~actions             of Tot al                   shipment and sale of
                                                                                                                                       goods across
                                                                                                           [2Qj%                       international
Clici( on the buttons above
                                                                                                                                       boundaries. for trade in
to access previously
                                                                                                                                       services and
entered data
                                                                                                                                       technology, exports and
                                                                                                                                       imports, refer to the
                                                    Ex ports from U.S. Business to T reaty Count ry                                    sale of services by
                                                                                                                                       treaty- country nationals
                                                       U.S. Dolla r V al ue      Num:ier of                Percentage                  to nationals of the
                                                                                 Tr an;.actions            of Total                    United States and other
                                                         ~ - - -~
                                                                                                           [QQ]-10                     countries.




                                                    Imports from Thi rd Count r ies to U.S Business

                                                       U.S. Dolla r V al ue      Num:ier of                Percentage
                                                                                 Tr an:;actions            of Tot al
                                                         ~ - - -~
                                                                                                           [2Qj%


                                                    Exports from U.S. Business to Thir d Countries

                                                       U.S. Dolla r V al ue      Num:ier of                Percent age
                                                                                 Tr an~actions             of Total
                                                                                                           [2Qj%


                                                    Dom estic U.S . Production/Manufactur ing

                                                       U.S. Dolla r V al ue      Num:ier of                Per cent age
                                                                                 Tr an~actions             of Total
                                                         ~ - - -~
                                                                                                           [QQ]-10


                                                   Total

                                                      U.S. Dollar V alue              $~

                                                      Number of Tr ansactions           ~


                                                      Total Percent age                 ~%


                                                                              Calculate Total s




                                                    ◄ Back Foreig n Pare nt Business            &A(fiiM                                    r1ext Investment ►




       8 1
                           Thi s s ite i s m a n aged b y the Bu re a u o f C o nsu l a r Affairs, U . S. Depa rtme nt o f St a t e . Exte rna l links t o othe r Internet
                           s it es s h oul d n ot b e c onst ru ed as a n e n d orsem e nt o f the v i e ws c o nta in ed the re in .
                           Copyri g ht Informat ion c§J D i scla i m e rs@ Pa p er,,c,rk R eduction Act@
                      Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 45 of 84




E-Visa: Investment
Displayed for E2-TR and E2-EX acting as their E2-TR. ‘Other’ selected where available to show all
additional fields.
  /   -                                                                                                                 Conta ct Us     I Help I Ex,t

 ® U. S.                     DEI'AKT M EN T of.$,IA
                                                  ~
                     CONSUL AR E L E C TRONI C APPLICA TION CENTER
                                                                                                                  ~
           S·IVi!ii
                                   Online Nonimmigrant Visa Application (DS-160)
                                                                                                                     Appbcat1onID AA00911JX9

., Getting Started

" Personal
                                   E-Visa: Investment Information

                                       NOTE: All amounts must be ent e red in U.S . d o llars {USO) .
" Tr avel Companions

" Prev,ous U S Tr avel

., Addres s and Phone                  Type of Investment

•··];                                                                                     0 Does Not Apply




-
., Us Conta.cl
                                          @ Creation of new business
                                          0 Pu rchase of an ex isting business
                                          0 cont inu ation of a n ex ist ing business
                                         Total s ta rt-up oosts ( in USD)

                                         •I                       I
lib                           I
                                       Total Investment from Abroad made in the Ulllted States
  f oreign Par ent
                                       For Most Recent Year
  Bus iness
                                                                                          0 Does Not A pply
  ,,.,.
  f inance and
                                                                             Select t he y ear type you
                                                                             are accounting for:
 • Inve s tment
                                                                              0 f iscal O Calendar

                                         Cash (in USO)

                                             Init ial I nvestm ent:    Tota l cumulativ e investm ent :
  Appbcant Present


  Appbcant
  Position in U.S.

  Appbcat10n                             Jnv1mt ory ( in USO)
  Contact                                    Init ial I nvestment :    Tota l cumulative inv estment :




                                         Equipment ( in USD)

                                             Init ial I nvestment:     Tot<'II cumulativ e inv est m ent :



Help; Narigatio11 Buttou

Click on the buttooilabo~e
lo access previously
                                         Pr emises (i n USO)
entered data
                                             Init ial I nvestm ent:    Tota l cumulativ e investm ent :




                                         other ( in USD)

                                             Init ial I nvestment:     Tot<'II cumulativ e investment :




                                         Total ( in US O)


                                             Init ial I nvestment:          , []
                                             Total cu m ulative             , []
                                             inv estme nt :




                                       Source of Investment Capital / Evidence of Possession and
                                       Control of Funds in the United States (provide fun
                                       documentation)
                                                                                          0 Does Not Apply
                                         Source of Investment: 0
                                         loTHER                                                         B
                                         Ex pl<'li n




                                                                                                        :I
                                         Funds from: 0
                                         loTHER                                                         B
                                         Expl<'li n




                                         I                                                              :I
                                         How Much:




                                         Documentation:
                                          D Wire tra nsfer st at em ents
                                          D Sank stat ements
                                          D Promissory note
                                          ~other

                                         Expl<'lin




                                                                                                        :I
                                       11•§§ I            -# :·lift.                                                  1¥9149§§4 1:1:14111
                  T h is sit■ is m a nag ■d by th■ B-u r■au o f Cons u la r Affa irs, U.S. O■pa rtm ■nt of Stat■ • Ext■rn a l links t o oth• r ln t•rn ■t
                  s it • s s h o u ld n o t b■ constru • d •San •nd ors■m•nt o f th■ vi■- conta in•d th■r■i n.
                  Cooxlight Jnformet;qn(9 ~ @ Pt09""'2' k R9ductio n Act @
                      Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 46 of 84




E-Visa: U.S. Personnel 1
Displayed for E1-TR, E2-TR, and E1/E2-EX acting as their respective TRs.
     -                                                                                                                   Contact Us      I Help I Exit

 ~ U.S. DEI'ARTMENT of.$:,D\.~
                      CONSULA R ELECTRONIC APPLIC ATION CENTER
                                                                                                                  ~
            i·MHI
                                   Online Nonimmigrant VisaAppltcatioo (DS- 160)
                                                                                                                      Application ID A.: \00911.JX.9

.., Getting Started

.., Personal
                                   E-Visa: U.S. Personnel Information I

                                       Select the year type you are accounting for:
iiit¥H::H:I :M                          O f.(~J O ealendar

G ·i+s&E
.., Address and Phone                    Nat ionals of t r eaty country on E, H, and L v isas

'<I Passport
                                         ManageriaVExecutive
'<I US Contact
                                            This Year
'<IFam1ty
                                           c=i

                                         Specialized/Essential

                                            This Ye ar
                                           c=i
  Business Profile

  Foreion Par ent                        All other Employees
  Business

  Finarw;:e and
  T,_

 • U.S. Personnel 1
                                         U.S. Cit izens and Legal Permanent Resident (LPR)
                                         Employees

  Applicant Present
                                         ManageriaVExecutive
  Position

  Applicant
  Position in U.S.

  ApplicatKln
  Contact
                                         Specialized/Essential

                                            This Year
                                           c=i

                                         AJI other Employees




Htlp: N'al"igation Buuou

Cick on the buttons above
to a ccess?fe v10us.ly
e ntered data
                                         Othe r (Third Country Nat ional) Employees


                                         ManageriaVExecutive




                                         Specia lized/Essential

                                            This Year
                                           c=i

                                         All other Employees




                                         Tota l Employ ees


                                         ManageriaVExecutive

                                            ~ is Year                          Next Year
                                                                               ~


                                         Specialized/Essential

                                            ~ is Ye ar




                                         All other Employees




                                         Totvl Employc c .J


                                         ManageriaVExecutive

                                            ~ is Year                          ffjxt Year




                                         Specialized/Essential

                                            ~ is Ye ar                         ~ xtYear




                                         AJI other Employees

                                            ~ is Year




                                                                                    w2 ; .;;;w                         i14,11ii@ti '1'11461
                  T h is s i t■ is mana g ■ d by th ■ Bur■ au of Cons u la r Affa irs, U. S. D■ pa rtm■nt of Stat■• Ext■ rn al lin ks to oth ■r I nt■rn■ t
                  sit■s should not b • constN■d a s a n ■ndors■ m ■nt of th■ vi■- conta in a d th ■ ra i n.
                  Copyright ! nform1t i9n 61 ~                 61   PtP'l!'!'9' k R1dud i9n Act61
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 47 of 84




E-Visa: U.S. Personnel 2
Displayed for E1-TR, E2-TR, and E1/E2-EX acting as their respective TRs.



      •                   11111111
                          I    11 ••            " I       .• •
                                                                     I
                                                                          .   I
                                                                                  •
                                                                                         •
                                                                                                                              English •    •            ••. :     • v


,..             COMPLETE                                   ..1'.,11,Q.T                  I              ™EV~                      I__                   IG

                                       Online N onimmigrant Visa Application (DS -160)
                                                                                                                                 Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                       E-Visa: U.S. Personnel Information 2
 1,1 Travel
                                           Lis t all per sonnel of U.S . business who hold ex ecutiv e,
 1,1 Travel Companions                     m anager ial, and/ or specialis t positions b y subs idiary/ branch
                                           office . If aliens, indicate Nonimmigr ant visa status or Lawful
 1,1 Previous U.S. Travel                  Permanent Resident (LPR) status.

 1,1 Address and Phone

                                              Name, Position/Title, and Division
 1,1 Passport

                                                Surnam es
 1,1 U.S. Contact


 1,1 Family

                                                Giv en Nam es
 1,1 Work I Education /
      Trammg

 1,1 Secunty and
                                                Position
      Background

      E-V,sa                     ►

      Business Profile                          Division

      Foreign Parent
      Business

      Finance and
      Trade

      Investment
                                              U.S . Status of Personnel @
      U.S. Personnel 1                        I-SELECT ONE -                                                       B
  • U.S. Personnel 2

                                                                                      + A dd Another       -   Remov e
      Applicant Present
      Position

      Applicant
      Position in U.S.                        ◄ Back: U. S. Personnel 1                                              Next: Applicant Pres ent Pos1t 1on ►

      Application
      Contact




 Help: Narigation Buttons

 Click on the buttons above
 to access previously
 entered data.




      GI
                    This sit e is m a n a g e d b y the Bureau o f Con sula r A ffa irs, U .S . Dep a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                    sit es sh ould n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                    Copyrig ht I nform a t ion@ Disclaim ers@ Paperwork Reductio n Act@
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 48 of 84




E-Visa: U.S. Personnel 2 (Nonimmigrant)
US Status of Personnel as ‘Nonimmigrant Visa Holder.’


                                I                                    ,                                                             English                                  V




 ,..             COMPLETE                                      fJjQJ                                        ~                                                 IG

                                         Online Nonimmigrant Visa Application (DS-160)
                                                                                                                                      Application ID AA00911JX9

 ~ Getting Started


 ~     Personal
                                         E-Visa: U.S. Personnel Information 2
 ~ Travel
                                             Lis t all per sonnel of U.S . business who hold ex ecutiv e,
 ~ Travel Companions                         m anager ial, and/ or specialis t pos itions by subs idiary/ branch
                                             office . If aliens, indicate Nonimmigr ant vis a status or Lawful
 ~     Previous U.S. Travel                  Pe rmanent Resident ( LPR) status.

 ~ Address and Phone

                                                Name, Position/Title, and Division
 ~     Passport
                                                   Surnam es
 ~ U.S. Contact


 ~ Family

                                                   Giv en Nam es
 ~ Work I Education /
       Trammg

 ~     Secunty and
                                                   Pos ition
       Background

       E-Vrsa                     ►

       Business Profile                            Divis ion


       Foreign Parent
       Business

       Finance and
       Trade

       Investment
                                                U.S . Status of Personnel @
       U.S. Personnel 1                         INONIMMIGRANT VISA HOLDER                                               B
  • U.S. Personnel 2
                                                U.S . V isa
       Applicant Present
       Position                                    Type of V is a I ssued ~
                                                  I-PLEASE SELECT -                                                   B
       Applicant
       Position in U.S.
                                                   Date V is a was I ssued 8
       Application
       Contact
                                                  IBIBD
                                                  (Format: DD-MMM-YYYY)


                                                   Place V is a was I ssued
                                                  I-SELECT ONE -                                                      B

                                                                                    + A dd A nother             -   Rem ov e




 Help: Narigation Buttons
                                                 ◄ Back: U.S. Personnel 1                                                 Next: Applicant Pres ent Pos1t 1on ►
 Click on the buttons above
 to access previously
 entered data.




       GI
                     T h is s i t e is m a n age d b y the Bureau o f C o n sula r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                     s i t es s h o u ld n o t b e co n s t rue d a s a n e n d o rse m e nt o f the vie ws co nta in e d the re in .
                     Copyrig ht I n formatio n @ Disclaim ers@ Paperwork R eductio n Act@
                  Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 49 of 84




E-Visa: U.S. Personnel 2 (LPR)
US Status of Personnel as ‘Lawful Permanent Resident (LPR).’


                                I                                   ,                                                            English                                V



 ,..            COMPLETE                                                                                  ~                                               IG

                                         Online N onimmigrant Visa Application (DS -160)
                                                                                                                                   Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                         E-Visa: U.S. Personnel Information 2
 1,1 Travel
                                            List all per sonnel of U.S. business who hold executive,
 1,1 Travel Companions                      m anagerial, and/ or specialist positions by subsidiary/ bra nch
                                            office . If aliens, indicate Nonimmigr ant visa s tatus or La wful
 1,1 Previous U.S Travel                    Permanent Resident (LPR) s tatus.

 1,1 Address and Phone
                                               Name, Position/Title, and Division
 1,1 Passport

                                                  Surnam es
 1,1 U.S. Contact


 1,1 Family

                                                  Giv en Nam es
 1,1 Work I Education /
       Trammg

 1,1 Secunty and
                                                  Position
       Background

       E-V,sa                     ►

                                                  Div is ion
       Business Profile

       Foreign Parent
       Business

       Finance and                             Count      / Re ion of Or i in Nationali
       Trade                                    - SELECT ONE -

       Investment
                                               U.S. Status of Per sonnel @
       U.S. Personnel 1                        i LAWFUL PERMANENT RESIDENT (LPR)                                      B
  • U.S. Personnel 2
                                               Provide the following information:
       Applicant Present
                                                  A Number
       Position
                                                  ~ - - - - - - - - - - - ~ 0 Do Not Know
       Applicant                                  (e.g., AXXXXXXXX or AXXXXXXXX)
       Position in U.S.

       Application
       Contact
                                                                                   + A dd Another             -   Rem ov e




                                                ◄ Back: U. S. Personnel 1                                              Next: Applicant Pres ent Pos1t 1on ►




 Help: Narigation Buttons

 Click on the buttons above
 to access previously
 entered data.




       GI
                     This sit e is m .a n a g e d b y the Bureau o f Con sula r A ffa irs, U .S . De p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                     sit es sh o u ld n o t b e con s t rue d a s a n e n d o rse m e nt o f the vie ws conta in e d the re in .
                     Copyrig ht I nform a t ion@ Disclaim ers@ Paperwork Reductio n Act@
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 50 of 84




E-Visa: U.S. Personnel 2 (Other)
US Status of Personnel as ‘Other/I Don’t Know.’


       •                                                            I           _ '                                             English •     •            ••. :       • v

                           I     'f ·•            " I      •• •         .   I            •



 ,..             COMPLETE                                    .em!.,l                     I               ~EV~                        I                    IG

                                         Online Nonimmigrant Visa Application (DS -160)
                                                                                                                                   Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                         E-Visa: U.S. Personnel Information 2
 1,1 Travel
                                            List all per sonnel of U.S. business who hold executive,
 1,1 Travel Companions                      m anagerial, and/ or specialist positions by subsidiary/ br anch
                                            office . If aliens, indicate Nonimmigr ant visa status or Lawful
 1,1 Previous U.S. Travel                   Per m anent Resident (LPR) status.

 1,1 Address and Phone

                                               Name, Position/Title, and Division
 1,1 Passport

                                                  Surnam es
 1,1 U.S. Contact


 1,1 Family

                                                  Given Nam es
 1,1 Work I Education /
       Trammg

 1,1 Security and
                                                  Position
       Background

       E-V,sa                     ►

                                                  Division
       Business Profile

       Fore ign Pare nt
       Business

       Finance and
       Trade                                                                                                           V


       Investment
                                               U.S . Status of Personnel liJl
       U.S. Personnel 1                        I• - I.                      •                                         B
  • U.S. Personnel 2
                                               Explain
       Applicant Present
       Position

       Applicant
       Position in U.S.

       Application
       Contact

                                                                                      + Add Another          -   Remove




                                                ◄ Back: U. S. Personnel 1
                                                                                             IIIB!!IIIIII Next: Applicant Present Posit ion                        ►




  Help: Narigation Buttons

 Click on the buttons above
 to access previously
 entered data.




       GI
                     This s it e is m a n a g e d b y the Bu reau o f Con sula r A ffa irs, U .S . Dep a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                     s it es sh o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                     Copyrig ht Information@ Disclaimers@ Paperwork R eductio n Act@
                        Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 51 of 84




E-Visa: Applicant Present Position
Displayed for all principal E-Visa applicants. Questions answered to display all additional fields.
                                                                                                                                      Cont act Us      I Help I Exit

 '~
 ~
                        U.S.DEPART~Tof-.S.IA~
                              CONSULAR ELECTRONIC APPLICATION C ENTER
                                                                                                                               ~
..,.              COMPLETE                                                                                                                              IG

                                            Online N onimmigrant Visa Application (DS- 160)
                                                                                                                                  Application ID AA00911JX9

'rl Getting Started

'rl Personal
                                            E-Visa: Applicant Present Position Information
'rl Travel
                                               NOTE : You hav e indicat ed t hat y ou ar e apply ing for an E- 1 or an E-2 V isa. Prov ide t he

NMH::1·11:H:f                                  following infor m ation concerning t he business or co mpany employ ing y ou.

'rl Previous U S Travel

'rl Address and Phone
                                               Ty pe of Applicant      fii
                                               lorHER                                                                   B
'rl US Contact
                                               Expla in Ot her
'rl Family

'rl Work I Education I
    Trammg

'rl Secunty and
    Background

       E-V1sa                        ►


       Bu siness Profile

       Foreign Parent
       Bu siness

       Finance and
       Trade

       Investment                              Name and Address of Employer
                                               Emplo y er Nam e
       U. S. Personnel 1

       U. S. Personnel 2
                                               Years wit h Pr esent Employ er

                                               □
  • Applicant Present
    Position

       Applicant                               Employer A ddress
       Position in U.S.
                                                  St r eet A ddr ess ( Line 1)
       Application
       Contact

       '.;!!.J!l~JJ!/£.!!;JlilHLJ~                St r e et A ddr ess ( Line 2) * Optional
       '11~iJ


                                                  City




                                                  St at e/ Pr ovince
                                                                                              D Does Not A pply
 Help: Narigation Buttons
                                                  Postal Zone/ ZI P Code
 C~ck on the buttons above                                                                    D Does Not A pply
 to access previously
 entered data.
                                                  Count ry/Re9ion
                                                  I- SELECT ONE -                                                    B

                                               Highest Lev el of Educat ion

                                                  Sch ool



                                                  Degr ee




                                                  Maj or




                                                  Yea r
                                                  C=:J


                                                Q: D o you hav e any ot her r elev ant educat ion t o r eport?

                                                A: @)yes 0 No


                                               Expla in




                                                  ◄ Back: U S Personnel 2                                                Next Applicant Posit ion in U S ►




   9 1
                         T h is s ite i s m a n age d by the Bu re au of C ons u l a r A ffairs, U . S. Departm e nt of St a te. Exte rna l links t o oth e r Int e rnet
                         s ites s h o u l d n ot b e con 5 t rued as a n endo rs e ment o f t he v i ev,s conta in e d t h e re in .
                         C opyri g ht I n form at ion@ D i sclaim e rs@ Pape rwork R e d ucti on Act@
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 52 of 84




E-Visa: Applicant Position in U.S.
Displayed for all principal E-Visa applicants, replacing worker as “Yes.”


                                                                                                                             English



 •              COMPLETE                                   ,PJ:!ll.JQ.               I                  .8§0EW _ _ _             I___
                                       Online Nonimmigrant Visa Application (DS -160)
                                                                                                                               Application ID AA00911JX9

 ~ Getting Started


 ~    Personal
                                       E-Visa: Applicant Position in U.S. Information
 ~ Travel

                                           Describe your position in the United States, including title,
 ~ Travel Companions
                                           duties, and immediate subordinates.
 ~ Previous U.S. Travel
                                             Title
 ~ Address and Phone


 ~    Passport
                                             Duties
 ~ U.S. Contact


 ~ Family


 ~ Work/ Education /
      Training

 ~    Secunty and
      Background

      E-V,sa                    ►           Q: Will y ou have any immediate subor dinates in your position
                                                 in th e U .S .?
      Business Profile

      Foreign Parent
                                            A:    @ Yes 0 No
      Business                             Immediate Subordinates

      Finance and                            Surnames
      Trade

      Investment
                                             Given Names
      U.S. Personnel 1

      U.S. Personnel 2
                                                                                 + Add Another              -   Rem ove
      Applicant Pres ent
      Posit ion
                                          Annual U.S. Salary and Benefits Package                                                  Help: U.S. Stlary and
     • Applicant
      Posit ion in U.S.                                                                                                            Benefits
                                                                         Allowances /
                                              Salary                                            Total
                                                                         Benefits                                                  All amounts must be
      Application
      Contact                                                                                                                      entered in L .S. dollars
                                                                                                                                   (USD),



                                                                            Calculate Total




                                            Q: Are y ou r eplacing a worker alr eady in the United States?


                                            A:    @ Yes 0 No
 Help: Narigation Buttons
                                           Provide the following information :
 Click on the buttons above
 to access previously
 entered data.                               Surr ames



                                             Given Names




                                             Type of Visa Issued @
                                             I-PLEASE SELECT -                                                    B
                                             Date. Visa was Issued (ii
                                             rBrBD
                                             (Format: DD-MMM-YYYY)


                                             Country/ Region Visa was Issued
                                             I-SELECT ONE -                                                       B


                                              ◄ Back: Applicant Pres ent Posit ion                                           Next: Apphcat1on Contact ►




      G I
                    Th is sit e is m a n aged b y the Bureau o f Con sula r A ffa irs, U .S . Dep a rtme nt o f St a t e . Exte rn a l lin ks t c, oth e r Inte rn e t
                    s it es sh ould n ot b e con stru e d as a n e n d orsem e nt o f t h e vie ws conta in e d t h e re in .
                    Copyrig ht I n formatio n @ Disclaim ers@ Pape rwork Reductio n Act@
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 53 of 84




E-Visa: Applicant Position in U.S.
Replacing worker as “No.”


                               I                                   ,                                                            English                                 V




,..             COMPLETE                                    £mll                                                                                          IG

                                        Online N onimmigrant Visa Application (DS -160)
                                                                                                                                   Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                        E-Visa: Applicant Position in U.S. Information
 1,1 Travel

                                            Describe your position in the United States, including title,
 1,1 Travel Companions
                                            duties, and immediate subordinates.
 1,1 Previous U.S. Travel
                                              Title
 1,1 Address and Phone


 1,1 Passport
                                              Duties
 1,1 U.S. Contact


 .,, Family

 1,1 Work I Education /
      Trammg

 1,1 Secunty and
      Background

      E-Vrsa                     ►           Q: Will y ou have any immediate subo r dinates in y our position
                                                  in the U.S.?
      Business Profile

      Foreign Parent
                                             A: @)yes 0 No
      Business                              Immediate Subordinates

      Finance and                             Surnam es
      Trade

      Investment
                                              Given Nam es
      U.S. Personnel 1

      U.S. Personnel 2
                                                                                    + A dd A nother            -   Remove
      Applicant Pres ent
      Posit ion
                                           Annual U.S. Salary and Benefits Package                                                     Help: U.S. Salary an,d
  • Applicant
    Posit ion in U.S.                                                                                                                  Benefits
                                                                        Allowances /
                                               Salary                                              Total
                                                                        Benefits                                                      All amounts must De
      Application
      Contact                                                                                                                         entered in U.S. dollars
                                               $ ._
                                                 I _ __,                 $ ._
                                                                           I _ __,                                                    (USD),



                                                                             Calculate Total




                                             Q: Ar e you r eplacing a worker alr eady in the United States?


                                             A: 0 Yes @ No
 Help: Narigation Butto11s
                                            Provide the following information:
 Click on the buttons above
 to access previously
 entered data.                                 Q: Is this an incr ease in staff?
                                               A: 0 Yes 0 No

                                               Q: Is ~his a continuance of an exis t ing employm ent in the
                                                      United States?

                                               A: 0 Yes 0 No




                                               ◄ Back: Applicant Pres ent Posit ion                                             Next: Application Contact ►




                    T h is sit e is m a n a g e d b y the Bureau o f Con sula r A ffa irs, U .S . De p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t

      G I           sit es sh o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                    Copyrig ht I nform a t ion lfiJ Disclaim ers lfiJ Paperwork Reductio n Act@
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 54 of 84




E-Visa: Application Contact
Displayed for all principal E-Visa applicants.



      •                    11111111
                           I11 ••                 " I       .• •
                                                                    I
                                                                        .   I
                                                                                - •
                                                                                        •
                                                                                                                                 English •    •            .. · :    • v


,..             COMPLETE                                     £m!.,T                     I                       EW______             I__                  IG

                                         Online N onimmigrant Visa Application (DS -160)
                                                                                                                                   Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                         E-Visa: Application Contact Information
 1,1 Travel
                                            Respons ible officer within the business enterprise :
 1,1 Travel Companions
                                               Surnam es
 1,1 Previous U.S. Travel


 1,1 Address and Phone
                                               Giv en Nam es
 >I Passport

 1,1 U.S. Contact
                                               Position
 1,1 Family


 1,1 Work I Education /
      Trammg

 1,1 Secunty and
                                            Nam e and addr ess of per son who m ay be contacted a bout this
      Background
                                            application :

      E-V,sa                      ►            Surnam es

      Business Profile

      Foreign Parent                           Giv en Nam es
      Business

      Finance and
      Trade                                    A ddress and Phone Number of Contact

      Investment                                  Str eet A ddr ess (Line 1)

      U.S. Personnel 1

      U.S. Personnel 2                            Str eet A ddr ess (Line 2) * Optiona l

      Applicant Pres ent
      Posit ion
                                                  City
      Applicant
      Posit ion in U. S.

  • Application                                   State/ Province
      Contact                                                                                0 Does Not Apply

                                                  Postal Zone/ Z IP Code
                                                                                             0 Does Not Apply

                                                  Country/ Region
                                                 I-SELECT ONE -                                                 B
                                                  Telephone Number


 Help: Narigation Buttons

 Click on the buttons above                       Fax Number
 to access previously                                                                        0 Does Not Apply
 entered data.

                                                  Em ail A ddr ess
                                                                               0 Does Not Apply
                                                  (e.g., emailaddress@example.com)




                                                ◄ Back: Applicant Posit ion m U. S.                                         Next: Student/Exchange Visa ►




      GI
                     T h is sit e is. m a n aged b y the Bureau o f Con su la r A ffa irs, U .S . Dep a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r I nte rn e t
                     sit es sh o u l d n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                     Copyrig ht I n formatio n @ Disclaim ers@ Paperwork Reductio n Act@
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 55 of 84




Additional Point of Contact
Displayed for all F, M, and J visa applicants.
                                                                                                                           Cont act Us    I Help I Ex it

 '~
 \;
                 U. S. DEPART~                           T o~S,J)\
                      CON SULAR ELEC TRONIC A PPLICATION C ENTER
                                                                ~                                                  ~
...,           COMPLETE                                                                                 EW                                  IG

                                     Online Nonimmigrant Visa Application (DS-160)
                                                                                                                       Application ID AA00911JX9

'1/ Getting Started

 '11 Personal
                                     Additional Point of Contact Information
 Ill Travel
                                        NOTE: You hav e indicated t hat y ou will be st udy ing in som e capacity while in t he United
'1/ Travel Companions                   States . List at least two contacts in y our count ry of r es idence who can v er ify t he information
                                        t hat y ou hav e prov ided on t his applicat ion. Do not list immediate fam ily m embers or ot her
 '11 Previous U S Travel                r elat iv es. Post al offi:::e box numbers ar e unacceptable.

 111 Address and Phone

 Ill Passport

 '11 U.S Contact                           Surnam es

 111 Family

 111 Work / Education I                    Giv en Nam es
     Tra1nmg

 '11 Secunty and
     Background                            Str eet A ddr ess ( L ne 1)

 "'E-V1sa

       Student/Exchange        ►           Street A ddr ess ( L ne 2) *Optional
       Visa

  ■ Additional
    Contact                                City

       SEVIS

                                           State/ Prov ince
                                           ~ - - - - - - - - ~ 0 Does Not A pply

                                           Postal Zone/ ZI P Code
                                           ~ - - - - - - - ~ D Does Not Apply

 Help: Nuigation Buttons                   Count ry/ Region
                                          I- SELECT ONE -                                                    B
 Click on the buttons above
 t o access previously
 entered d ata.                            T elephone Numbc.r
                                           ~ - - - - - - - - ~ D Does Not A pply
                                           Email A ddr ess
                                           ~ - - ~ ~ - - - - ~ ~ D Does Not A pply
                                           (e.g., emailaddress@example.com)


                                                                            + A dd A nother         -    Remove



                                           Surnames




                                           Giv en Nam es




                                           St reet A ddr ess ( L ne 1)




                                           Street A ddress ( L ne 2) *Optional




                                           City




                                           St at e/ Prov ince
                                           ~ - - - - - - - - ~ 0 Does Not A pply

                                           Postal Z one/ ZI P Code
                                           ~ - - - - - - - ~ U Does Not A pply

                                           Count ry/ Region
                                          I-SELECT ONE -                                                     B
                                           T elephone Number
                                           ~ - - - - - - - - ~ 0 Does Not Apply

                                           Email A ddress
                                           ~ - -~~- - - -~ ~                          D Does Not Apply
                                           (e.g., emai1addr ess@example.com)


                                                                            + Add A nother          -    Rem ove




                                           ◄ Back: E-V 1sa                           Mr-ibfii-                                       Ne xt: SEVIS ►




   9 1
                   Thi s s i te is m a n aged b y t h e Bu reau of Con s u l a r Affairs, U .S. Department of St at e. External lin ks to othe r I nt ernet
                   s i t es s h ould n ot be construed as a n e ndorse m e nt o f t h e v ieYis conta in e d t h e re in .
                   Copyri g h t I n form a t i o n @ D is cla ime rs@ Pa perwork Reducti o n A ct @
              Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 56 of 84




SEVIS Information (F/M Visas)
Displayed for all F and M visa applicants.


                                                                                                                                                             .. . .
       ~    ;z
                          • 'f ··                 .. ... . .         I        _ '
                                                                                         .                                        English                                 v


 ,..             COMPLETE                                    ..l'.,lil?l~      I                                       __             J_ _                ~                     -

                                         Online N onimmigrant Visa Application (DS -160)
                                                                                                                                     Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                         SEVIS Information
 1,1 Travel
                                            NOTE: You hav e indicated that the purpose of y our tr ip to the U.S . is to be a s tudent or
 1,1 Travel Companions                      ex change v is itor . Pr ov ide the f1ollo w in g information r egar ding the ins titutio n at which y ou
                                            intend to s tudy .
 1,1 Previous U.S. Travel


 1,1 Address and Phone


 1,1 Passport                                SEV I S ID

 1,1 U.S. Contact
                                             (e.g., N0123456789)
 1,1 Family
                                             Provide additional information below:
 1,1 Work I Education /
       Trammg                                  Nam e of School

 1,1 Secunty and
       Background
                                               Course of Study                                                                          Help: Course Study
 1,1 E-V1sa
                                                                                                                                        For high school course
       Student/Exchange           ►                                                                                                     of study please indicate
       Visa                                    Str eet A ddr ess ( Line 1)                                                              "Academic" or
                                                                                                                                        "Vocational ." For all
       Addit ional                                                                                                                      other educational levels
       Contact                                                                                                                          please indicate your
                                               Str eet A ddr ess ( Line 2) * Optiona l                                                  major or concentration.
  ■ SEV IS


                                               City




                                               State
                                               I-SELECT ONE -                                                          B
 Help: Narigation Buttons
                                               Postal Zone/ Z IP Code
 Click on the buttons above
 to access previously
                                               (e.g., 12345 or 12345- 1234)
 entered data.




                                                ◄ Back: Add1t 1onal Contact


                                                                                              ---                                            Next: Cr ew Visa ►




                     Th is s it e is m a n a g e d b y the Bureau o f Con su la r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l limks t o o the r Inte rn e t
                     sit es s h o u ld n o t b e con s t rue d as a n e n d orsem e nt of the vie ws conta in e d the re in .
                     Copy rig ht Information lfiJ Disclaimers lfiJ Paperwork R eductio n A ct@
              Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 57 of 84




SEVIS Information (J Visas)
Displayed for all J visa applicants.




                                        Online N onimmigrant Visa Application (DS -160)
                                                                                                                                   Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                        SEVIS Information
 1,1 Travel
                                           NOTE: You hav e indicated that the purpose of y our tr ip to the U.S . is to be a s tudent or
 1,1 Travel Companions                     ex change v is itor . Prov ide the f ollowing information r egar ding the ins titutio n at which y ou
                                           intend to s tudy.
 1,1 Previous U.S. Travel


 1,1 Address and Phone


 1,1 Passport                               SEV I S ID

 1,1 U.S. Contact
                                            (e.g., N0123456789)
 1,1 Family
                                            Progra m Numbe r
 1,1 Work/ Education /
   Trammg                                   (e.g., G-7- 12345)
 1,1 Secunty and
   Background
                                             Q: D o y ou in ten d to s tudy in t he U .S .?
 1,1 E-V1sa
                                             A:    @ Yes 0 No
   Student/Exchange              ►
   Visa

    Addit ional                             Provide additional information below:
    Contact
                                              Nam e of School
  ■ SEV IS

                                              Course of Study                                                                          Help: Course Study

                                                                                                                                      For high school course
                                                                                                                                      of study please indicate
                                              Str eet A ddr ess ( Line 1)                                                             "'Academic" or
                                                                                                                                      "'Vocational." For all
                                                                                                                                      other educational levels
                                                                                                                                      please indicate your
 Help: Narigation Buttons                                                                                                              major or concentration.
                                              Str eet A ddr ess ( Line 2) * Optiona l
 Click on the buttons above
 to access previously
 entered data.
                                              City




                                              State
                                              I-SELECT ONE -                                                         B
                                              Postal Zone/ Z IP Code

                                              (e.g., 12345 or 12345- 1234)




                                               ◄ Back: Add1t 1onal Contact
                                                                                             IB!!IIIIII                                     Next: Cr ew Visa ►




   GI
                    T h is :sit e is m a n aged b y the Bureau o f Con su la r A ffa irs, U .S . D e p a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r Inte rn e t
                    sit es s h o u ld n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                    Copyrig ht Information@ Disclaimers@ Paperwork R eductio n Act@
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 58 of 84




Crew Visa
Displayed for D-Visa applicants. All questions answered ‘Yes.’



                         .                                                             .
                                                                                                                                English


•             COMPLETE                                       ,PJill,TQ.                I                  ll90EW _ _ _               I___
                                       Online Nonimmigrant Visa Application (DS -160)
                                                                                                                                   Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                        Crew Visa Information
 1,1 Travel


 1,1 Travel Companions                     NOTE: Yo u ha ve indica ted tha t you a re a cre w me mbe r .

 1,1 Previous U.S. Travel


 1,1 Address and Phone
                                           Specific j ob title aboar d air cr aft or v essel
 1,1 Passport


 1,1 U.S. Contact
                                           Nam e of company that owns the air cr aft or v essel y ou will be
 1,1 Family                                working on

 1,1 Work/ Education /
    Training
                                           Compan y Telephone Number
 1,1 Secunty and
    Background

 1,1 E-V1sa


 1,1 Student/Exchange
                                            Q: Did y ou acquir e y our position using a
                                                 r ecr uiting/ m anning/ cr ewing agency?
    v,sa
    Crew Visa                    ►          A:     @)yes O No

                                           Provide the following information:

                                              A gency Nam e



 Help: Narigation Buttons                     Contact Surnam es

 Click on the buttons above
 to access previously
 entered data.                                Contact Giv en Nam es



                                              Str eet A ddr ess (Line I )



                                              Str eet A ddr ess (Line 2) * Optiona l



                                              City




                                              State/ Province
                                                                                            0 Does Not Apply

                                              Postal Zone/ Z IP Code
                                                                                     0 Does Not Apply

                                              Country/ Region
                                              I-SELECT ONE -                                                         B
                                              Telephone Number




                                            Q: Ar e y ou serving aboar d a seagoing ship or v essel?

                                            A:     @)yes O No
                                           Provide the following information:

                                              Seagoing ShipN essel Nam e



                                              Seagoing ShipN essel Identification Number




                                               ◄ Back: Student/Exchange Visa                                                 Next: Temporary Work Vi sa ►




                    T h is sit e is m a n a g e d b y the Bureau o f Con sula r A ffa irs, U .S . Dep a rtm e nt o f St a t e . Exte rn a l lin ks t o o the r I nte rn e t
                    sit es sh ould n o t b e con s t rue d as a n e n d orsem e nt o f the vie ws conta in e d the re in .
                    Copyrig h t I n formatio n @ Disclaim e rs@ Pape rwork R e ductio n A ct@
              Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 59 of 84




Temporary Work Visa
Displayed for the following Visa types: A3-EM, CW1-CW1, E1-EX, E1-TR, E2-EX, E2-TR, E2C-E2C,
E3-AUS, E3R-RT, G5-EM, H1B-H1B, H1B1-CHL, H1B1-SGP, H1C-NR, H2A-AG, H2B-NA,H3-TR,
I-FR, L1-L1, NATO7-EM, O1-EX, O2-AL, P1-P1, P2-P2, P3-P3, Q1-Q1, R1-R1, and TN-TN.




                                       Online N onimmigrant Visa Application (DS -160)
                                                                                                                                Application ID AA00911JX9

 1,1 Getting Started


 1,1 Personal
                                       Temporary Work Visa Information
 1,1 Travel


 1,1 Travel Companions                     NOTE: You hav e indicated that the purpose of y our tr ip to the U.S . is to w ork temporar ily .
                                           Provide the following informa tion conce rning your e mploye r .
 1,1 Previous U.S. Travel


 1,1 Address and Phone


 1,1 Passport                              Whe re Do You Inte nd to Work?

 1,1 U.S. Contact
                                              Nam e of Employ er

 ti Family

 1,1 Work/ Education /                        E-V isa Company Regis tr ation Number
   Trammg

 1,1 Secunty and
                                                                                              0 Does Not A pply
   Background
                                              U.S . Str eet A ddr ess ( Line 1)
 1,1 E-V1sa


 1,1 Student/Exchange
   Visa                                       U.S . Str eet A ddr ess ( Line 2) * Optiona l

 1,1 Crew Visa


   Temporary Work Visa ►                      City




                                              State

 Help: Narigation Buttons
                                             I-SELECT ONE -                             B
 Click on the buttons above                   ZIP Code ( if known)
 to access previously
 entered data.
                                              (e.g., 55555 or 55555-5555)


                                              Phone Number

                                              (e.g., 5555555555)




                                              ◄ Back: Cr ew Visa

                                                                                           ---                                               Next: PHOTO ►




   G I
                    Th is s it e is m a n a g e d b y the Bureau o f Consula r A ffa irs, U .S . D e p a rtm e nt o f State . Exte rn a l limks t o o the r Inte rn e t
                    sit es should n o t b e construed as a n e n d orsem e nt o f the vie ws contain e d the re in .
                    Copyrig ht Information@ Disclaimers@ Paperwork R eductio n Act@
              Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 60 of 84




Upload Photo
Displayed for all applicants.




                                 Online Nonimmigrant Visa Application (DS-1 60)                                 Application ID AA006WPHRO


  Upload Photo               ►
                                 Upload Photo
  Confirm Photo

                                    Starting November 1, 2016, eye glasses will no
                                    longer be allowed in new visa photos.
 Help: N:nigation Button.,
                                    Click on t he Upload Your Photo button below t o access our photo submission system . Once there you
 Click on the buttons
                                    ,,:ill be g iven inst ruct ions on how t o supply an approved photo for your Vis.a application. Aft er you have
 above to access
 pre'liousty entered data.          select ed t he photo to upload and t he system verifies t he photo is acceptable, you ,,:ill return to ...Confirm
                                    Photo" to continue t he application process.




                                                                         Upload Your Photo                  ~


                                      ◄ Ba.ck   COMPLETE                        M?fbii·                               Next Confirm Photo ►




                  ~~\seit:o~s~r~J:~:: ;~do~;~~n~~h~uir;!ff:iitaY~!d~~~~~~ent of State, External links toother Internet sites should
                  Copyright Jnformation 6' Oisdaimers61 Papen,•ork Reduction A, t 61                                                                    ('-1l
     Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 61 of 84




Upload Photo (continued)




       Upload Photo
       Prepare Photo for Submission
       Please re fe r to the De partm e nt of Sta te 's im age require m e nts.

       To assist in preparing your im age, you m ay click on t he ico n t o t he right
       to use a De partm e nt of Sta te photo cropping tool. You m a y use this tool
       to resize, rota te, a nd/ or crop a photo on your co m put e r to m eet the
       De partm e nt of Sta te 's head-size a nd digita l im age submission
       require m e nts.                                                                     Photo Cropping Tool



       Select Your Photo
       Click the "Browse" button a nd choose a JPEG form a t im a ge (i. e., ,jpg fi le type ) tha t is 240 Kb or
       less in file size.


       Photo Quality Standards
       Jn orde r to e nsure the highest quality photos will be use-cl' in the fi nal printed tra vel docum e nt, the
       De partm e nt of Sta te has create-cl' a guide for you to use whe n creating a nd uploading your photos
       (see photo qua lity st a nda rds guide1,(0)


                                      Photo :
                                      I Choose File I Ne ! i l e c hos e n




             ◄ Back · Cancel                                                  Ne d: Upl oad Selected Photo ►




                    This site is managed by the Bureau of Consular Affairs, U.S. Oepartment of State, External links
                    to other Internet sites should not be construed as an endorsement of the views contained
                    therein.
                    Copyright Jnformationcfil Oisdaimerscfil Papen..,ork Reduction A,tcfil
           Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 62 of 84




Upload Photo – Photo Quality Standards Result

    ', ~   U. S. DEPART~                      T o/--.S.IA
                                                        ~
I   "\       CON SULAR ELEC TRONI C A P PLICATION C E NTE R




             Photo Quality Standards Result
             I~       Photo passed quality s tandards




             Your photo has s ucce ssfully been uploade d and passed a ll qua lity checks . Your photo
             s ubmis.s ion has been a ccepte d.

             You can continue your a pplication a t the Visa we bsite .



                                           Selected Photo: The passport photo for
                                           CEAC.j pg




                  ◄ Back: Select a Different Photo                            Next: Continue Usmg This Photo ►




             8 1
                         This site is m a na ged by the Bureau o f Consular Affairs, U.S . Departm e nt of State. External
                         links to o ther Internet sites should not be construed as a n e ndorsem e nt o f t he viev,s
                         contained therein.
                         Copyright l nformation @ Disclaimers@ Paperv, ork Re-ductionAct@
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 63 of 84




Upload Photo (continued)



                                    Online Konimmigrant Visa Application (DS- 160)                                Application ID AA006WPHRO



                                    Confom Photo


                                       Photo Provided :



Help: Na,;g:itioo Burtoo.s

Click on the buttons above
to access previousty
P.ntP.rA'tAAta




                                       Please note tha t you may be required to bring a pas.s port-like photo t o your interview.



                                                                          Choose a Different Photo              ll

                                           ◄ Back: COMPLETE                                                                       Next: REVI EW ►




  G I
                  This site is m a na ge d bv t he Bureau o f Consular Affairs , U.S. Departm e nt of State. External links to ot her Int ernet site-s s hould
                  not be construed a s an efldorsement o f t he views contained therein.
                  Copyright Inform ation@ Disclaim e rs @ Paperwork Reduction Act@                                                                         Ull
                            Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 64 of 84




Application Review (Personal, Address, Phone and Passport)
Displayed for all applicants.
                                                                                                                                    Contact Us      I Help l Exit

 1~
  "..
                          U.S. DEPART~T o/-$.J;\~
                                 CONSULAR ELECTRONI C APPLICATION C ENTER
                                                                                                                             ~
                   COMPLETE                                      PHOTO                     ,..            REV IEW

                                              Online N onimmigrant Visa Application (DS- 160)
                                                                                                                                 Application JD AA00911JX9

   Personal/Address/                     ►
   Phone/Passport                             Personal, Address, Phone, and Passport Information

                                                 Note : You hav e completed dat a entry for y our NI V application. Befor e submitting t he
                                                 application, please r ev iew your entr ies below. To nav igat e to t he next section t o be
    filrnilJ                                     r ev iewed , click t he ' Next' button on t he bottom of the page. If an ent ry is incor r ect, click on
                                                 t he links on the r ight side of the page, which will dir ect y ou to t he page wher e y ou enter ed
                                                 t he data . Once y ou hav e r ev iewed all sections, y ou will be dir ected t o t he Sign and Submit
      'i'l'Jr,~.E!l!J~.i!.1'J1U
                                                 page to complete t he application process.
   ·r,:!lui.11~


                                                                                                                                                           Print   ~


                                               Photo Pr ovided :

      .;.,!!.ltl::nt/.::..'!:m.1.11u::
      •1/.,


      f:=m:,.'Jr:.JIJ 'fl'J1:~ 'li.JiJ



                                                                                                                            Edit Per sonal Information
                                                  Name Provided:                                          T EST, T EST

                                                  Full Name in Native Alphabet:                           D OES NOT A PPLY
 Help: Xarigation Buttons
                                                   other Names Used:                                      NO
 Click on the buttons above
 to access previously                             Telecode Name Used:                                     NO
 entered data
                                                  Sex:                                                    MALE

                                                  Marital Status:                                         SI NGLE

                                                  Date of Birth:                                          0 1 JA NUARY 1950

                                                  Country/Region of Birth:                                T EST, A FGHA NISTA N

                                                  Country/Region of Origin (Nationality):                 A FGHA NISTA N

                                                  Do you hold or have you held any
                                                  nationality other than the one indicated                NO
                                                  above on nationality?

                                                  Are you a permanent resident of a
                                                  country/region other than your
                                                                                                          NO
                                                  country/ region of origin (nationality)
                                                  above?

                                                  National Identification Number:                         D OES NOT APPLY

                                                  U.S. Social Security Number:                            DOES NOT APPLY

                                                  U.S. Taxpayer ID Number:                                DOES NOT A PPLY




                                                                                                               Edit Addres s and Phone Information
                                                  Home Address:                                           T EST

                                                   City:                                                  T EST

                                                   State/Province:                                        DOES NOT APPLY

                                                   Postal Zone/ZIP Code:                                  DOES NOT APPLY

                                                   Country/Region:                                        A FGHA NISTA N

                                                  Same Mailing Address?                                   YES

                                                  Primary Phone Number:

                                                  Secondary Phone Number:                                 D OES NOT A PPLY

                                                  Work Phone Number:                                      D OES NOT A PPLY

                                                  Have you used additional phone numbers in
                                                  the last five years?

                                                  Email Address:                                          a@b .com

                                                  Have you used additional email addresses
                                                  in the last five years?

                                                  Do you have a social media presence?

                                                    Social Media Provider/Platform (1):                   NONE

                                                    Social Media Identifier:

                                                  Have you used additional social media
                                                  platforms in the last five years?



                                                                                                   Edit Pa s s port/Tr a v e l Doc ume nt Informa tion
                                                  Passport/Travel Document Type:                          REGULAR

                                                  Passport/Travel Document Number:

                                                  Passport Book Number:                                   DOES NOT APPLY

                                                  Country/Authority that Issued
                                                  Passport/Travel Document:                               A FGHA NISTA N

                                                  City where issued:                                      T EST

                                                  Country/Region where issued:                            A FGHA NISTA N

                                                  Issuance Date:                                          0 1 JA NUARY 1995

                                                  Expiration Date:                                        DOES NOT APPLY

                                                  Have you ever lost a passport or had one
                                                                                                          NO
                                                  stolen?




                                                                                                                                              Next: Travel ►




  9 1
                            T h is s it e is managed by t he Bu re a u of Cons u la r Affa irs, U. S. Depa rtment o f Sta t e . External links t o othe r I nte rne t
                            s it es shou ld n ot be con stru e d as a n e ndo rse m ent of t he views con t a in e d t he re in .
                            Copyright I nforma t io n @ D isdaim ers@ Paperv.ork R eduction Act@
             Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 65 of 84




Application Review (Travel)




                                        Online Nonimmigrant Visa Application (DS-160)
                                                                                                                     Application ID AA000322WS

~ Personal/Address/
    Phone/Passport                      Travel Infon11ation
i.J Travel                          ►


~   U.S. Contact                                                                                                                                Print D

~   Family                                                                                                             Edit Travel Information

~ Work/Educat1on/                         ~ The List of Purposes of Trip to the U.S.
    Trammg
                                            Purpose of Trip to the U.S. (1):                     TREATY TRADER OR I NVESTOR ( E)
                                            Specify:                                             EXECUTIVE/ MGR/ESSENTIAL EMP ( El )

                                            Has the principal Treaty Trader or Investor          YES
                                            already been issued a visa?

                                            Tready Trader/Investor Name:                         TEST, TEST
                                            Tready Trader/Investor Date of Birth:                0 1 JAN UARY 1955

                                          Intended Date of Arrival:                              0 1 JAN UARY 2025

                                          Intended Length of Stay in U.S.:                       4 MONTH( S)
 Help : Nnigation Buttons                 Address where you will stay in the U.S.:               TEST
 r.fir.k on thP. huttnn~ ::ahnvP.                                                                TFST, Al ARAMA
 to access previously
 entered data.                            Person/Entity Paying for Your Trip:                    SELF



                                                                                                       Ed it Travel Companions Information

                                          Other Persons Traveling with You:                      NO



                                                                                                      Ed it Previous U.S. Travel Information

                                          Have you ever been in the U.S.?                        NO
                                          Have you ever been issued a U.S. visa?                 NO
                                          Have you ever been refused a U.S. Visa, or
                                          been refused admission to the United States,
                                                                                                 NO
                                          or withdrawn your application for admission
                                          at the port of entry?

                                          Has anyone ever filed an immigrant petition
                                          on your behalf with the United States                  NO
                                          Citizenship and Immioration Services?




                                            ◄ Back: Personal/Address
                                                                                     IIE1lBII                               Next: U.S. Contact ►




                     This sit e is managed by the Bureau of Consular Affairs, U.S. Department of St at e. Ext ernal links to other Int ernet sit es should
                     not be construed as an endorsement of the views contained therein.
                     Copyright Information 6J Disclaimers 6) Paperwork Red uction Act 6J
                Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 66 of 84




Application Review (US Contact)

----fiflj, ,                                                                                                                           Contact Us       I Help I Exit

 \~               U.S. DEPART MENT of...5.IA~                                                                        -         ~
  ~                  CONSULAR EL ECTRON I C APPLICATION C ENTER

              CO MPLETE                                    PHOTO                        ~               REVIEW

                                      Online Nonimmigrant Visa Application (DS- 160)                                         Application ID A A006WPHRO


                                      U.S. Contact Information
"' Personal/Addressl
   Phone/Passport
                                                                                                                                                                Print   ~
11,1 Travel


   U.S. Contact                ►
                                                                                                           Edit U.S. Point of Contact Information
   Family
                                          Contact Person Name in the U.S.:                              DD NDT KNDW
   WoriuEducation/
   Tra-ning                               Organization Name in the U.S.:                                T HE GEORGE WASHI NGT ON UNI V ERSI TY

                                          Relationship to You:                                          SCHOOL OFFI CI A L
   Security and
   Background                             U.S. Contact Address:                                         1234 GEORGE LANE SE
   Student/Exchange Visa                                                                                WASHI NGT ON , DI ST RI CT OF COLUMBI A
                                                                                                        20003
   Location
                                          Phone Number:                                                 111111111111

                                          Email Address:                                                DOES NOT A PPLY




 H elp: :ri"nigatioo Buttons
                                             ◄ Ba-ck:Travel                                                                                     Next: Family ►

 Click on the buttons above
 to access previously
 entered data.




                  This sit e is m a na ge d by t he Bureau o f Consula r Affa irs, U.S . De pa rtm e nt of S ta t e . Ext e rna l links to ot he r l nte rnet s it es shou ld
                  not be -const rue d a s a n e ndors e m e nt of t he vie1/tS ,conta ined t here in.
                  Copyright Inform ation @ Disclaim e rs @ Pape rw ork Re duction Act @                                                                                  cm
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 67 of 84




Application Review (Family)

-fifl:',                                      -                                                                                   Contact Us      I Help I Exit

 I~                U.S. DEPARTM EN T of-.S.,IA~                                                                  -        ~
 ~                    CONSULAR EL ECT RO N IC A PP LICATI ON C ENTER

             CO MPLETE                                    PHOTO                       ~              REVIEW

                                      Online Nonimmigrant Visa Application (DS- 160)                                     Application ID AA006\VPHRO


                                      Family Infonnation
iJ PeBonal/Address/
   Phone/Passport
                                                                                                                                                         Print   ~
iJ Travel

iii U.S. Contact
                                                                                                              Ed it Family Information: Relatives
  fam1ty                      ►
                                          Father's Surnames:                                         DO NOT K NOW
  Work/Education/
  Tra·ning                                Father's Given Names:                                      DO NOT K NOW

                                          Mother's Surnames:                                         DO NOT K NOW
  Security and
  Background                              Mother's Given Names:                                      DO NOT K NOW

  Student/Exchange Visa                   Do you have any immediate relatives, not                   NO
                                          including parents in the U.S.?
  Location
                                          Do you have any other relatives in the                     NO
                                          United States?




                                                                                                                E d it Fa mily Information: Spouse
 Help: ~nigation Buttons
                                          Spouse's Full Name:                                        TA RGA RY EN, DEA NERYS

 Click on the buttons above               Spouse's Date of Birth:                                    0 1 JA NUA RY 1980
 to access previously
 entered data                             Spouse's Country/Region of Origin
                                                                                                     A FGHA NI STA N
                                          (Nationality):

                                          Spouse's City of Birth:                                    DO NOT K NOW

                                          Spouse's Country/Region of Birth:                          A FGHA NI STA N

                                          Spouse's Address:                                          SAME AS HOME A DDRESS




                                             ◄ Back: U.S. Contact                                                    Next: Work/Educat1on1Trammg ►




  8 1
                   This site is m a nag e d by the Bureau o f Consula r Affa irs, U.S. De partme nt of Sta te . Ext e rna l links to ot he r Int e rnet sites s hould
                   not be construed as a n e ndorse m e nt o f t he vie v,s conta ined the re in.
                   Copyright Jnform ation @ Disclaim e rs @ Paperw ork Reduction Act@                                                                             c~,i
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 68 of 84




Application Review (Work/Education/Training)

                                                                                                                            Contact Us      I H elp I Extt
  ~                                         ------                       ~                                                             S~«tTooltip L.,_..,,.,
  ~             U.S. D EPARTMEN T of-.SJ;i\T~                                                                        ~
 ~                  CONSULA R ELECTRON IC APPLI C ATION C ENTER

             COMPLETE                                  PHOTO                      ..,           REV1EW                                       SIGN

                                   Online Nonimmigrant Visa Application (DS- 160)
                                                                                                                        Application ID AA000IITQ2

-./ Personal/Address/
    PhonefPassport                 Work / Education / Training Inf01mation
-./ Travel
                                                                                                                                                    Print 1?J
-.I US Contact

II Famlly                                                                                                       Edit Present Work Informatio n
-./ Work/Education/          ►          Primary Occupation:                                       EDUCATION
  Trammg
                                        Present Employer or School Name:                          T EST
Ii Secunty and
   Background                           Present Employer or School A~dress:                       T EST

II E Visa
                                         City:                                                    T EST

                                         State/Province:                                          DOES NOT APPLY
Iii Student/Exchange Visa
                                         Postal Zone/Zip Code:                                    DOES NOT APPLY
'ii Crew Visa
                                         Country/Region:                                          AFGHANISTAN
II Temporary Work Visa
                                       Start Date:                                                D1 JAN UARY 2 0 10
-.I location
                                        Work Phone Number:                                        1234 567 890

                                        Monthly Salary in Local Currency (if
                                                                                                  DOES NOT APPLY
                                        employed):
                                        Briefly Describe your Duties:                             T EST
Help: Nuig:ation Buttons

Oickon the buttons above
to actess previously                                                                                          Edit Previous Work I nformatio n
entered data.
                                       ~ Were you previously employed7                           Y ES


                                          Employer Name (1) :                                    T EST

                                            Employer Address:                                    T EST

                                            City,                                                T EST

                                            State/Province:                                      DOES NOT APPLY

                                            Postal Zone/Zip Code:                                DOES NOT APPLY

                                            Country/Region:                                      AFGHANI STAN

                                          Telephone Number:                                      1234 567890

                                          Job Title:                                             T EST

                                          Supervisor's Surname:                                  DO NOT KNOW

                                          Supervisor's Given Name:                               DO NOT KNOW

                                          Employment Date From:                                  0 1 JANUARY 1975

                                          Employment Date To:                                    0 1 JANUARY 1980

                                          Briefly describe your duties:                          T EST

                                          Employer Name (2) :                                    T EST

                                            Employer Address:                                    T EST

                                            City:                                                T EST

                                            State/Province:                                      DOES NOT APPLY

                                            Postal Zone/Zip Code:                                DOES NOT APPLY

                                            Country/Region:                                      AFGHANI STAN

                                          Telephone Number:                                      123457 8 9 0

                                          Job Title:                                             T EST

                                          Supervisor's Surname:                                  DO NOT KNOW

                                          Supervisor's Given Name:                               DO NOT KNOW

                                          Employment Date From:                                  0 1 JANUARY 19 7 5

                                          Employment Date To:                                    0 1 JANUARY 19 80

                                          Briefly describe your duties:                          T EST

                                        Have you attended any educational                        NO
                                        institutions at a secondary level or above7



                                                                                                                    Edit Additional I nformation
                                        Do you belong to a clan or tribe?                        NO

                                       ~ Provide a List of Languag~ You Speak:

                                          language Name (1):                                     T EST

                                        Have you traveled to any countries/regions               NO
                                        within the last five year.;;7
                                       Have you resided in any coun:ry/region for
                                       six months or longer since you attained 16                NO
                                       year.;; of age7
                                       Have you belonged to, contributed to, or
                                       worked for any professional, social, or                   NO
                                       charitable organization?
                                       Do you have any specialized skills or
                                       training, such as firearms, explosives,                   NO
                                       nudear, biological, or chemical experience7
                                        Have you ever served in the nilitary?                    NO

                                       Have you ever served in, been a member of,
                                       or been involved with a paramilit_a ry unit,  NO
                                       vigilante umt, rebel group, guemlla group, or
                                       insurgent organization7




                                          ◄ Back: Family
                                                                                        ■r-'ffliM               Next Secunty and Background ►




                 This site is ma nag ed by the Bureau of Consular Affairs, U.S. Depa rtment o f State . Externa l lin ks to o the r lnte rne t site s s hou ld
                 not be construed as a n e ndo rseme nt c f t he vie ws contained the re in.
                 Copyright Iriformaticn @ Disclaimers lfil Pape rwork Reduction Act @
          Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 69 of 84




Application Review (Security and Background)




                                                                                                Applx.,.__ ID AAOOO.UOOC



                Secmity and Background lnfonnation
                                                                                                                      .... 0

                                                                                                                ...........
                   Doyau l u v • • a , m m . . . . . . , , . _ _ o l ~ P M . a t h ~ , { C - -

                   I n f ~ lep,my,      ly,nphovr...,._• ,,__..,
                   ._oloullkllOnlfl(.-lnd,IINCNIIO'old, ~ • . o , ~ •1'9-
                                                                 iorllect>OU$ •aoe ,vpt,11 ~. Kl•_.
                   Whammln, M>dati-_,._.,.dRtftmlr>l'Clb-,IM~1a/HQlth and
                                                                                                                       NO

                     anS-W':ft.)

                   DoT011hne•~or~dlsordeft1>at-orl5•eivto-•tllf-tc
                   llw~or...,_.af,_...,or__,,
                   Nl!l'll"lo,NV'evou-Men•~ibusel"oriddict
                   Oo rou h;i.,..doa.llnff,at>on to--~lhaitvo.ilu.,..n,-educdn•~ln




       __
                   •cwrU!OwllflUS l•"l




                   H...lw•t'OU-bNft-edor«lfh'lcted,or..,vdf.,_•°"""·...,...tho,vli
                   ._,t,;act!Jf,..,_..,   _.,,,or~.,..,«tion'
                                          ,

·-- --              ~.... --~ed.«~111•COftSClirKYtoYiol.ite. M1vl..,.1'9~to


                   ~ you comr,o ta the i..wtlld !.t.o1n 10..,_'" "'oodubon «urn~
                   ~ed~orluvevoubftfl~illorostitdkl!,o,l)rOCUlt,,g
                   ~•..,,_lhputt0,,_,1.,
                   ...,.,.you,._~.....,_.lft..•dovouNei<to~                                _.,~

                   H1w,efOU-~ltl!'dorCOl'l5Qlredto~•hll-b"aflk.l,ir,o~lntt
                   United S U D $ • ~ IN LWl:N 'ibl:M7

                   Nt-,OUIN~.-.•uuotir•of•~wlloPtn-'1.. 0f
                   ""'50ll'ed toalftlfflit • ~ tn,l'llc~ o f f - on the Ulllled St.Mes« outsidett>e
                   1Jn.tPdt.1--,tlu.-.youM!t.nth•laotllvepM1-,laioMn91Y-..nt..tfranot'-
                   ln1fl,1Jno«tMtlft'
                   H.ov•..-ou~~. .t,,e,ae,d nsistedorcciauded,.,th«1~""°h.a!
                   ~1..ilorna>PredtoCOfflffiil:1..,,..•.._.,,•,.~~lllthtU,,,ted
                   Sbtaoreut.,.IMUNt9dst-..0
                   -.rerovtflelll)OUN,10n,0<~t•of•~who~~ldlinttl'l4db'l'tt
                   ~dlheUnrtll'dst,ie.n~who ..... a ~ r o l i f l n • - .
                   IDm>ln~ln--MKllu..,you,withinlntfivey1t..,.,k~
                   betMfitedtr...thehflkb,Q-..0.?

                   N e yau 1M - · mn. • da,9ht. al., lndMdua,I who hu vlabt.d lfYf
                   «lll't•oled iut.M.-.:e tt.ttH•no ,• .,, ....i h..,.. ~~ __._. ,...., tN
                   t , ~ ~ 1 1 ' 1 1 1 , . p M ( . . . ye.,._?




                   Do-,ouSNlto~eln~. ~.•x:portcor,trc,11/icuboM Ofa.t!Y
                   .......... sttlfitrMllelnU..u,,,t-~1
                   0o VOU ..-1< 10 ~ • In ttrroml ilctMtiel ..,,._ In lhtt Uftoted !;Utfl « 11..H \'OU
                   .....   ~-~~
                   ~... ..,..f'V,.,.ordoyo11rit8'1ftopn,oriclellnard;,l~orotti.-1to
                   twrerisb«terromto,o."Uiltions1

                   '"'-•--•....--of•-~,
                   ln,voutne- -..orobu9hl«dilf1indMdu.alwhoU.-O..-,dlnt«l'omt
                   Klivol:y, ~pr0¥icfiri91in¥1ci.i ~illlCe« othef -1:IOtWI0'15b«
                   l'"°""~lnlh11.C. .... mrs'

                   ,,_,
                    ~... vou..,.oroilncl.u1eoted cornmitted,.as.:hted.orathwwlsio~edln



                   ~ ; ; : ~ - ~ - -Oefed,indlied. _.:ICed.• oth'llrwiM ~                                              NO

                   ~ " " ' ° " ' ~ e d orditred, lncitied. #Jistt,d.or ~ ~ l e d in
                   •~tT•Judlda            pc,lltlcill . . . . . . . . . . . . ..lCl:a . . ~ '

                   ~v•rou-e,,,gaoedlnll'llrw...,..._.,..lh9_dchectllcl~J
                   IYVO'fOII. . . . . YfWMJ.na~-offlcW.i...._......forordirKtly
                   umac1-.-111.,.,.,boM,-1             ..,. _ _      ~            ........,..~,

                   M•yo11•---alorafllat.twlltltti.c--,t,,torot1Mrtoult.._,.,..-tyl

                   ~""vou-dtr.at,orir,clrealv1ssostedorw~ed1nvolNVoY11Sin
                   (c,loff,~~-H.,._~,.,,,_.FCll'WlolC--.i(FAAC),l'l•!!Of\ill                                           NO
                   l.1111,IIIOf,A,my{F.VO .,Unll:Mstll'Dlf-F«QlllolCelorntll.l(AUQ7
                   MIYf}'OU-thr°"°"'abvNol~erOOltk.. OOll>liOll~edlor
                   ~ gain, «nl:lir,lled or •Jllll'opn.;ited pr-,y i,, ,1 foteign nM"ol 1t whidl I                      NO
                   ..-NMilte,ru,tioftall\lcldaiinlol_...,,




                   d->
                                                         ==~
                   Att'fOl,lltM-.,ouse,INIIOl'dild.or~olan~who,...ttw'ouot>abtMol

                   ::::;=:t',.•:::=                                  ~~~~.:~ w.11                                      NO


                   ===~~~,::~~~~~ 7                                                                                    NO
                    A,•roult>tklOUN, ..... tNd,ClflOtfltalwh<lhn~orl•"'1k.kMIII

                   lnthe~We..-,ons~~
                                    .,.,...._.In<~-
                   ~ U.S ~ lnfClf!UOOn                             oollti U.S. ~


                   Hive you..,_ been .-«ttv ln..-dved In tti. esu,bl--'1 • e , , f - 1 olche
                   l)IISIU__,contn>hfordnv•-to"""'""1oaiMNWbon~t,,.,.lr'Nchoiu
                   «1111ai•1-aito--"'9Claerliz.o111w1ilQ,aiMthisor,._frM,..,
                   IO\leyou.,_......,,.~inwofvedlntt,.,co«1;1,,.~a/h..,...
                   OfO,l<lt•boiillvti•,,.>




                   fUy.,,rou_.,...,,.-,.ctvl•-.,.·~-~7
                                                                                                                .........
                   HJ..eyou-toua,Mtoobt••1ultl:uttl'"11h>*Ml1~... lryWT                                  rt,
                   UM.-df.lat-.or.,ydherUNttdSt•l•.........,,_,_,ber..tltlrrfrM•~                                      NO
                   ....,.,_.._.«otto.uruwNI,__
                   ~veyoufililed111anfftd,1h,elf'lll9011rtfflOvilbilil;yo,~..,lhW,thellSI
                   li""y,un'
                   HIVflyOl,l-~triNfiAlypr_,t,.,.,..f"iti,«ID\e~olbrllegr...-,rtdt)II
                   lln . . . . . . . . oflldalorod".-w!RWIQledtN-ol•U.S..,....•

                   An.rmt..,t,jacllo•avl~,..,.._l....,t4JC'

                   H.iW,_bNfl.....,..<NIO'f,ldfnlmlheUS.W'ln9thelastllYenM'i1
                   JilvtVOl,ltlee!IOl'deo,df--..dh<lftlfheU.S.fllll'l-41-wll;hllolhelHllO
                   y•;inl
                   ~""'vvu,..•ti.-.n inbwf>Atv~t•ncl-4trtclramc,,,.th'orrt,..u.s.a:"'II
                   theiastt.........~
                   ~•• y.,.,. -    bNr'I c:omktt'd of a.ti .,.,....,tNt.lony atid be,in ordeft'd r-.-e,d
                   tr.art.us.
                   Mlvt1'°"-blilflllll&l'wf,My~t1t1theU.5 for-1tl\lllllOGht\W
                   , - 1 lhu, - YNI') atlCI NYI volurltMilVdec)MtecltheU.S. within the Last thrN

                   ~'
                   i-uveyou....,.bNfl~prKNltltllheVS l«morettun-re•lnlht
                   ~ . . - . . ill: 1nvtimedur1no thl i,nl:lffl ••lff1

                   H•wyou-~,-ldoro-c,ortld,.._1..,coo,,try~



                                                                                                                ..........
                   ~=;;::;~:.•~i=chldOl.a!MtheUl'lkNstatMfr<lffl                                                       HO

                   liil,,..-.'f'OlldinlhelntllfSl:.otfflfl~ot_,,,i.,.,.,,"G'IU                       1


                   ,.-,
                   ~""voueverr-.cll.lnlted~natinnshipfotthepurpc,Mvl~


                   AfeVOU•--•~'4!.ttor1JJ..tlOhesflllty"'-"'>0edthetwo-'f'tl•for-'
                   ....s.c:e,_._,
                   ~ " " VOi,! ,ltlemt.,I I put,lc_--,tlf'I' sd\OCII gr, !ltv<iar>t (f) U-..S Of I po.obit:
                   ___..,ylcflOOlaft"'NoY«,h,30 IM-..llllout ........... ~KflootJ
                   D01'0U--lOenterthelWtedStitHfot.,....~olP«fonNn0W.dlNOlunl illld
                   W,., IIMA "-not,~ bMrl Okb!Nd Irr l:N 'iota'etlfY (I Ubofl

                    AfefOU•111ildw1eol11forelonaeclclllsdllialMei.il'lqt1i,erfOfftl..,ediu,I..W.fi
                   lnfht~S(-etbuthheftolyel'p,tlMdlfltHll~l!oO.lifdfJIM<IClcll                                         NO
                   h ~ - t l o n o r l l l l .........t>
                   ,.,,rou111at11hea,ewo,•erNeldNlloN'for111aidlwOl'l;lflthe~.-dstlll bul
                   NYI flat Y"( receoved cerufluoo,, GIi Gl'ldwt"5 ol rore19'1 Nlnin; Sd,ook or from
                   ,1n....,.,.~IIICIO'~~•o•iu,1;on,
                   An.\""',,...._tv,..._.forU.S.cibz~>

                   :;i.e:::.~"':" 01C1¥10!d 111e Vrt>ttd Shta 1n •-to ..... ,nt,i....,, Mrvk• di, io •
                   Meya.iUlllll!r,ototl>eU        topn,clJce~
                   H.1•ttles«retlf'l'vl~Secwtt,vltheU,,1lf'd!;t;,ttsev•dtl---tl\lll
                   .,..,.~ftlNlt•m,,olowlllllk.lhClllforM""-7




                   N"ttl:@'t '·                                                                                1:ttif'd


e   l'l'lll~ ,..,~t,ythte.nf'-lolC--Alf- , u.:sc. ~ o l 5 'tott. vct.,,,_. ilf,Q~ odltf l n t - MUthooM
    ~   N ~      N - ~ e f l h e - c~tMteofl,
    CppyneNldear-tSsnO ~ o &esrm:sd<BdiCEl90M0
                     Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 70 of 84




Application Review (E-Visa)

19'.                          -                         -                                          ,-~ ::..,::~::.:
~ US~f1!_',\h~\~I:;} :',.Sf.~~                                                               ~
       ,...... ,,.                        ,_.,l(                •   - - -- -  ~




                      Onl..... ~oo.imm,gnni y..,. AppLM,at..., {DS- 160}
                                                                                               ,.,,.._tD AAOOOIITQ!




                        -~·-_~
                         "-oll.lS.(H_,_o.-,..,

                         ,...,,. ..
                                                                               l ◄d.J-YPM · tl'!'MUr:nf., Inf.....,....,.




                                                                    ldft[·Ytte·t:vzweremdlhlsn«HlnfomlttHte
                        ....... ....__w,t...,_
                        00 ..... ~"""" ...... 1 ... , _
                        .:...."":~~·=-~ft




                             ----
                           ,...._ .. . _ ,.......... _ ! l


                             ~,._~

                             ---
                             ~..... f A ~ -
                                                   ..
                                                                              tt:ST, TU T




                        [i]~----MMt--•-                                      CllilC Yiw·C'NM&tndT,.klnt9fll'fboe




                           0-.,.,,......,,,..............
                           It(-....   ..,,_..,.,..._,
                           m .......i _

                           o,,,lal-•·-~
                                                    _.,_,c:apt•

                           ;::_,-10--,-.w.....

                        G,..1n1--•.-tllhol.l.S
                        ,--1,,r-a-vun




                        ---
                        UM,N~-,.---y-
                         , .... 1 - / < o f f l . . . . . . . . i -.. tto.



                        =~:.::.;:r:~==· .
                        l,Mlltlll,IS.,"""._..,.........,._
                                                                              flfll F·Yl¥" H 'l PffHtmd ,..,_,.,.. I
                        s-1n11,-,__ .., _
                        OC     ,_,..,,_,_..,..,r,




                           ~--
  Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 71 of 84




                                                                                       Edit E-Visa: U.S. Personn e l Inform ation 2

                           IBJ List all personnel of U.S. business who hold exerutive, managerial, and/or specialist
                           positions by subsidiary/branch office. If aliens, indicate Nonimmigrant visa status or Lawful
                           Permanent Resident (LPR) status

                              Name, Position/Title, and Division (1)
                               Name:                                                   T EST, T EST

                               Position:                                               T EST

                               Division:                                               T EST

                               Country/Region of Origin (Nationality):                 ANTIGUA AND BARBUDA

                               U.S. Status of Personnel:                               U. S. CITIZEN

                              Name, Position/Title, and Division (2)
                               Name:                                                   T EST, T EST

                               Position:                                               T EST

                               Division:                                               T EST

                               Country/Region of Origin (Nationality):                 ANTIGUA A ND BARBUDA

                               U.S. Status of Personnel:                               U. S. CITIZEN




                                                                         Edit E-Visa: Applican t Pr esent Po sition I ntor mation

                           Type of Applicant:                                          EXECUTI VE

                           Present Position and Duties (describe in                    T EST
                           detail):
                           Employer Name:                                              T EST

                           Years with Present Employer:                                4

                           Employer Address
                             Street Address:                                           T EST

                             City:                                                     T EST

                             State/Province:                                           DOES NOT APPLY

                             Postal Code/ZIP Code:                                     DOES NOT APPLY

                             Country/Region:                                           ALGERIA

                           Highest Level of Education
                             School:                                                   T EST

                             Degree:                                                   T EST

                             Major:                                                    T EST

                            Year:                                                      19 8 5

                           Do you have a ny other relevant education to NO
                           report?



                                                                          Edi t E- Visa: Applicant Positio n in U.S. Infor mation

                          Title:                                                       T EST

                           Duties:                                                     T EST

                           Will you have any immediate s ubordinates in NO
                           your position in the U.S.?
                           Annual U.S. Salary and Benefits Package
                            Salary:                                                    $1
                            Allowances/ Benefits:                                      $1
                            Total:                                                     $2
                           Are you replacing a worker already in the
                                                                                       NO
                           United States?
                           Is this an increase in staff?                               NO

                           Is this a continuance of an existing
                                                                                       NO
                           employment in the United States?



                                                                                  Edit E- Vi sa: Application Contact Infor mation

                           Responsible officer within the business enterprise
                            Name:                                                      T EST, T EST

                            Position:                                                  T EST

                           Name and address of person who may be contacted about this application
                            Name:                                                      T EST, T EST

                            Street Address:                                            T EST

                            City:                                                      T EST

                            State/Province:                                            DOES N OT APPLY

                            Postal Zone/ZIP Code:                                      DOES N OT APPLY

                            Country/Region:                                            AFGHANI STAN

                            Telephone Number:                                          1234567890

                            Fax Number:                                                DOES N OT APPLY

                            Email Address:                                             DOES N OT APPLY




                             ◄ Back: Security and Background
                                                                          Mr-tflfr                       Next: StudenVExchange Visa ►




8 1
   This s ite ts ma n ag e d by the Burea u of Consu la r Affa irs, U.S . De pa rtm e nt o f State, Exte rnal lin ks to o the r Internet s ite s should
   not be construed as a n e ndo rsem e nt of the vie v, s containe d the re in.
   Copyright Infoi-ma tion @ Disclaimers @ Paperwork Reduction Act @
                    Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 72 of 84




Application Review (Student/Exchange Visa)

              ~                                                                                                   Contact Us    I Help I Ex,t

~® U.c~·NE~~R~~El~J;;~,f~~'~i~~ ~ ~Lzgu,ge~
                  COMPLETE                            PHOTO                  ...,         REVIEW

                                     Online Nonimmigrant Visa Application (DS-1 60)                         Application ID AA006WPHRO


1,1 PersorwlJAddress/
                                     Student/Exchange Visa Infonnation
  Phone!Pc1ssport

1,1 Trc1vel
                                                                                                                                      Prim D

II U_ s_ Cont.let                                                                                      Edit Additional Point of Contact
                                                                                                                           Information
II F.,1mily
                                        l!J Additional Point of Cont.act Information:
1,1 Work/Educc1tion/
  Trc1ining                               Name(l),                                        STA RK,ARYA

II Security .and                          Stre-et Address:                                1234 STA RK STREET
  Background
                                          City:                                           KABUL
  ShJden11Exchange
                                          St.ate/Province:                                D OES NOT A PPLY
  Visai
                                          Post.al Zone/ZIP Code:                          D OES NOT A PPLY

                                          Country/Region:                                 AFGHANIS TAN
                                          Telephone Number:                               D OES NOT A PPLY

                                          Email Address:                                  D OES NOT A PPLY

                                          Name(2),                                        S TARK, SANSA
 Help: N:nigation Button.,
                                          Stre-et Address:                                1234 STA RK STREET

 Click on the buttons                     City:                                           KABUL
 above to access
 pre'liousty entered data.                St.ate/Province:                                D OES NOT A PPLY

                                          Post.al Zone/ZIP Code:                          D OES NOT A PPLY

                                          Country/Region:                                 AFGHANIS TAN
                                          Telephone Number:                               D OES NOT A PPLY

                                          Email Address:                                  D OES NOT A PPLY




                                                                                                                Edit SEVIS Information
                                        SEVIS IO,                                          N1111111111
                                        Program Number:                                    P-3-04510
                                        Do you intend to study in the U.S.?                YES

                                        Name of School:                                    GWU
                                        Course of Study:                                   JNTERNATJONAL A FFA JRS

                                        Stre-et Address:                                   2255 EYE STREET NW

                                                                                           WASHI NGTON, D I ST RI CT OF COLUMBIA
                                                                                           22242




                                           ◄ Back Secunty and Background            ■Affoj-                             Next Location ►




                     ! ~\seit:o~s~r~J! ~ : :;~3
                                             0
                                              ~ ;~~n~~ h~uv~;\! ff:~~t aY~!d ~~~;~~ent of State. External links to other Internet sites should
                     Copyright Jnformation@ Disclaimers@ Papen"ork Reduction A,t@                                                            (l1l
             Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 73 of 84




Application Review (Crew Visa)




                                      Online Nonimmigrant Visa Application (DS-160)
                                                                                                                                Application ID AA00011TQ2

1,1 Personal/Address/
   PhonefPassport                     Crew Visa Info1mation
1,1 Travel

                                                                                                                                                              Print   ~
.,, U.S. Contact

1,1 Family                                                                                                         Edit: Crew Visa Info rmation
1,1 Wortt/Educat1on/                       Specific job title aboard aircraft or vessel: TEST
   Trammg
                                           Name of company that owns the aircraft
                                                                                                   TEST
1,1 Secunty and                            or vessel you will be working on:
   Background
                                           Company telephone number:                                12345 67890
                                           Did you acquire your position using a
                                                                                                    NO
1,1 Student/Exchange Visa
                                           recruiting/manning/crewing agency?
                                           Are you serving aboard a seagoing ship
1,1 Crew Visa                  ►           or vessel?                                              YES

1,1 Temporary Work Visa                      Seagoing Ship/Vessel Name:                            TEST
1,1 Location                                 Seagoing ShipNessel Identification
                                                                                                    7




                                                                                           ....
                                             Number:




 Help: Nnigation Buttons                      ◄ Back: Student/Exchange Visa                                                 Next Temporary Work Visa ►

 Click on the buttons above
 to access previously
 entered data.




  GI
                   This sit e tS ma n.aged by the Bu rea u o f Cons u la r Affairs, U.S . Depa rtme nt of Sta te. Ext e rn al links to o the r Inte r ne t s ites sho uld
                   not be co nstrued as a n e nd orsem e nt o f the vie Vls co ntained the rein.
                   Copyrig ht I nfor mation @ Disclaime rs lfiJ Paperwork Reduction Act lfiJ
             Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 74 of 84




Application Review (Temporary Work Visa)




                                                                                                                                  Application ID AA00011TQ2

1,1 Personal/Address/
  PhonefPassport                      Temporaiy Work Visa Info1mation
1,1 Travel

                                                                                                                                                                Print ~
.,, U.S. Contact

1,1 Family                                                                                                 Edit Temporary Work Visa Informa tion
1,1 Work/Educat1on/                        Where Do You Intend to Work?
  Trammg
                                             Name of Employer:                                           TEST
1,1 Secunty and
   Background                                E-Visa Company Registration Number:                         D OES NOT A PPLY

1,1 E-V1sa
                                             Street Address:                                             TEST

                                                                                                         TEST, ALABA MA 12345
1,1 Student/Exchange Visa
                                             Phone Number:                                               1234567890
1,1 Crew Visa


1,1 Temporary Work Visa        ►


1,1 Location                                  ◄ Back: Crew Visa
                                                                                            IBIDIIIII                                         Next: Location ►




Help: N»-igation Buttons

Click on the buttons above
to access previously
entered data.




  G I
                   This sit e tS ma n.aged by the Bu rea u o f Cons u la r Affa irs, U.S . Depa rtme nt of S ta te. Ext e rn a l links to o the r Inte r ne t s ites sho uld
                   not be construed as a n e nd orsem e nt o f the vieVls co ntained the re in.
                   Copyrig ht I nfor mation @ Discla ime rs@ Paperwork Reduction Act @
               Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 75 of 84




Application Review (Location)




             COMPLETE                                     PHOTO                       ...,           REVIEW                                       SIGN

                                      Online Nonimmigrant Visa Application (DS- 160)                                    Application ID A.A006WPHRO


                                     Location Information
.,; Personal/Address/
   Phone/Passport
                                                                                                                                                         Print   ~
'ti Travel

.,; U.S. Contact

.,; Family
                                                                                                                        Ed it Locatio n Info rma tio n
\I Wor1uEducatron/
  Tnunmg                                  Location where you will be submitting your application

V Security and                            Current Location:                                         KABUL, A FGHA NI STA N
   Background

'ti Student/Exchange VlS8



                                             ◄ Back: Student/Exchange Visa                                                     Next: Sign and Submit ►




 Help: l\""a,igation Button.s

 Cick on the buttons above
 to access previousfy
 entered data.




   <i i
                   This site is m a na ged by the Bureau o f Consula r Affa irs, U.S. De pa rtm e nt of St a te . Exte rna l links to ot he r Inte rnet site s should
                   not be c onst rued a s a n e ndorsem e nt of the vie v,s conta ined the re in.
                   Copyright l nforma ti,on @ Disclaim ers@ Pape rwork Re duction Act @                                                                           C•ll
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 76 of 84




Sign and Submit – Successful Signed and Submitted page
Displayed for all applicants.
      ~---"'                                                                                                                   Contact Us      I Help I Exit
  ~                                             -------                      ~                                                           SelectToolllpLanguage
  ~                   U.S. DEPART M EN T oi-...5.J:ATE~                                                                 ~
  '                      CO N SULAR EL ECTRONIC APPL ICATION CENT ER

                      COMPLETE                                                 REVIEW                           ~                       SIGN

                                        Online Nonimmigrant Visa Application (DS- 160)
                                                                                                                          Application ID AA000322,VS

      E-S1gn and                  ►
      Certification                     Sign and Submit

                                           Read the following information carefully before dating, electronically signing and
 H elp: Nniga tion Butto ns                submitting the application.

 Cltek on the buttons above                Your application is now ready to be submitted. Please note that this does not necessarily
 to access previously
 entered data.
                                           mean that your application for a nonimmigrant visa is complete, as additional information
                                           may be needed after Department of State personnel have reviewed the application.


                                           By clicking "Sign and Submit Application· you are electronically signing the application. You
                                           are required to electronically sign your application yourself, unless otherwise exempt by
                                           regulation, even if the application has been prepared by someone other than yourself. Your
                                           electronic signature certifies that you have read and understood the questions in this
                                           application and that your answers are true and correct to the best of your knowledge and
                                           belief. The submission of an application containing any false or misleading statements may
                                           result in the permanent refusal of a visa or the denial of entry into the United States. All
                                           declarations made in this application are unswom declarations made under penalty of perjury.
                                           (28 u.s.c. 1746).

                                           Additionally, by clicking "Sign and Submit Application'" you are certifying that you understand
                                           that you are required to submit your visa to the United States Immigration Officer at the port
                                           where you apply to enter the United States, and that possession of the visa does not entitle
                                           you to enter the United States if, upon your arrival, you are found to be inadmissible under
                                           U.S. immigration laws. You are certifying that you understand that any willfully false or
                                           misleading statement or willful concealment of a material fact made by you within the
                                           application may subject you to permanent exclusion from the United States and, if you are
                                           admitted to the United States, may subject you to criminal prosecution and/or deportation.


                                           Some visa applicants are required to undergo a medical examination with an authorized
                                           physician to assess visa eligibility consistent with INA Sections 212(a) and 221(d), and will be
                                           notified of the requirement. If you are notified and required to undergo a medical
                                           examination, failure to provide required information may cause delay or denial of your visa
                                           application. If required to undergo a medical examination, your medical examination
                                           information may be collected and temporarily stored in the eMedical system hosted, operated,
                                           and maintained by the Australian Department of Home Affairs. If your medical examination is
                                           collected in eMedical, you will be requested to provide consent to its collection and temporary
                                           storage in such system, and being transferred to the U.S. Government for the purposes of
                                           enabling the U.S. Department of State to determine your medical eligibility and for the U.S.
                                           Centers for Disease Control and Prevention to undertake public health functions under the
                                           Public Health Service Act Section 325 and INA Section 212(a).


                                           The information that you have provided in your application and other information submitted
                                           with your application may be accessible to other government agencies having statutory or
                                           other lawful authority to use such information, including for law enforcement and immigration
                                           law enforcement purposes. If fingerprints are collected as part of your application process,
                                           they may be used for the purpose of comparing them to other fingerprints in the FBI's Next
                                           Generation Identification (NGI) fingerprint system or its successor systems (including civil,
                                           criminal, and latent fingerprint repositories). If you wish to correct a record as it appears in
                                           the FBI's CJIS Division Records System, you should follow procedures to change, correct, or
                                           update a record that are set forth in Title 28, CFR, Section 16.34. The photograph that you
                                           provide with your application may be used for employment verification or other U.S. law
                                           purposes.


                                           Once you have clicked "Sign and Submit Application· you will be unable to make changes.
                                           Electronically sign by clicking the button below after you have reviewed the information in
                                           your application and determined that it is correct. After signing the application, click '"'Next" to
                                           continue with the application.


                                           Tuesda y , Oct ober 08, 2019 - I 0 : 58 : 13AM EDT




                                           You h ave successfully signed and submitted your application. You
                                           cannot make any changes to your application at this point. P lease click
                                           ' Next: Confirmation' to c omplete the applic atio n process .




                                              ◄ Back: REVIEW                                                                    Next: Confinnation ►




      8 1
                      This sit e is mana ged by the Burea u of Consula r Affairs, U.S. Depa rtment of Sta te . Externa l links t o othe r Internet sites shou ld
                      not be const rued as a n e ndorse me nt of t he vie ws conta ined t here in.
                      Copyright Informat ion ri' Disclaimers oJ Paperwork Reduction Act oJ
                 Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 77 of 84




Sign and Submit– Wilberforce Pamphlet
Displayed for A3-EM, G5-EM, H1B-H1B, H1B1-CHL, H1B1-SGP, H1C-NR, H2A-AG, H2B-NA, H3-
TR, J1-J1, and NATO7-EM
        -                                                                                                                            Contact Us        I Help I Exit

    @ U.S.
    '
                          DEPARTMENT of~J:A
                                          ~
                   CONSULAR ELECTRONIC APPLICATION CENTER
                                                                                                                             ~
                 COMPLETE                                                       REV IEW                              ,..                       SIGll

                                    Online Nonimmigrant Visa Application (DS- 160)
                                                                                                                             A pplication ID A.A.008RUVQC



-                                   Sign and Submit

                                       You hav e indicated t hat you ar e t r av eling for t wo or m or e pur poses which could r equir e
                                       m or e t han one visa being issued. Please not e that if m or e t han one v isa is t o be issued, y ou
Help: Narigation Bunons                will hav e t o pay ap plicat ion and r ecipr ocity f ees for each.

Cick on the buttons above
to access previously
entered data
                                        Read the following information carefully before dating, electronically signing
                                        and submitting the application.

                                       Your application is now ready to be submitted. Please note that this does not necessarily
                                        mean that your application for a nonimmigrant visa is complete, as additional information
                                        may be needed after Department of State personnel have reviewed the application.


                                        By clicking "Sign and Submit Applicationw you are electronically signing the application. You
                                        are required to electronically sign your application yourself, unless otherwise exempt by
                                        regulation, even if the application has been prepared by someone other than yourself. Your
                                        electronic signature certifies that you have read and understood the questions in this
                                        application and that your answers are true and correct to the best of your knowledge and
                                        belief. The submission of an application containing any false or misleading statements may
                                        result in the permanent refusal of a visa or the denial of entry into the United States. All
                                        declarations made in this application are unswom declarations made under penalty of
                                        perJury. (28 U.S.C. 1746).


                                       Additionally, by clicking "Sign and Submit Applicationw you are certifying that you
                                        understand that you are required to submit your visa to the United States Immigration
                                        Officer at the port where you apply to enter the United States, and that possession of the
                                        visa does not entitle you to enter the United States if, upon your arrival, you are found to
                                        be inadmissible under U.S. immigration laws. You are certifying that you understand that
                                        any willfully false or misleading statement or willful concealment of a material fact made by
                                        you within the application may subJect you to permanent exclusion from the United States
                                        and, if you are admitted to the United States, may subJect you to criminal prosecution
                                        ?Ind/or deportation.


                                       The information that you have provided in your application and other information submitted
                                        with your application may be accessible to other government agencies having statutory or
                                        other lawful authority to use such information, including for law enforcement and
                                        immigration law enforcement purposes. If fingerprints are collected as part of your
                                        application process, they may be used for the purpose of comparing them to other
                                        fingerprints in the FBI's Next Generation Identification (NGI) fingerprint system or its
                                        successor systems (including civil, criminal, and latent fingerprint repositories). The
                                        photograph that you provide with your application may be used for employment
                                        verification or other U.S. law purposes.


                                        Once you have clicked "Sign and Submit Applicationw you will be unable to make changes.
                                        Electronically sign by clicking the button below after you have reviewed the information in
                                        your application and determined that it is correct. After signing the application, click "Nexr
                                        to continue with the application.



                                           Human Trafficking Prevention

                                            Your applicat ion indicat es t hat y ou ar e apply ing for an employm ent · or education·
                                            based nonimmig r ant visa. Purs uant t o Section 202 of t he William Wilberforce
                                            Tr affick ing V icti m s Pr ot ection Reaut hor ization Act of 2008 you ar e r equir ed t o
                                            r eceiv e a copy of an infor m ational pamphlet on t he legal r ights and r esources of
                                            aliens apply ing for employm ent - or educat ion-based nonimmigr ants v isas. Please
                                            r ead t he pamphlet car efully. We str ongly enco ur age you t o pr int a copy of a
                                            pamphlet and lceep it wit h y ou if y our v isa is gra nt ed and y ou t r av e l t o t he Unit ed
                                            St at es.

                                            William Wilberforce Trafficking V ictims Protection Reaut hor ization Act of 2008
                                            Pam phlet

                                            I ce rtify t hat I hav e r ece iv ed, r ead, and understand the William Wilberforc e
                                            Trafficking V icti ms Prot ection Reaut horization Act of 2008 Pamphlet.                       D


                                        Wednesday, Mar ch 13, 20 19 - 9 :29 :42 AM EDT


                                        Preparer of Application

                                         Q: Did anyone assist you in filling out t his application?

                                         A:    O Yes O No




                                        E-Signature

                                        I certify under pen alty of perj ury under t he laws of the Unit ed St ates of A m er ica t hat t he
                                        f oregoing iSc t rue and eorreet:.

                                        Enter y our Passport/Trav el Document Number :




                                         Ent er t he code as shown :




                                                       Click the button below to electronically sign your application:


                                                                                     Sign   a, d .,ubmit App11cat1on



                                           ◄ Back REV IEW                                 Mr-ibfiiW                                   HaX'i: Cooftrmatton ►




                T h is s ;t e is m a n a g ed b y t h e Bu re a u o f Cons u la r A ffa irs, U . S . D epa rtm e nt of St at e . Exte rna l lin ks t o ot h e r Inte rnet
                s it es s h oul d n ot b e con st rued as a n e n dorse m e nt of t h e v i ews conta in e d the re in .
                Copyrig ht I nformat i o n @ D i s cla im ers @ Pape rwork R eduction A ct @
                   Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 78 of 84




Sign and Submit– IMBRA
Displays for K1 applicants.
      -                                                                                                      Contact Us     I Help I Exit

 ~ U. 5. D EPART M EN T of....SJ;A~ ~
                     CO NSULAR El f C TRONI C APPLIC AT ION CfNTf_R

                  COM PLHf                                         REVIEW                       ,..                  SIGN




-
                                Online Nonimmigrnnt Visa Application (DS- 160)
                                                                                                       Application ID A.A00SR UVQC



                                Sign and Submit

                                   You hav e ind icated t hat you ar e t rave ling for two or mor e purposes which could r equire
                                   m o re than one v isa being issued. Please not e t hat if m or e t han one visa is to be issued, y ou
H dp: NaTI&atioa Bauons            will have t o pay application and reciprocity fees for each.


Click on the button.s above
to access previously
entered data
                                   Re ad the following informa tio n c are fully befor e dating, e l ectr o nically signing
                                   a nd subm itting the applic atio n.


                                   Your application is now ready to be submitted. Please note that this does not necessari ly
                                   m ean that your appl ication for a nonimmiorant v isa is complete, as addit ion.al information
                                   may be needed after Department of State personnel ha v e r ev iewed the application.


                                   By clicking ·sion and Submit Applicationw you are electronically s i,;;ining the application. You
                                   are required to electronically s ion your application yourself, unless otherwise exempt by
                                   r e,;;iulat1on, ev en if the application has been prepared by someone other than yourself. Your
                                   electronic s i,;;inature certifies that you have read and understood the questions in this
                                   application and that your answers are true and correct to the best of your knowledoe and
                                   belief. The submission of an application conta1nino any false or m 1sleadino statements m ay
                                   r esult in the permanent r efusal of a v isa or the denial of entry into the Unit ed States. A ll
                                   declarations made in this application are unsworn declarations m ade under penalty of
                                   pef]Ury. (28 U.S.C. 1746).


                                   Add1t 1onally, by dick1no •s1,;;in and Submit Applicat1onw you are certrfy1no that you
                                   understand that you are required to submit your v isa to the United States I mmigration
                                   Officer at the port where you apply to enter the United States, and that possession of the
                                   v isa does not entit le you to enter the United States if, upon your arrival, you are found to
                                   be inadmissible under U.S. imm1grat 1on laws. You further understand that your adjustment
                                   of status to legal permanent resident is. dependent upon marriage to a U.S. citizen and
                                   upon meeting all of the r equirements of the U.S. Department of Homeland Security. You
                                   are certifying that you understand that any willfully false or m1slead1ng statement or willful
                                   concealment of a m aterial fact made by you within the application m ay subJect you to
                                   permanent exclusion from the United States and, if you a re admitted to the United States,
                                   may subJect you to criminal prosecution and/or deportation. You are certifying that you are
                                   let;1ally free to marry, and that you intend to marry the U.S. cit izen who sponsored your
                                   petit ion within 90 days of your adm ission into the United States.


                                   The information that you have provided in your application and other information submitted
                                   with your application m ay be accessible to other government agern::1es having statutory or
                                   other lawful authority to use such information, irn::luding for law enforcement and
                                   immigration law enforcement purposes. If fingerprints are collected as part of your
                                   application process, they may be used for the purpose of comparing them to other
                                   fingerprints in the fBJ's Next Generation Identification (NG!) fingerprint system or its
                                   successor systems (irn::luding civ il, crimina l, and latent fingerprint repositories). The
                                   photOQraph that you provide with your application may be used for employment
                                   v er ificat ion or other U.S. law purposes.


                                   Once you have clicked • sign and Submit Applicationw you w ill be unable to make changes.
                                   Electronically s ign by clicking the button below after you have r ev iewed the information in
                                   your application and determined that 1t 1s correct. After s igning the application, click •Nextw
                                   to continue with the application.



                                      Spouse or Fiance/Fiancee

                                      Your application indicates that y ou a re apply ing for a K v isa. Pursuant to the
                                      Internat ional Marriage Broker Regul at ion Act of 2005, y ou are required t o receive
                                      a copy of an informat ional pam phlet . This pam phlet provides informat ion on legal
                                      r ights and r esources available to alie ns immigrat ing on a marriage -based v isa.
                                      Please read the pamphlet carefully . We strongly encourage y ou t o print a copy of
                                      the pamphlet and k eep it with y ou if your v isa is granted and y ou t r avel t o t he
                                      United St at es .
                                      IMBRA Pamphlet

                                      I her eby ce rtify that I have receiv ed a copy of the IMBRA Pamphlet as part of m y
                                      application packet.   D
                                      I her eby certify that I am let;1ally fre e to marry and intend to marry TEST T EST, a
                                      U.S. cit izen, within 90 days of my admission into the United States.     D

                                                                                  Edit Family Information: Fiance/Fi ancee




                                   Wednesday, Ma rch 13, 2019 · 9 :29 :42 AM EDT


                                   Preparer of Application

                                    Q: Did anyone assist you in filling out this application?

                                    A: Q Yes Q No


                                   E--Signarurc

                                   I certify under penalty of perj ury under the laws of the Unit ed St ates of Ame rica that the
                                   foregoing is t r ue and correct.

                                   Ent er y our Passport/Travel Docum ent Number:




                                    Enter t he code as shown :




                                               Clic k t he butto n below t o e lectr onically s ig n your applic atio n:


                                                                             r,d ,;,ul   rtA




                                    11:ii·lhfo                              @Flt .l iMI                       Heltt Confifmai ioo ►




                 This s ite is m anaged by the Bureau of Consular Affairs, U.S. Department of State . External links to other Internet
                 sites 11hould not be <:on11trued a11 an •ndors•m• nt of th• v i• - ,;contain• d t h • r• i n.
                 Copyright I n formatio n r? 2ili.!.ti..ro.. r? P1p1 r,,ork Rt duction Act c9
                  Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 79 of 84




Sign and Submit– IMBRA
Displays for K3 applicants.
                                                                                                                             Cont act Us       I Help I Exit

    ,@U.S.DEI'ART~
    "
                                                     NTo/ ~ J ; A ~
                    CONSULAR ELECTRONIC APPLICATION CENTER
                                                                                                                      ~
                 COM PLETE                                                  REVIEW                             ,,..                    SJGII

                                   Online Nonimmigrant Visa Application (DS- 160)
                                                                                                                       Apphcation ID AA008RUVQC


-                                  Sign and Submit

                                       You hav e indicated that y ou ar e tr av eling for t wo or more purposes which could r equi re
                                       m ore than one v isa being issued. Please note t hat if m or e t han one v isa is to be issued , y ou
Help: Nal"igation Buttons              will hav e to pay a pplication and r eciprocity fees for each.

Click on the buttons above
to access previously
entered data
                                       Read the following information carefully before dating, electronically signing
                                       and submitting the application.


                                       Your application is now ready to be submitted. Please note that this does not necessarily
                                       mean that your application for a nonimmigrant visa is complete, as additional information
                                       may be needed after Department of State personnel have reviewed the application.


                                       By dicking '"Sign and Submit Applicationw you are electronically signing the application. You
                                       are required to electronically sign your application yourself, unless otherwise exempt by
                                       regulation, even if the application has been prepared by someone other than yourself. Your
                                       electronic signature certifies that you have read and understood the questions in this
                                       application and that your answers are true and correct to the best of your knowledge and
                                       belief. The submission of an application containing any false or misleading statements may
                                       result in the permanent refusal of a visa or the denial of entry into the United States. All
                                       declarations made in this application are unsworn declarations made under penalty of
                                       perjury. (28 U.S.C. 1746).


                                       Additionally, by clicking '"Sign and Submit Applicationw you are certifying that you
                                       understand that you are required to submit your visa to the United States Immigration
                                       Officer at the port where you apply to enter the United States, and that possession of the
                                       visa does not entitle you to enter the United States if, upon your arrival, you are found to
                                       be inadmissible under U.S. immigration laws. You are certifying that you understand that
                                       any willfully false or misleading statement or willful concealment of a material fact made by
                                       you within the application may subJect you to permanent exclusion from the United States
                                       and, if you are admitted to the United States, may subJect you to criminal prosecution
                                       !=Ind/or deportation. ,


                                       The information that you have provided in your application and other information submitted
                                       with your application may be accessible to other government agencies having statutory or
                                       other lawful authority to use such information, including for law enforcement and
                                       immigration law enforcement purposes. If fingerprints are collected as part of your
                                       application process, they may be used for the purpose of comparing them to other
                                       fingerprints in the FBI's Next Generation Identification (NG!) fingerprint system or its
                                       successor systems (including civil, criminal, and latent fingerprint r epositories). The
                                       photograph that you provide with your application may be used for employment
                                       verification or other U.S. law purposes.


                                       Once you have clicked '"Sign and Submit Applicationw you will be unable to make changes.
                                       Electronically sign by clicking the button below after you have reviewed the information in
                                       your application and determined that it is correct. After signing the application, click '"Nextw
                                       to continue with the application.



                                           Spouse or Fiance/Fiancee

                                           Your application indicates t hat y ou ar e applying for a K v isa. Pursuant to the
                                           I nternat ional Mar r iage Brok e r Regulation A ct of 2005, y ou ar e r equir ed to r eceiv e
                                           a copy of an informat ional pamphlet . This pamphlet prov ides information on legal
                                           r ights and r esources av ailable to aliens immigr ating on a m arriage-based v isa.
                                           Please r ead the pamphlet car efully. We st r ongly encourage you to pr int a copy of
                                           t he pamphlet and k eep it with you if y our v isa is granted a nd y ou t r av el t o t he
                                           United States.
                                           I MB RA Pa mphlet

                                           I her eby certify that I hav e rec eiv ed a copy of the IMBRA Pamphlet as part of m y
                                           applicat ion packet. D




                                                                                                           Edit Family Information: Spouse




                                       Wednes day, March 13, 20 19 · 9 :29 :42 A M EDT


                                       Preparer of Application
                                        Q: Did any one assist y ou in filling out this application?

                                        A: Q Yes Q No


                                       E-Signature

                                       I ce rtify under penalty of perjury under t he laws of the United St ates of Amer ica t hat the
                                       foregoing is tr ue and cor r ect.

                                       Enter y our Passport/Tr av el Document Numbe r:




                                        Ent er the code as shown :




                                                      Click the button below to e lectronically sign your application:


                                                                                  Sign a Id Submit Appl catio,
                                                                                                       -    ~ ~- -




                                          ◄ Sack REV IEW                              ■r-.;;;w                                 fled: Cooflnn1ttoo ►




        8 1
                 T h i s s it e i s m a n a g e d b y t h e Burea u of C onsul a r Affa irs, U .S . D epartme n t of State. External !in ks t o othe r I nternet
                 s ites s h o u l d n o t b e c o n strue d a s a n e n d orsem e nt of the v i e Y6 conta i ned the re in .
                 Copyri g h t Inform at i o n cfil D i s d a i m ers cfil Papel"'NOrk R edu ctio n Actcfil
                  Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 80 of 84




Sign and Submit – FGM/C
Displayed for applicants of following nationalities: Benin, Burkina Faso, Cameroon, Central African
Republic, Chad, Cote d'Ivoire, Democratic Republic of the Congo, Djibouti, Egypt, Eritrea, Ethiopia,
Gambia, Ghana, Guinea, Guinea-Bissau, Indonesia, Iraq, Kenya, Liberia, Mali, Mauritania, Niger,
Nigeria, Senegal, Sierra Leone, Somalia, Sudan, Tanzania, Togo, Uganda, Yemen
                                                                                                                                  Contact Us         I Help I Ex it

    ,@ U.S.                DEPART~ NT o/-.5.J;A
                                              ~
                    CONSULAR ELECT RONIC A P PLICATION C ENTER
                                                                                                                           ~
                  COMPLETE                                                     REVIEW                              ..,                       SIGII

                                    Online Nonimmigrant Visa Application (DS- 160)
                                                                                                                           Application ID AA00SRUVQC



-                                   Sign and Submit

                                       You hav e indicated t hat y ou ar e t r aveling for two or m or e pur poses which could r equir e
                                       more t han one v isa being issued. Please note t hat if more t han one v isa is to be issued, y ou
Help: Narigation Buttons               will hav e to pay applicat ion and r ecipr ocity fees for each.

Cick on ttle buttons 21bove
to 21ccess previously
enteredd21ta
                                        Read the following information carefully before dating, electronically signing
                                        and submitting the application.


                                        Your application is now ready to be submitted. Please note that this does not necessarily
                                        m ean that your application for a nonimmii:;irant visa is complete, as additional infor mation
                                        may be needed after Department of State personnel have reviewed the application.


                                        By clickini:;i "Sign and Submit Application• you are electronically sii:;ining the application. You
                                        are required to electronically sign your application yourself, unless otherwise exempt by
                                        r ei:;iulation, ev en if the application has been prepared by someone other than yourself. Your
                                        electronic sii:;inature certifies that you have read and understood the questions in this
                                        application and that your answers are true and correct to the best of your knowledge and
                                        belief. The submission of an application containini:;i any false or misleadini:;i stateme nts may
                                        result in the permanent refusal of a visa or the denial of entry into the United States. All
                                        declarations made in this application are unsworn declarations made under penalty of
                                        perjury. (28 U.S.C. 1746).


                                        Additionally, by clicking "Sign and Submit Application~ you are certifying that you
                                        understand that you are required to submit your visa to the United States Immigration
                                        Officer at the port where you apply to enter the United States, and that possession of the
                                        visa does not entitle you to enter the United States if, upon your arrival, you are found to
                                        be inadmissible under U.S. immigration laws. You are certifying that you understand that
                                        any willfully false or misleading statement or willful concealment of a material fact made by
                                        you within the application may subJect you to permanent exclusion from the United States
                                        and, if you are admitted to the United States, may subJect you to criminal prosecution
                                        13nd/or deportation . .


                                        The information that you have provided in your application and other information submitted
                                        with your application m ay be accessible to other government agencies having statutory or
                                        other lawful authority to use such information, including for law enforcement and
                                        immigration law enforcement purposes. If fingerprints are collected as part of your
                                        application process, they may be used for the purpose of comparing them to other
                                        fingerprints in the FBI's Next Generation Identification (NG!) fingerprint system or its
                                        successor systems (including civil, criminal, and latent fingerprint repositories). The
                                        photograph that you provide with your application may be used for employment
                                        verification or other U.S. law purposes.


                                        Once you have clicked "Sign and Submit Application• you will be unable to make changes.
                                        Electronically sign by clicking the button below after you have reviewed the information in
                                        your application and d etermine d that it is correct. After signing the application, click "Next•
                                        to continue with the application.

                                        Female Genital Mutilation or Cutting
                                        Female Genit al Mut ilat ion/Cutting ( FGM/ C) Pr ev ention

                                        Purs uant to Section 644 t he I llegal Imm igr at ion Reform and Immigr ant Respons ibility A ct
                                        (IIRI RA) , Public Law 104- 208 (8 U.S.C. 1374), t he Department of State is required t o
                                        pr ov ide y ou wit h access to copy the infor m at ion sheet on t he sev er e har m to phy sical
                                        and psy chological healt h caused by f emale genital mutilation/cutting ( FGM/C) .

                                        Fem ale Genital Mut ilation or Cutting Gov er m ent Fact Sheet

                                        I certify that I have received the U.S. Government Fact Sheet on Female Genit al
                                        Mut ilation or Cutting ( FGM/ C).        D

                                        Wednes day, Mar ch 13, 20 19 - 9 :29 :4 2 A M EDT


                                        Preparer of Application

                                         Q: Did anyone assist you in fillini:;i out t his applicat ion?

                                         A:    Q Yes Q No




                                        E-Signarure

                                        I certify under penalty of perj ury under t he laws of the United Stat es of Amer ica t hat the
                                        foregoing is tr ue and cor rect.

                                        Ent er y our Passport/Trav el Docume nt Number :




                                         Ent er t he code as shown :




                                                       Clic k the button b e l ow to e l ectronically s i g n y o ur applicatio n:


                                                                                     5191 and Submit Apphcat1on




                                           ◄ Back REVIEW                                 5 r-1;;;w                                  ~laxt: Coofimlatton ►




    G I
                 T h i s s ite i s m a n aged b y t h e Bure a u of Cons u l a r Affa irs, U . S. D epa rtm e nt of St a t e . Exte rna l lin ks t o oth e r Intern et
                 s ites s h o u l d n ot b e c o n st ru e d as a n e n d o rse m e nt o f t h e v i ews c o ntain e d t h e re in .
                 Copyri g ht Informa t i o n@ D i s cla im e rs@ Paperwork R educti o n Act@
            Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 81 of 84




Confirmation
Displayed for all applicants.




     Ot1li11e Not1illlllligra11t Visa Applicatioll (DS-1 60)

     Confinnation
                                                                                                        1111! 11111111111II~111111111111111 IIIIIIIIH
     This con f irms t h e sub m issio n of t h e Nonimmig r a n t visa
     a pplicatio n fo r :

                                         Na m e Provided :       S NOW, JOHNQQ                       Location Se lected:
                                         Da te Of Birth :        0 1 JAN 1980
                                                                                                      KBL
                                         Place of Birth :        KABUL, A FGHANJSTA N                 U.S. Embassy Kabul
                                         Ge nde r:               Ma le                                Great Massoud Road
                                                                                                      Kabul., Afghanistan
                                         Count ry/ Re-gion of
                                         Origin (Na t iona lit y) AFGHANIS TAN

                                         Passport Number :       Ml 111111111111111111
                                         Purpose of Tra ve l:    BUS INESS/ PERS ONAL
                                                                 (8 1/ 8 2)
                                         Comple ted On :         27 APR 20 17
                                         Confirm at ion No:
                                                                                                         Version 0 1.02.02

                                     THIS IS NOT A VISA

                 Print Confirm ati on      Cl         Print Applicati on      ~            Em ail Confirm ation     (El




     Not e : Eled ronic-ally subm itting y our OS- 160 online applicat ion is the FJR-ST STEP in t he visa applicat ion process. The next
     st e p is to re vie w th e inte rne t page of the e m bassy or consula te where yo u pla n to a pply for your visa. Most visa a pplica nts
     will nee d to schedu le a visa inte rvie w, though som e a pplica nts m a y qua I ify for visa re ne wa l. The e m bassy or consula te
     inform a tion m a y in clude sped fi c local inst ructions a bout scheduling inte rvie ws, subm itting your visa a pplica tion, a nd other
     fre-q ue ntly aske d quest ions.

     YOU MUST BRING the confi rm a tion page a nd the following docum e nt(s) with you a t a ll st e ps during the a pplica tion
     process:
       Passport

     You m a y a lso provide a ny a dditiona l docum e nts you feel will support you r case.



    Instrnctions
    YOU MUST SUBMIT the confi rm a tion page with a clear a nd le gible barcOOe a t the tim e of your inte rvie w. If you do not
    ha ve a ccess to a printe r a t this tim e, sele ct the option to e m a il your confi r m a tion page to a n e m a il a ddress. You m a y print
    or e m a il your a pplication for your own re cords . YOU 00 NOT need to subm it the a pplica tion a t the tim e of the inte rvie w.
    Please note tha t you will be re-q uire d to provide proof tha t you ha ve paid t he visa a pplica tion fee a nd a ny othe r fees
    associa ted with you r a pplica tion. The re m a y be other fees associa te d with the visa a pplica tion process. Please che,ck your
    country's Re ciprocity Sche dule for a ny othe r fees you m a y owe.
    Jf you ha ve further quest ions, or to fi nd out how to conta ct the Consula r Po st , please go to http ://ka bul.usem bassy. gov or
    http :/Jtra v e I. state. q ov.
    NOTE: Unless e xe m pt from a n inte rvie w, you will be re quired to sign your· a pplica tion by providing a biom e tric signa ture,
    i. e. your fi nge rprint be fore a consula r offi ce r. By providing this biom e tric s igna ture you are ce rtifying unde r pe na lty of
    pe rjury tha t you ha v e read a nd unde rstood the quest ions in your nonimmigra nt visa a pplica tion a nd tha t a ll st a te m e nts tha t
    a ppear in your nonimmigra nt visa a pplica tion ha ve been m a de by you a nd are true a nd com ple te to the best of your
    knowle dge a nd be lie f. Furthe rm ore a t the tim e of your inte rvie w, you will be re-q uire d to ce rtify unde r pe na lty of pe rjury tha t
    a ll st a te m e nts in yo ur a pplica tion a nd those m a de during your inte rvie w a re true a nd com pe te to the best of your
    knowle dge a nd be lie f.
    You e led ronica lly signed your a pplica tion on 27-Apr-20 17 02 :27:28 (GMT- 0 5:00), You we re re-q uire d to e led ronica lly sign
    your a pplica tion you rself, unless otherwise e xe m pt by re-g ula tion, e ve n if t he a pplica tion was pre pared by som e one othe r
    tha n yourself. Your ,:led ronic signa ture ce rtifi es tha t you ha ve read a nd unde rst ood the quest ions in this a pplica tion a nd
    tha t your a nswe rs a re true a nd corred to the best of your knowled ge a nd b e lie f. The subm ission of a n a pplica tion conta ining
    a ny fa lse or m islead ing st a te m e nts m a y result in the pe rm a ne nt re fusal of a visa or the de nia l of e ntry into the Unite d
    Sta tes. All de cla ra tions m a de in this a pplica tion are unsworn de cla ra tions m a de unde r pe na lty of pe rjury, (28 U. S. C. 1746),
    You ce rtifi e d tha t yo u unde rst a nd tha t you are re-q uire d to subm it your vis.a to the Unite d Sta tes Jmmigra tion Offi ce r a t the
    port where you a pply to e nte r the Unite d Sta tes, a nd tha t possession of th e visa does not e ntitle you to e nte r the United
    Sta tes if, upon your· a rriva l, you are found to be ina dm issible unde r U. S. immigra tion la ws. You ce rtifi ed tha t you
    unde rsta nd tha t any willfully fa lse or m isleading st a te m e nt or willful conce a lm e nt of a m a te ria l fact m a de by you within the
    a pplica tion m a y subje ct you to pe rm a nent e xclusion from the United Sta to:s a nd, if you are a dm itted to the Unite d Sta tes,
    m a y subje ct you to ,crim ina l prose,cution a nd/or de porta tion.
    The inform a tion tha t you ha ve provided in your a pplica tion a nd othe r infor m a tion subm itted with your a pplica tion m a y be
    a ccessible to othe r g ove rnme nt a ge ncies ha ving st a tutory or othe r la wful .authority to use such inform a tion, including for la w
    e nforcem e nt a nd immigra tion la w e nforcem e nt purposes. Jf fi nge rprints a r e colle cted as part of your a pplica tion process,
    the y m a y be used fo r the purpose of com paring the m to othe r fi nge rprints in the FBJ's Ne xt Ge ne ra tion Jde ntifi ca tion (NGJ)
    fi nge rprint syst e m o r its successor syst e m s (including civil, crim ina l, a nd la te nt fi nge rprint re positories), The photogra ph
    tha t you provide wit h your a pplica tion m a y be used for e m ploym e nt ve rifi ca tion or other U. S. la w purposes.




  G I          This site is mana9ed by the Bureau of Consular Affairs, U,S, Departme nt of State, External links to other Internet sites should
               not be con-st rued as an endorsement of the views contained therein.
               Coovrioht Onformationrfil Disclaimers if) Paoerwork Reduction k :trf}                                                          <~ll
            Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 82 of 84




Link – Paper Reduction Act
Displayed for all applicants.




     Online Nonimmigrant Visa Application (DS-160)


     Pape1work Reduction Act
     Public reporting burd en for this co llect ion o f inform at ion is es t imat ed to avera ge 7 5 minut es p er r esponse, including t ime req uired for

     search ing exis ting d a ta sou rces, gathering the necessary d ocume ntation, providing the in formation a nd/o r d ocume n ts req uired, a nd
     reviewing t he final co llect ion. You d o not h av e t o sup ply t his in format ion unless t his c ollectio n d isplay s a current ly valid 0MB con t ro l

     numb er, If you have comme nts o n the accu racy o f this burde n es timate a nd/ o r recomme ndations fo r red ucing it , please se nd them
     to :
     PRA BurdenComment s@st ate.gov



     Co n fid e nt ia lity Stat eme nt
     INA Section 22 2(f) provides that the records of th e Oepartm e.nt o f State and of d ip lom atic a nd co ns u la r offk es o f the United States
     pertaining to the iss ua nce and refusa l o f v isas o r pe rmits to e nte r the Unit ed State:s s hall be cons id e red confid e ntial a nd sh all be u sed
     only for the formu lation, a me n dm en t, administration, o r e n forceme n t of the im mig ration, nationality, a nd o ther laws of th e United
     Sta tes , Ce rtified copies o f such records may be m ade ava ilable to a court provided the court certifies that the infor mation con tained in
     such record s tS needed in a case pend ing be for e the court.




                 Th is site tS ma naged by the Bu rea u o f Cons u la r Affairs, U.S. De partme nt of Sta te, Exte rnal links to o ther Inter net s ites sho uld
                 not be construed a s a n end orsem e nt o f the vie Vls co ntained therein,
           Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 83 of 84




Link – Copyright Information
Displayed for all applicants.
--,

 ·,~            U.S. DEPART MENTo/"-5.IA~
  \_                 CONSULAR ELECTRONIC APPLICATION CENTER



 Copyright
 Links to Depa rtment s ite s a re welcomed . Unless a copyright is indicated, information on the Department of Sta te
 Web Site is in the public domain and may be copied and distributed without perm ission . Citation of the U.S. State
 Depa rtment as source of the information is a ppreciated .


 If a copyright is indicated on a p~oto, gra phic, or other ma teria l, permission to copy the se materia ls must be
 obta ined from the origina l source . Please note tha t the U.S. Government has a n interna tiona l copyright on Country
 Commercial Guide s .
           Case 1:23-cv-01198-CJN Document 7-3 Filed 05/05/23 Page 84 of 84




Link – Disclaimers
Displayed for all applicants.




Disclaimer
For site management, see Privacy and Computer Fraud and Abuse Act Notices.

The information content and design/ organization of this web page were launched in 2 0 13 .

Links to Ext ernal Web Sites
Links to web sites outside the U.S. Federal Government or the use of trade, firm, or corporation names within the State
Department web sites are for the convenience of the user . Such use does not constitu te an official endorsement or approval by
the U.S. State Department of any private sector web site, product, or service.

Computer Fraud and Abuse Act
Unauthorized attempts to upload information and/or change information on these web sites are strictly prohibited and are
subj ect to prosecution under the Computer Fraud and Abuse Act of 1986 and Title 18 u.s.c. Sec.100 1 and 1030 .

Disclaimer of Liabilit y
Every effort is made to provide accurate and complete information . However, we cann ot guarantee that there will be no errors.
With respect to documents and information on the current and archive State Departm ent web sites, neither the U.S.
Government or the U.S. Department of State, nor their employees and contractors make any warrant y, expressed or implied,
including the warranties of merchantability and fitness for a particular purpose with respect to documents available from State
Department web sites. Additionally, the U.S. Government nor the U.S. State Departm ent assume no legal liability for the
accuracy, completeness, or usefulness of any information, product, or process disclosed herein and do not represent that use of
such information, product, or process would not infringe on privately owned rights.

Please read the State Department's guidelines pursuant to the Data Qualit y I nformation Act before submitting inquiries under
this Act . I f you would like verification or a hard copy of information released on State Department web sites or if you have any
questions or comments about the information presented here, please contact the pub lic information staff in the Bureau of
Public Affairs.

Public Communication Division
PA/PL
U.S. Department of State
Washington, D.C. 20 520
202-64 7-6575

Also see http ://contact-us.state.gov/

For information on the Department of State's privacy policy regarding the nature, pur pose, use, and sharing of any Personally
I dentifiable I nformation {PU ) collected via this website please click here. For disclaimer and notices associated with a specific
information collection please click on that information collection . Our privacy policy exp lains our information practices when you
provide PU to us, whether collected online, or when you visit us online to browse, obtain information, or conduct a transaction .
PU may include: your name, email, mailing and/or home address, phone numbers, or other information that identifies you
personally.

Privacy Notice about Google Analytics Premium
This website uses Google Analytics Premium . Please refer to the following policies on Google's website for more information :

Google's main privacy policy
Cookies & Google Analytics on Websites
Opt out of Google Analytics Cookies
